               Case 18-31722               Doc 1        Filed 10/19/18          Entered 10/19/18 12:05:25                    Page 1 of 246


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ServiCom LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  25 Independence Blvd., Suite 103
                                  Warren, NJ 07059
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Somerset                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  155 Hill Street Milford, CT 06460
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 18-31722              Doc 1            Filed 10/19/18         Entered 10/19/18 12:05:25                         Page 2 of 246
Debtor    ServiCom LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                Case 18-31722              Doc 1        Filed 10/19/18            Entered 10/19/18 12:05:25                      Page 3 of 246
Debtor   ServiCom LLC                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    ServiCom LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 19, 2018
                                                  MM / DD / YYYY


                             X   /s/ David Jefferson                                                      David Jefferson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Stephen M. Kindseth                                                   Date October 19, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen M. Kindseth ct14640
                                 Printed name

                                 Zeisler & Zeisler, P.C.
                                 Firm name

                                 10 Middle Street, 15th Floor
                                 P.O. Box 1220
                                 Bridgeport, CT 06604
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (203) 368-4234                Email address      info@zeislaw.com

                                 ct14640 CT
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                        SERVICOM LLC

                    WRITTEN CONSENT BY MANANGING MEMBER

       WHEREAS, Servicom LLC (the “Company”), is a Delaware limited liability company;
       WHEREAS, JNET Communications LLC (the “Managing Member”) is the owner and the
managing member of the Company, and the undersigned is the sole manager of the Managing
Member;
       NOW, THEREFORE, by signing this Consent, the Managing Member hereby consents to
the following actions on behalf of the Company, and the undersigned hereby certifies that the
Managing Member is authorized to consent to such actions and that the undersigned is duly
authorized to execute this Consent on behalf of the Managing Member:
        RESOLVED, that the Company shall (i) file a voluntary petition for reorganization
pursuant to Chapter 11 of Title 11, United States Code (11 U.S.C. § 101, et seq., hereinafter
referred to as the “Bankruptcy Code”), (ii) if the circumstance arises prior to filing such a
petition making necessary or convenient (a) consent to the entry of an order for relief in an
involuntarily commenced Chapter 11 case, or (b) consent to the entry of an order for relief and
convert an involuntarily commenced Chapter 7 case to a case under Chapter 11, and (iii) perform
any and all such acts as are reasonable, advisable, expedient, convenient, proper, or necessary to
effect any of the foregoing; and

       FURTHER RESOLVED, that the Managing Member of the Company shall be, and
hereby is authorized and empowered to execute and deliver or cause to be filed, on behalf of the
Company, (i) the voluntary petition of the Company pursuant to Chapter 11 of the Bankruptcy
Code, (ii) the consent to the entry of an order for relief in an involuntarily commenced Chapter
11 case, or (iii) the consent to the entry of an order for relief and conversion of an involuntarily
commenced Chapter 7 case to a case under Chapter 11, (iv) any and all other documents
necessary or appropriate in connection therewith; and

       FURTHER RESOLVED, that the Managing Member of the Company shall be, and
hereby is, authorized and empowered to execute and deliver for and on behalf of the Company,
as debtor and debtor-in-possession, such agreements, instruments and any and all other
documents necessary or appropriate to facilitate the use of cash collateral under 11 U.S.C. § 363
or debtor-in-possession financing under 11 U.S.C. § 364; and

       FURTHER RESOLVED, that the law firm of Zeisler & Zeisler, P.C. shall be, and it
hereby is, authorized and empowered to represent the Company, as bankruptcy counsel, in the
Company’s Chapter 11 case; and

       FURTHER RESOLVED, that the Managing Member of the Company shall be, and
hereby is, authorized and empowered to retain, on behalf of the Company, attorneys, financial
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advisors, investment bankers, accountants, and experts as the Manager so acting shall deem
appropriate in his judgment; and

        FURTHER RESOLVED, that the Managing Member of the Company shall be, and
hereby is, authorized and empowered to take or cause to be taken any and all such further action,
to execute and deliver any and all such further instruments and documents, and to pay all such
fees and expenses as the Managing Member shall deem appropriate in its judgment to fully carry
out the intent and accomplish the purposes of these resolutions; and

        FURTHER RESOLVED, that the resolutions set forth in this Consent do not conflict with
any order of any court or the Limited Liability Company Agreement of the Company or the Limited
Liability Company Agreement of the Managing Member or any regulation of the Company nor
have such resolutions been in any way altered, amended or repealed and are in full force and effect,
unrevoked and un-rescinded as of this date; and

        FURTHER RESOLVED, that all of the acts and transactions of the Managing Member
of the Company, which have been taken, caused to have been taken, or made prior to the
effective date of these resolutions in connection with the matters set forth in these resolutions,
are hereby ratified, confirmed and approved; and

        FURTHER RESOLVED, that the signature page hereto may be delivered by facsimile
or electronic transmission.

      IN WITNESS WHEREOF, the undersigned, being the sole manager of the Managing
Member of the Company, has caused this instrument to be signed as of the 18th day of October,
2018.


                                              JNET COMMUNICATIONS LLC
                                              a Delaware limited liability company,

                                              By: /s/ David Jefferson
                                              Name: David Jefferson
                                              Title: Manager




                                                 2
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 Fill in this information to identify the case:

 Debtor name         ServiCom LLC

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 19, 2018                        X /s/ David Jefferson
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Jefferson
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name ServiCom LLC
 United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT                                                                                      Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Canada Revenue                                                  Income Taxes                                                                                           $205,893.91
 Agency
 Attn: Commissioner
 of Revenue
 1557 HOLLIS
 STREET BOX 638
 Halifax, NS B3J 2T5
 Canada
 WINDSTREAM                                                      Business debt                                                                                          $127,155.94
 COMMUNICATIONS                  wci.isg.billing.ques
 Attn: Pres, GP or               tions@windstream.
 Mng Member                      com
 P O BOX 843006
 Kansas City, MO
 64184-3006
 AEROTEK                                                         Business debt                                                                                          $116,796.87
 Attn: Pres, GP or               lscheid@aerotek.c
 Mng Member                      om
 3689 COLLECTION
 CENTER DRIVE
 CHICAGO, IL 60693
 ATOS IT Solutions                                               Business debt                                                                                            $95,903.12
 and Services                    sharonbarcus@ato
 Attn: Pres, GP or               s.net
 Mng Member
 DEPT 781177
 PO BOX 78000
 Detroit, MI
 48278-1177
 MASERGY                                                         Business debt                                                                                            $80,516.68
 Attn: Pres, GP or
 Mng Member
 PO BOX 733938
 DALLAS, TX
 75373-3938




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    ServiCom LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Crombie REIT                                                    Business debt                                                                                            $76,856.17
 Attn: Marian                    marian.cormier@cr
 Cormier                         ombie.ca
 610 East River Rd
 Suite 200
 New Glasgow, NS
 B2H 3S2
 Canada
 Ballard Properties                                              Business debt                                                                                            $72,550.20
 Group I                         rballard@ballard-pr
 Attn: Pres, GP or               operties.com
 Mng Member
 1670 N ALPINE RD
 ROCKFORD, IL
 61107
 Blue Cross                                                      Business debt                                                                                            $71,797.30
 Attn: Cheryl Skinner            cheryl.skinner@me
 PO Box 220                      davie.bluecross.ca
 Moncton, NB E1C
 8L3
 Canada
 TELEOPTI INC -                                                  Business debt                                                                                            $70,400.00
 ACCOUNTING                      christy.lovejoy@tel
 Attn: Pres, GP or               eopti.com
 Mng Member
 5619 DTC
 PARKWAY
 SUITE 910
 GREENWOOD
 VILLAGE, CO 80111
 Aspen Business                                                  Business debt                                                                                            $66,549.99
 Center One LLC
 Attn: Pres, GP or
 Mng Member
 1639 N Alpine Rd
 Suite 301
 Rockford, IL 61107
 Advanced Janitorial                                             Business debt                                                                                            $62,507.73
 Services
 Attn: Troy
 Mackinnon
 567 Alexandra St
 Sydney, NS B1S
 2G9
 Canada
 175 EXECUTIVE,                                                  Business debt                                                                                            $62,191.24
 LLC
 Attn: Pres, GP or
 Mng Member
 6801 SPRING
 CREEK RD
 ROCKFORD, IL
 61114

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    ServiCom LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Computer                                                        Business debt                                                                                            $51,873.14
 Alternative Process             smercoun@bluehill
 Attn: Pres, GP or               data.co
 Mng Member
 2 Blue Hill Plaza
 PO Box 1571
 Pearl River, NY
 10965
 Mac Murray &                                                    Business debt                                                                                            $50,156.43
 Shuster LLP
 Attn: Pres, GP or
 Mng Member
 6530 West Campus
 Oval
 Suite 210
 New Albany, OH
 43054
 ITC TELECOM                                                     Business debt                                                                                            $45,857.01
 TECHNOLOGY, LLC                 finance@itctechnol
 Attn: Pres, GP or               ogy.com
 Mng Member
 3700 S. COLLEGE
 AVENUE
 UNIT 102
 FORT COLLINS, CO
 80525
 Enterprise Cape                                                 Business debt                                                                                            $43,292.68
 Breton Corp
 Attn: Mr. Archie
 Gallagher
 P.O. Box 1750
 Sydney, Nova Scotia
 B1P 6T7
 Canada
 LIVEVOX, INC                                                    Business debt                                                                                            $42,250.00
 Attn: Pres, GP or               fkhan@livevox.co
 Mng Member                      m
 PO BOX 775337
 CHICAGO, IL
 60677-5337 USA
 Zen                                                             Business debt                                                                                            $41,917.55
 Communications,                 ian@zencommunic
 LLC                             ations.net
 Attn: Pres, GP or
 Mng Member
 c/o Verus Bank of
 Commerce
 3700 S. College Ave
 Unit #102
 Fort Collins, CO
 80525



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Debtor    ServiCom LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 VARILEASE                                                       Business debt                                                                                            $40,930.93
 FINANCE, INC                    mdelgado@vfi.net
 Attn: Pres, GP or
 Mng Member
 6340 South 3000
 East
 4th Floor
 Salt Lake City, UT
 84121
 SECURISEA                                                       Business debt                                                                                            $33,985.97
 Attn: Pres, GP or
 Mng Member
 201 Spear Street
 Suite 1100
 San Francisco, CA
 94105




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      ServiCom LLC                                                                           Case No.
                                                                                Debtor(s)          Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 19, 2018                                        /s/ David Jefferson
                                                                     David Jefferson/Manager
                                                                     Signer/Title




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                        Internal Revenue Service
                        Centralized Insolvency operation
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346


                        U.S. Department of Justice
                        Attn: Jeff Sessions, Attorney
                        950 Pennsylvania Avenue, NW
                        Washington, DC 20530


                        US Attorney's Office,New Haven
                        Attn: Christine Sciarrino, Esq
                        Assistant US Attorney
                        57 Church Street, Floor 25
                        New Haven, CT 06510


                        Department of Revenue Services
                        State of Connecticut
                        P.O. Box 2936
                        Hartford, CT 06104-2936


                        11th Street Express-Printing
                        Attn: Pres, GP or Mng Member
                        2135 11th Street
                        Rockford, IL 61104


                        175 EXECUTIVE, LLC
                        Attn: Pres, GP or Mng Member
                        6801 SPRING CREEK RD
                        ROCKFORD, IL 61114


                        Aarez Stockett
                        1016 South 5th St. Apt 1
                        Rockford, IL 61104


                        AARON FRASER
                        41 UNIVERSITY AVE.
                        SYDNEY, NS B1N1A6
                        CANADA


                        Aaron Goodloe
                        3321 18th St
                        Rockford, IL 61109
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                    AARON MUISE
                    115 MOXHZM DR. APT # 3
                    SYDNEY, NS B1S1Z9
                    CANADA


                    Aaron Ozburn
                    6330 Park Ridge Road
                    Loves Park, IL 61111


                    ABB Power Protection LLC
                    Attn: Pres, GP or Mng Member
                    27583 Network Place
                    Chicago, IL 60673-1275


                    ABC Fire & Safety, INC
                    Attn: Pres, GP or Mng Member
                    PO Box 922
                    Beloit, WI 53512-0922


                    ABDULLAH NOMAN
                    114 A MACAULAY'S DR.
                    SYDNEY, NS B1P3Z9
                    CANADA


                    ACC BUSINESS
                    Attn: Pres, GP or Mng Member
                    PO BOX 105306
                    ATLANTA, GA 30348-5306


                    ADAM BROWN
                    27 BIRCHDALE DRIVE
                    SYDNEY RIVER, NS B1S1L4
                    CANADA


                    ADAM ODO
                    644 MAY STREET
                    B1H1C9, NS B1H1C9
                    CANADA


                    ADAM SPOONEY
                    700 POINT ACONI ROAD
                    BRAS D'OR, NS B1Y1Z5
                    CANADA
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                    Adashia Dainty
                    354 Gramercy Dr. Apt 7
                    Rockford, IL 61107


                    ADEN LANGHAM
                    78 CHARLOTTE ST.
                    SYDNEY, NS B1P1B7
                    CANADA


                    Adriana Jimenez
                    1711 Hackberry Lane
                    Rockford, IL 61115


                    Adriana Oliver
                    3124 Meriday Lane, Apt 203
                    Rockford, IL 61101


                    Adrianna Jones
                    317 Camerson Avenue Apt 1C
                    Rockford, IL 61102


                    Adriel Garcia
                    119 North Henrietta Ave
                    Rockford, IL 61101


                    ADRIENNE DONOVAN
                    1736 COXHEATH RD.
                    BLACKETT'S LAKE, NS B1L1A7
                    CANADA


                    Adriuna Berry
                    1832 N Main St Apt 117
                    Rockford, IL 61104


                    Advanced Janitorial Services
                    Attn: Troy Mackinnon
                    567 Alexandra St
                    Sydney, NS B1S 2G9
                    Canada


                    AEROTEK
                    Attn: Pres, GP or Mng Member
                    3689 COLLECTION CENTER DRIVE
                    CHICAGO, IL 60693
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                    AIMEE MCPHEE
                    320 COLUMBIA ST.
                    SYDNEY, NS B1P4J9
                    CANADA


                    AIRGAS USA LLC
                    Attn: Pres, GP or Mng Member
                    PO BOX 802576
                    CHICAGO, IL 60680-2576


                    Ajorie Lynch
                    2416 Sharon Avenue
                    Rockford, IL 61103


                    Akelia Applewhite
                    2229 Canary Drive
                    Rockford, IL 61103


                    Alan Knoles Jr.
                    7 Senate Drive
                    Rockford, IL 61109


                    ALANA KING
                    131 MACDONALD COURT
                    SYDNEY, NS B1N2A1
                    CANADA


                    ALANA MACKINNON
                    5 GEORGE STREET
                    SYDNEY, NS B1P1H2
                    CANADA


                    ALANNAH BUSHNIK
                    57 UNION ST., APT. #4
                    SYDNEY, NS B1P4X5
                    CANADA


                    ALBERT FRANCIS
                    4-A DRYDEN AVE.
                    SYDNEY, NS B2A3K4
                    CANADA


                    Albert Hunter
                    212 Irving Avenue
                    Rockford, IL 61101
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                    ALECIA DONATO
                    16 CHERRY ST.
                    SYDNEY MINES, NS B1V3C2
                    CANADA


                    Alejandra Garcia
                    2811 18th Street Apt. N
                    Rockford, IL 61109


                    Alejandro Montoya
                    1059 N. 2nd Street
                    Rockford, IL 61107


                    Aletta Jordan
                    4115 Florence Avenue
                    Rockford, IL 61101


                    ALEX GOUTHRO
                    3156 SUNSET AVE.
                    SYDNEY, NS B1H4M2
                    CANADA


                    Alex Palacios
                    2104 Grant Ave
                    Rockford, IL 61103


                    ALEXANDER MACINTYRE
                    53 THIRD ST.
                    HOWIE CENTRE, NS B1L1C9
                    CANADA


                    Alexandria Andersen
                    7325 KIshwaukee Rd.
                    Stillman Valley, IL 61084


                    Alexandria Munyon
                    1358 6th Avenue
                    Rockford, LA 61108


                    Alexandria Smith
                    647 Easton Pkwy
                    Rockford, IL 61108
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                    Alexandria Verstynen
                    5151 Flagstone Dr
                    Loves Park, IL 61111


                    Alexes Xayasouk
                    508 Washington Street
                    Rockford, IL 61104


                    Alexis Collins
                    3850 Thyme Dr. #2
                    Rockford, IL 61114


                    Alexis Jefreys
                    2555 New Milford School Road
                    Rockford, IL 61109


                    Alexis Olvera
                    144 Safe Landing Drive
                    Machesney Park, IL 61115


                    ALEXIS VARDY
                    29 UPPER WARREN ST.
                    LOUISBOURG, NS B1C1M9
                    CANADA


                    Alexis Walker-Holt
                    2315 Eastmoreland Avenue
                    Rockford, IL 61108


                    Alexus Brown
                    1427 North Ave
                    Rockford, IL 61103


                    Aleyshia Martin
                    214 S Johnston Ave
                    Rockford, IL 61102


                    Alfonso Terrazas
                    1704 South 6th Street
                    Rockford, IL 61104
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                    ALICIA MACLEAN
                    55 FOURTH ST.
                    GLACE BAY, NS B1A4H3
                    CANADA


                    ALICIA MACMULLIN
                    3300 GRANDMIRA NORTH RD.
                    SANDFIELD, NS B1K1X2
                    CANADA


                    Alicia Oliphant
                    1130 12th Avenue, Apt 2E
                    Rockford, IL 61104


                    Alicia Sanchez
                    625 16th Avenue
                    Rockford, IL 61104


                    Alicia Woods
                    1020 12th Ave. Apt 1
                    Rockford, IL 61104


                    Alina Altamirano
                    2311 Sherman Avenue
                    Rockford, IL 61101


                    Alisa Young
                    218 Miriam Avenue
                    Rockford, IL 61101


                    ALISON GALLANT
                    170 WHITNEY AVE. APT # 2
                    SYDNEY, NS B1P5A2
                    CANADA


                    Alissa Schirmer
                    5195 Degroff Street
                    Roscoe, IL 61073


                    Alissa Welsh
                    7082 Rye Ridge Tr
                    Cherry Valley, IL 61016
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                    ALIXANDREA MACCUISH
                    2330 BIRCH GROVE RD.
                    TOWER RD., NS B1B1X5
                    CANADA


                    Aljoria Willis
                    619 North Johnston Ave.
                    Rockford, IL 61101


                    ALLAN ANDREWS
                    6 SHERIDAN DRIVE
                    SYDNEY, NS B1S3K2
                    CANADA


                    ALLAN MACDOUGALL
                    33 C ROCKWAY AVENUE
                    SYDNEY, NS B1S2J6
                    CANADA


                    ALLAN MCGUIGAN
                    116 SUNNYDALE DR.
                    WESTMOUNT, NS B1R1J3
                    CANADA


                    ALLIED UNIVERSAL
                    Attn: Pres, GP or Mng Member
                    161 WASHINGTON ST SUITE 600
                    EIGHT TOWER BRIDGE
                    CONSHOHOCKEN, PA 19428


                    ALLISON MACDONALD
                    8 BROWN ST.
                    STDNEY MINES, NS B1V1E8
                    CANADA


                    ALLISON MILLS
                    1949 GABARUS HWY
                    DUTCH BROOK, NS B1L1E9
                    CANADA


                    ALLISON SMITH
                    10 TULIP TERRACE
                    SYDNEY, NS B1P2N5
                    CANADA
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                    ALLITA HEMSLEY
                    353 KING EDWARD ST.
                    GLACE BAY, NS B1A3A5
                    CANADA


                    Allyssa McGuire
                    2020 Fulton Ave.
                    Rockford, IL 61103


                    Alpachino White
                    815 West Street
                    Rockford, IL 61102


                    ALPHA CONTROLS & SERVICES LLC
                    Attn: Pres, GP or Mng Member
                    4104 CHARLES STREET
                    ROCKFORD, IL 61108


                    Alyssa Bolton
                    2905 Concordia Drive
                    Rockford, IL 61109


                    ALYSSA MACDONALD
                    25 SPRING STREET
                    SYDNEY, NS B1P3P3
                    CANADA


                    Alyssa Peterson
                    4628 Yale Drive
                    Rockford, IL 61109


                    Alyssa Sharp
                    2820 Custer Ave.
                    Rockford, IL 61101


                    Alyssa Zielonka
                    1706 Auburn St
                    Rockford, IL 61103


                    Amanda Dye
                    216 Rose Ave. Apt 6
                    Loves Park, IL 61111
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                    Amanda Farrey
                    1040 Arctic Circle
                    Rockford, IL 61108


                    Amanda Fluegel
                    5873 Garrett Lane
                    Rockford, IL 61107


                    Amanda Gonzalez
                    1597 Harlem Road
                    Loves Park, IL 61111


                    Amanda Granberg
                    2423 Burton Street
                    Rockford, IL 61103


                    Amanda Johnson
                    125 North 4th Street
                    Capron, IL 61012


                    AMANDA LUTHER
                    15 GLEBE ST. APT. #2
                    SYDNEY, NS B1P1S3
                    CANADA


                    AMANDA MCNEIL
                    3514 ROSS AVENUE
                    NEW WATERFORD, NS B1H1N1
                    CANADA


                    AMANDA PENNEY
                    95 CONNAUGHT AVE.
                    SYDNEY, NS B1N2V7
                    CANADA


                    AMANDA SIMON
                    16 MASIL LANE
                    ESKASONI, NS B1W1C3
                    CANADA


                    Amanda Trinidad-Varo
                    1011 Broadway Apt 3
                    Rockford, IL 61104
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                    Amanda Wiegel
                    1939 Coloney Court Apt 8
                    Beloit, WI 53511


                    AMANI ASHOUR
                    2486 KINGS RD.
                    SYDNEY FORKS, NS B1L1A1
                    CANADA


                    Amani Young
                    703 Alliance Avenue
                    Rockford, IL 61101


                    Amari Burns
                    2127 Fremont Street
                    Rockford, IL 61103


                    Amaru Smith-Martin
                    2129 10th St
                    Rockford, IL 61104


                    Amber Calhoun
                    4225 Harrison Avenue Apt 4
                    Rockford, IL 61108


                    Amber Ramirez
                    1204 Ramona Terrace
                    Machesney Park, IL 61115


                    Amber Reinders
                    2323 harvard Dr. Apt 41
                    Janesville, WI 53548


                    Amber Shearer
                    2204 18th Avenue
                    Rockford, IL 61104


                    Ambria Willis
                    1511 Yonge Street
                    Rockford, IL 61103
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                    AMERICAN EXPRESS
                    Attn: Pres, GP or Mng Member
                    PO Box 1270
                    Newark, NJ 07101-1270


                    AMIE MCNEIL
                    43 MORRISON ROAD
                    GLACE BAY, NS B1A2G7
                    CANADA


                    Amir Kalimullah
                    2331 Colorado Ave.
                    Rockford, IL 61108


                    AMITHA SHAJI
                    411 CHARLOTTE ST.
                    SYDNEY, NS B1P1E3
                    CANADA


                    AMOS SHEILA
                    2459 KINGS RD.
                    SYDNEY, NS B1L1A1
                    CANADA


                    Amy Davies
                    1710 Brown Ave
                    Rockford, IL 61103


                    AMY KING
                    209 SHAFT ST.
                    GLACE BAY, NS B1A5Y9
                    CANADA


                    Amy Lee
                    1714 E. RD 6 St
                    Edgerton, WI 53534


                    AMY PARKS
                    2571 WEST BIG INTERVALE RD.
                    MARGAREE CENTRE, NS B0E1Z0
                    CANADA


                    Amy Williams
                    7884 W. State Street
                    Rockford, IL 61102
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                    Andrea Chavez
                    2434 Lorraine Lane
                    Rockford, IL 61109


                    Andrea Kinnaman
                    205 River Lane Apt 2
                    Loves Park, IL 61111


                    ANDREA REMINGTON-STEELE
                    183 ALEXANDER ST.
                    SYDNEY, NS B1A4A6
                    CANADA


                    ANDREA WADDEN
                    15 LOUISA ST.
                    SYDNEY, NS B1P6E9
                    CANADA


                    Andrew Blackburn
                    5075 Linden Road, Apt 1301
                    Rockford, IL 61109


                    Andrew Ferriter
                    2039 U. S. Business Route 20
                    Belvidere, IL 61008


                    Andrew Fry
                    6427 Greystone
                    Roscoe, IL 61073


                    Andrew Gantt
                    4212 Auburn St. Apt 102
                    Rockford, IL 61101


                    ANDREW GOUTHRO
                    3 - 1696 VICTORIA RD.
                    SYDNEY, NS B1L1L3
                    CANADA


                    ANDREW LYNK
                    5 BIRCH ST.
                    GLACE BAY, NS B1A2H6
                    CANADA
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                    ANDREW MORGAN
                    10 STRATHCONA ST.
                    LOUISBOURG, NS B1C1M2
                    CANADA


                    Andrew West
                    701 Anna Avenue
                    Loves Park, IL 61111


                    Andrew White
                    4424 Windsor Court
                    Loves Park, IL 61111


                    Angel Evans
                    2925 Custer Street
                    Rockford, IL 61101


                    Angel Jackson
                    1040 South Central Avenue
                    Rockton, IL 61102


                    Angel Rangel
                    316 Mclain Ave
                    Rockford, IL 61102


                    ANGELA BRUCE
                    85 BRYAN STREET APT#2
                    SYDNEY, NS B1N2N7
                    CANADA


                    Angela Nunez
                    308 Winona Dr.
                    Machesney Park, IL 61115


                    Angela Orlowski
                    401 E. Cravath St.
                    Whitewater, WI 53190


                    Angela Reinhold
                    809 2nd Ave. Apt. 1
                    Rockford, IL 61104
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                    ANGELA ROBINSON
                    22 COOKE STREET
                    SYDNEY MINES, NS B1V2R4
                    CANADA


                    Angela Smith
                    1427 Charles Street
                    Rockford, IL 61104


                    Angela Wallace
                    7108 Mildred Rd
                    Machesney Park, IL 61115


                    Angelia Weddle
                    2205 Logan Street
                    Rockford, IL 61103


                    Angelica Martinez
                    3331 California Road
                    Rockford, IL 61108


                    Angelica Matias-Serrato
                    1020 23rd St.
                    Rockford, IL 61108


                    ANITA HUSSEY
                    112 CAROLL CRES.
                    SYDNEY, NS B1N3C2
                    CANADA


                    Anjie Smith
                    4211 Florida Drive, Apt 204
                    Rockford, IL 61108


                    ANN ALLEN
                    102 HIGHLAND ST.
                    GLACE BAY, NS B1A2V1
                    CANADA


                    ANN FORTUNE
                    32 PLEASANT ST.
                    DOMINION, NS B1G1S6
                    CANADA
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                    Ann Haywood
                    3210 Charles Street
                    Rockford, IL 61108


                    Anna Jones
                    1819 Green St
                    Rockford, IL 61102


                    Anna Kinkade
                    611 Woodland Dr.
                    Rockford, IL 61108


                    Anna Marie Portenier
                    1203 Chestnut Street
                    Rockford, IL 61102


                    Annabelle Hudson
                    419 North Appleton Road
                    Belvidere, IL 61008


                    Anne Bell
                    N7156 Lakeshore Avenue
                    Elkhorn, WI 53121


                    ANNE BOUCHARD
                    123 REGENT ST.
                    NORTH SYDNEY, NS B2A2G6
                    CANADA


                    ANNE MACDONALD
                    868 KELTIC DR.
                    POINT EDWARD, NS B2A4X2
                    CANADA


                    ANNE POWER
                    50 ARCHIBALD AVE
                    SYDNEY, NS B1P3L7
                    CANADA


                    ANNETTE HALASZ
                    484 PRINCE STREET APT. A
                    SYDNEY, NS B1P5L7
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 29 of 246




                    Anthony Herbert
                    5440 Windsor Road Apt 2A
                    Loves Park, IL 61111


                    Anthony Person
                    4822 Hampshire Cl Apt 3
                    Rockford, IL 61109


                    Anthony Peterson
                    9278 Cincinnati Drive
                    Machesney Park, IL 61115


                    Antoinette Parchman
                    4815 Creekview Rd Apt 1
                    Rockford, IL 61108


                    Antonio Johnson
                    5920 Strathmoor Dr.
                    Rockford, IL 61107


                    ANUCHA AMBROSE
                    136 UNIVERSITY BLVD
                    SYDNEY, NS B1M1A2
                    CANADA


                    April Ball
                    806 8th Street Lower
                    Beloit, WI 53511


                    April Gomez
                    2114 West Jefferson Street
                    Rockford, IL 61101


                    April Gonzalez
                    4471 Carthage Dr. Apt 6
                    Rockford, IL 61109


                    April McHerron
                    2236 19th Ave #4
                    Rockford, IL 61104
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                    April Robins
                    5862 Dafred Dr
                    Rockford, IL 61107


                    April Sanders
                    5075 Pebble Lane
                    Loves Park, IL 61111


                    ARAMARK UNIFORM SERVICES
                    Attn: Pres, GP or Mng Member
                    25259 NETWORK PLACE
                    CHICAGO, IL 60673-1211


                    Aramark Uniform Services
                    Attn: Pres, GP or Mng Member
                    AUCA Rockford MC Lockbox
                    25259 Network Place
                    Chicago, IL 60673-1256


                    Arianna LeFlore
                    3304 Sun Valley Terrace Apt 1
                    Rockford, IL 61103


                    Ariel Davidson
                    129 Valhalla Dr
                    Popular Grove, IL 61065


                    Ariel Hay
                    1832 N. Main St.
                    Rockford, IL 61102


                    Ariel Varner
                    1046 Mcknight Circle, Apt 3
                    Rockford, IL 61104


                    Arielle Havro
                    419 Bancroft Court Apt 5
                    Rockford, IL 61107


                    ARLENE MACDONALD
                    31 DUFFELL DR
                    SYDNEY, NS B1P3G7
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 31 of 246




                    Armando Anaya
                    1320 N Church St
                    Rockford, IL 61103


                    Armani Vaughn
                    1513 4th Ave
                    Rockford, IL 61104


                    Arnold Moran-Tapia
                    1219 Ogilby Road
                    Rockford, IL 61102


                    Arteria Patterson
                    505 Howard Ave
                    Rockford, IL 61102


                    ARTHUR FLYNN
                    430 ANNIVERSARY AVE
                    NEW WATERFORD, NS B1H4K5
                    CANADA


                    Artrell Trotter
                    1613 Overdene Avenue
                    Rockford, IL 61103


                    Ashawnti Coburn
                    2927 Grinnell Court
                    Rockford, IL 61109


                    Ashawnti Morris
                    1250 6th St. Apt 6
                    Beloit, WI 53511


                    Ashley Bearden
                    510 N. Winnebago Street
                    Rockford, IL 61103


                    ASHLEY BRIGGETT
                    549 CHARLOTTE ST. UNIT # 1
                    SYDNEY, NS B1P1E6
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 32 of 246




                    Ashley Fleming-Joseph
                    1205 N. Main Street
                    Rockford, IL 61102


                    Ashley Haynes
                    3506 Busch Ct.
                    Rockford, IL 61109


                    Ashley Hill
                    1633 Oakwood Ave
                    Beloit, WI 53511


                    ASHLEY HOPE CONROD
                    3373 LANDRY AVE
                    NEW WATERFORD, NS B1H4L3
                    CANADA


                    Ashley Kelly
                    1510 School St Apt 1
                    Rockford, IL 61101


                    ASHLEY MACNEIL
                    16 B LINGAN ST.
                    DOMINION, NS B2G1K8
                    CANADA


                    Ashley Marks
                    500 Lincoln Park Blvd
                    Rockford, IL 61102


                    Ashley Rushing
                    817 10th Street
                    Rockford, IL 61104


                    Ashley Samaniego
                    3101 19th Street
                    Rockford, IL 61109


                    Ashley Smart
                    1530 10th Street
                    Rockford, IL 61104
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                    Ashley Smothers
                    352 Leather Court
                    Rockford, IL 61101


                    Ashley Stupec
                    2737 Bildahl Street
                    Rockford, IL 61109


                    Ashley Warren
                    929 Ridge Ave Apt 1
                    Rockford, IL 61103


                    ASHLEY WOOD
                    479 ESPLANADE ST. APT. #1
                    SYDNEY, NS B1P1B3
                    CANADA


                    Ashlie Foulker
                    2723 Sierra Dr
                    Rockford, IL 61109


                    ASHTON COLLIER
                    21 L'NU AVE.
                    MEMBERTOU, NS B1S3P9
                    CANADA


                    Asia Adams
                    4831 Linden Road
                    Rockford, IL 61109


                    Asia Bunch
                    2807 Glenwood Avenue
                    Rockford, IL 61101


                    Aspen Business Center One LLC
                    Attn: Pres, GP or Mng Member
                    1639 N Alpine Rd
                    Suite 301
                    Rockford, IL 61107


                    ASSI ESDRAS
                    136 UNIVERSITY BLVD.
                    SYDNEY, NS B1M1A2
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 34 of 246




                    AT&T
                    Attn: Pres, GP or Mng Member
                    PO Box 9005
                    Carol Stream, IL 60197-9005


                    AT&T
                    Attn: Pres, GP or Mng Member
                    PO BOX 5019
                    Carol Stream, IL 60197-5019


                    AT&T GLOBAL SERVICES CANADA CO
                    Attn: Pres, GP or Mng Member
                    PO BOX 9266 STN A
                    TORONTO, ON M5W 3M1
                    Canada


                    AT&T Mobility
                    Attn: Pres, GP or Mng Member
                    PO Box 6463
                    Carol Stream, IL 60197-6463


                    AT&T TeleConference Services
                    Attn: Pres, GP or Mng Member
                    P O BOX 5002
                    CAROL STREAM, IL 60197-5002


                    ATOS IT Solutions and Services
                    Attn: Pres, GP or Mng Member
                    DEPT 781177
                    PO BOX 78000
                    DETROIT, MI 48278-1177


                    ATT
                    Attn: Pres, GP or Mng Member
                    PO Box 5019
                    Carol Stream, IL 60197-5019


                    ATT Interstate Dedicated
                    Attn: Pres, GP or Mng Member
                    P O BOX 5019
                    CAROL STREAM, IL 60197


                    Aubree Bolton
                    2905 Concordia Drive
                    Rockford, IL 61109
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                    Audra Smith
                    1505 N Court St
                    Rockford, IL 61103


                    Audrea Mosby
                    1604 13th Ave
                    Rockford, IL 61104


                    Audrey Young
                    323 Shoreland Road
                    Machesney Park, IL 61115


                    Aundrea MC Dowell
                    2917 Sitka Lane, Unit 2
                    Rockford, IL 61101


                    Austin Baker
                    5274 Pebble Lane
                    Loves Park, IL 61111


                    AUSTIN CAMPBELL
                    1763 NEW WATERFORD HWY.
                    SOUTH BAR, NS B1N3H3
                    CANADA


                    AUSTIN DALTON
                    14 GLENCOE COURT
                    SYDNEY, NS B1N1B8
                    CANADA


                    Austin Gillette
                    2626 Knight Avenue
                    Rockford, IL 61101


                    Austin Kirchner
                    999 Bunting Drive
                    Loves Park, IL 61111


                    Austin Rogers
                    2233 Staborn Drive
                    Beloit, WI 53511
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                    Austina Moore
                    515 Seminary Street, 709B
                    Rockford, IL 61104


                    AUTUMN PAUL
                    60 MINIMALL DR.
                    ESKASONI, NS B1W1A6
                    CANADA


                    AVERY GOOGOO
                    85 WHITNEY AVE. APT. #4
                    SYDNEY, NS B1P4W5
                    CANADA


                    Aviuna Howard
                    714 Cunningham
                    Rockford, IL 61102


                    B & M Disposal Limited
                    Attn: Dave Morrison
                    31 Kytes Hill Drive
                    Sydney, NS B1M 1A7
                    Canada


                    Bailee Johnson
                    1910 Belden Street
                    Rockford, IL 61101


                    Ballard Properties Group I
                    Attn: Pres, GP or Mng Member
                    1670 N ALPINE RD
                    ROCKFORD, IL 61107


                    Barbara Arroyo
                    4830 Creekview Rd
                    Rockford, IL 61108


                    Barbara Lender
                    1303 Orchard Avenue
                    Rockford, IL 61101


                    BARBARA MACEACHERN
                    57 JAMES STREET
                    SYDNEY, NS B1N2S2
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 37 of 246




                    BARRY HAWCO
                    99 CONNAUGHT ST
                    SYDNEY, NS B1N2V9
                    CANADA


                    BARRY MACKINNON
                    99 A BUNGALOW ROAD
                    COXHEATH, NS B1R1T3
                    CANADA


                    Beatrice Smith
                    224 Oakwood St
                    Rockford, IL 61101


                    Beatrice Walker
                    3409 Sunnyside Avenue
                    Rockford, IL 61101


                    Bell Aliant
                    Attn: Pres, GP or Mng Member
                    P.O. Box 2226, STN Central RPO
                    Halifax, NS B3J 3C7
                    Canada


                    BELL MOBILITY
                    Attn: Pres, GP or Mng Member
                    PO Box 1675, Halifax Station Central
                    Halifax, NS B3J OA6
                    Canada


                    Bell Mobility
                    Attn: Pres, GP or Mng Member
                    PO Box 1675, Halifax Station Central
                    Halifax, NS B3J 0A6
                    Canada


                    BERNICE AUCOIN
                    115 COLBY STREET
                    SYDNEY, NS B1P3R1
                    CANADA


                    BERNICE BOURGEOIS
                    70 TOWERVIEWPLACE APT. # 4009
                    SYDNEY, NS B1S3B9
                    CANADA
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                    Bessie Amanda Nolasco
                    1104 Derexel Boulevard
                    Machesney Park, IL 61115


                    BESSIE PYKE
                    987 BEECHMONT RD
                    COXHEATH, NS B2A4K2
                    CANADA


                    Bethany Ellis
                    5134 Illinois St.
                    Loves Park, IL 61111


                    Bethany McKinley
                    1037 W. Jefferson Street
                    Rockford, IL 61101


                    Betty Marrone
                    2419 Wood Drive
                    Beloit, WI 53511


                    BEVERLY CLEMENTS
                    46 LOYOLA CRES.
                    SYDNEY, NS B1P3Y4
                    CANADA


                    Biljana Turner
                    4312 O'Connell St
                    Rockford, IL 61109


                    BILL GREGORY
                    35 MARLBOROUGH DRIVE
                    SYDNEY, NS B1S1W7
                    CANADA


                    BILL MCNEIL
                    4 AMELIA ST.
                    SYDNEY, NS B1P6B9
                    CANADA


                    Billhorn Law Firm
                    Attn: Pres, GP or Mng Member
                    53 W Jackson Blvd Suite 840
                    Chicago, IL 60604-1595
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                    BLAIR SHAW
                    2315 SYDNEY RD.
                    RESERVE MINES, NS B1E1K4
                    CANADA


                    Blue Cross
                    Attn: Cheryl Skinner
                    PO Box 220
                    Moncton, NB E1C 8L3
                    Canada


                    Bobby Green
                    1811 8th Street
                    Rockford, IL 61104


                    Bobby Horton
                    374 Gramercy Dr
                    Rockford, IL 61107


                    BOBBY LEE
                    434 ALEXANDRA ST. APT. #3
                    SYDNEY, NS B1S2G6
                    CANADA


                    BONNIE LEBLANC-PYKE
                    752 KELTIC DRIVE
                    POINT EDWARD, NS B1R1X1
                    CANADA


                    BONNIE O'ROURKE
                    109 TAYLOR ST.
                    SYDNEY, NS B1N2W7
                    CANADA


                    BRAD HILLIER
                    13 CAMPBELL STREET
                    SYDNEY, NS B1P1E8
                    CANADA


                    BRANDI HOBAN
                    218 DILLON ST. APT # 2
                    SYDNEY, NS B1P5C2
                    CANADA
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                    Brandi King
                    1623 Sexton Dr
                    Rockford, IL 61108


                    Brandie Carlson
                    1127 Copper Avenue
                    Machesney Park, IL 61115


                    Brandon Arnold
                    1116 Irving Avenue, Apt 102
                    Rockford, IL 61101


                    Brandon Bailey
                    1528 14th Street
                    Rockford, IL 61104


                    Brandon Barnes
                    3331 Sunnyside Ave
                    Rockford, IL 61101


                    Brandon Coofer
                    1106 21st Avenue
                    Rockford, IL 61104


                    Brandon Dale
                    405 S 4th St
                    Rockford, IL 61104


                    Brandon Fisk
                    1801 Chippewa
                    Beloit, WI 53511


                    Brandon Gray
                    4877 Linden Road Apt 137
                    Rockford, IL 61109


                    BRANDON ROCHON
                    42 ASPEN GROVE
                    HOWIE CENTER, NS B1L1C4
                    CANADA
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                    BRANDON RUDDERHAM
                    116 MACRAE AVE. APT. #3
                    SYDNEY, NS B1R1J3
                    CANADA


                    Brandon Sparks Thompson
                    405 South 4th Street
                    Rockford, IL 61104


                    Brandon Swenson
                    3356 Sun Valley Terr, Apt 1
                    Rockford, IL 61104


                    Brandy Jackson
                    3021 South Central Avenue
                    Rockford, IL 61102


                    BRANDY MACNEIL
                    91 OCEAN AVE
                    DOMINION, NS B1G1R3
                    CANADA


                    Breana Ridley
                    11230 Stratford Place
                    Belvidere, IL 61008


                    Breanna Burbridge
                    327 N. Church St. Apt 505
                    Rockford, IL 61101


                    Breanna Gilmour
                    2195 Parmele
                    Rockford, IL 61108


                    Breanna Taylor
                    3010 Lotus Lane
                    Machesney Park, IL 61115


                    Breanna Walsh
                    205 Hosmer Street
                    Loves Park, IL 61111
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                    Breanna Wilburn
                    300 Pennsylvania Avenue
                    Loves Park, IL 61111


                    Brenda Combs
                    604 New Milford Ave.
                    Rockford, IL 61109


                    BRENDA LEBLANC
                    1128 VICTORIA RD
                    SYDNEY, NS B1N1L2
                    CANADA


                    BRENDA MACPHEE
                    78 MELODY LN
                    SYDNEY, NS B1H4K1
                    CANADA


                    BRENDA PITTMAN
                    124 WEBSTER ST
                    SYDNEY, NS B1N2K5
                    CANADA


                    Brent Erickson
                    4740 Lincliff Drive
                    Rockford, IL 61109


                    Breonna Fredrick
                    14033 Ashwin Lane
                    Poplar Grove, IL 61065


                    BRETON DOUCETTE-MURPHY
                    47 SHERIFF AVE.
                    SYDNEY, NS B1P2P6
                    CANADA


                    BRETT BOUCHER
                    68 CONNAUGHT AVE.
                    GLACE BAY, NS B1A5S2
                    CANADA


                    BRETT CONROD
                    3452 WILSON AVE.
                    NEW WATERFORD, NS B1H1W9
                    CANADA
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                    BRETT DAUPHNEY
                    295 BORDEN ST.
                    SYDNEY, NS B1H1H2
                    CANADA


                    BRETT MURPHY
                    24 - A Dodd St.
                    GLACE BAY, NS B1A4S9
                    CANADA


                    BRETTON BEST
                    36 ASHBY ROAD
                    SYDNEY, NS B1P2R8
                    CANADA


                    Brian Conroy
                    1165 West 2nd Street
                    Byron, IL 61010


                    BRIAN HARRIS
                    5396 HWY 255
                    MIRA GUT, NS B1K2Y2
                    CANADA


                    BRIAN HUBLEY
                    51 OLD KINGS RD
                    SYDNEY, NS B1S2B4
                    CANADA


                    Briana Smith
                    6419 Edgewood Drive
                    Machesney Park, IL 61115


                    Brianna Jaeger
                    4401 Tullocks Woods Trail
                    Rockford, IL 61101


                    BRIANNA OGLEY
                    12 ROOST ST.
                    GLACE BAY, NS B1A5J7
                    CANADA


                    Brianna Williams
                    3507 Pheasant Run
                    Rockford, IL 61103
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                    Brianna Woods
                    313 Underwood Street
                    Rockford, IL 61101


                    Briosia Perkins
                    302 Waveland Avenue
                    Rockford, IL 61102


                    BRITNEY BERGEN
                    33 RESERVE STREET APT #2
                    GLACE BAY, NS B1A4V9
                    CANADA


                    Britney Chambers
                    316 Regan Street
                    Rockford, IL 61107


                    Brittani Dandridge
                    1325 W Lincoln Hwy Unit 206B
                    DeKalb, IL 60115


                    Brittany Bryant
                    3026 Bauer Dr
                    Machesney Park, IL 61115


                    BRITTANY STEPHENSON
                    64 SUNNY SIDE DR.
                    RESERVE MINES, NS B1E1J2
                    CANADA


                    Brittany Unal
                    511 1/2 4th Ave
                    Sterling, IL 61081


                    Brittney Brown
                    437 Irving Avenue
                    Rockford, IL 61101


                    Brittney Person
                    443 Underwood Street
                    Rockford, IL 61101
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                    Brittney Robinson
                    1413 Birch Court
                    Rockford, IL 61104


                    Broadband Dynamics LLC
                    Attn: Pres, GP or Mng Member
                    8757 E Via de Commercio
                    First Floor
                    Scottsdale, AZ 85258


                    BROOKE BUCHANAN
                    98 MAPLE AVE.
                    GLACE BAY, NS B1A2H8
                    CANADA


                    Brooke Jones
                    3411 Elm St.
                    Rockford, IL 61102


                    Brooke Olson
                    304 Hough Drive
                    Machesney Park, IL 61115


                    BROOKLYNN TIGHE
                    109 DALEY ROAD
                    SYDNEY, NS B1H4Z9
                    CANADA


                    BRYAN MCCALLUM
                    49 HAMPT0N DRIVE
                    SYDNEY, NS B1L1H3
                    CANADA


                    Bryanna Robinson
                    3215 Airline Avenue
                    Rockford, IL 61101


                    Bryant Campbell
                    4973 Hampshire Cl #2
                    Rockford, IL 61109


                    Bryce McClinton
                    931 North Ave
                    Rockford, IL 61103
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                    Bryn Mawr- RBAL LEASING L.P.
                    Attn: Pres, GP or Mng Member
                    550 TOWNSHIP LINE RD
                    SUITE 425
                    BLUE BELL, PA 19422


                    Brynn Dockins
                    3847 Christopher Drive
                    Rockford, IL 61101


                    Calvester Johnson
                    420 9th St
                    Rockford, IL 61104


                    CAMERON MURPHY
                    3237 GRAND MIRA NORTH RD.
                    SYDNEY, NS B1K1X1
                    CANADA


                    Canada Revenue Agency
                    Attn: Commissioner of Revenue
                    1557 HOLLIS STREET BOX 638
                    Halifax, NS B3J 2T5
                    Canada


                    CANDACE HILL
                    141 GLENCAIRN AVENUE
                    SYDNEY, NS B1R1L8
                    CANADA


                    CANDACE HUTCHISON
                    3588 WILLISON AVE.
                    NEW WATERFORD, NS B1H1X4
                    CANADA


                    CANDACE JESSOME
                    47 MEECH AVE.
                    NORTH SYDNEY, NS B2A1R8
                    CANADA


                    Cape Breton Glass Ltd.
                    Attn: Pres, GP or Mng Member
                    19 Mitchell Place
                    Sydney, NS B1P 1T8
                    Canada
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                    Cape Breton Screaming Eagles
                    Attn: Pres, GP or Mng Member
                    PO Box 8
                    SYDNEY, NS B1P 6G9
                    Canada


                    Captriciana Bush
                    1508 Meadow Ct
                    Rockford, IL 61104


                    Cara Kutak
                    677 Talentina Trail
                    Roscoe, IL 61073


                    Caralyn Simmons
                    1235 South Court St.
                    Rockford, IL 61102


                    Caraycha Merriweather
                    1028 Kilburn Avenue
                    Rockford, IL 61101


                    Cariss Young
                    909 Ridge Ave. # 2
                    Rockford, IL 61101


                    CARISSA KAUFFMAN
                    97 INDUSTRIAL DR.
                    SYDNEY, NS B1P6Z3
                    CANADA


                    Carl Lyons
                    615 Ranger Street
                    Rockford, IL 61109


                    CARL SAMPSON
                    39 JEFFERSON LANE APT. 6
                    SYDNEY, NS B1S3L6
                    CANADA


                    Carla Puckett
                    625 Concord Ave.
                    Rockford, IL 61102
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                    Carlin Parker
                    701 Plaisance
                    Rockford, IL 61102


                    Carlisha Williams
                    605 N Horace Ave
                    Rockford, IL 61101


                    Carlos Luna
                    715 Romona Terrance
                    Machesney Park, IL 61115


                    CARMALITA KAUFFMAN
                    360 CARTIER ST. APT # 2
                    SYDNEY, NS B1P4B8
                    CANADA


                    Carmen Diaz
                    204 Oak Leaf Drive
                    Poplar Grove, IL 61065


                    Carmilla Black
                    417 Walnut St Apt 4
                    Rockford, IL 61104


                    CAROL-ANNE GOTTWALD
                    50 QUEEN ST.
                    SCOTCHTOWN, NS B1H1G2
                    CANADA


                    Carolyn Motteler
                    617 1/2 West Locust St.
                    Belvidere, IL 61008


                    Carrie Beck
                    871 Prarie Lily Lane
                    Davis Junction, IL 61020


                    Carrie Jamerson
                    7421 E. State St. Apt 134
                    Rockford, IL 61108
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                    Carrie Knutti
                    7500 Hwy 20 East
                    Ridott, IL 61067


                    Carzell Lewis Curtis
                    2527 Custer Avenue
                    Rockford, IL 61101


                    Cascey Jones
                    663 Amphitheater Dr. #2
                    Rockford, IL 61107


                    CASEY JACOBS
                    501 ALEXANDRA ST.
                    SYDNEY, NS B1S2G7
                    CANADA


                    Cassandra Arco
                    1727 16th Ave #1
                    Rockford, IL 61104


                    Cassandra Bergeson
                    733 Belmont Blvd.Apt 301
                    Rockford, IL 61103


                    Cassandra Macias
                    2305 School Street Apt 3
                    Rockford, IL 61101


                    Cassandra Quast
                    8614 Olson Road
                    Belvidere, IL 61008


                    Cassandra Steele
                    1127 21st Avenue
                    Rockford, IL 61104


                    Cassandra Uhal
                    5141 Flagstone Dr
                    Loves Park, IL 61111
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 50 of 246




                    Cassaundra Mcdaniel
                    2343 10st
                    Rockford, IL 61104


                    Cassidy Kress-Sadewater
                    1911 N Church St
                    Rockford, IL 61103


                    Catherine Berkowitz
                    615 N. Central Avenue
                    Rockford, IL 61101


                    CATHERINE CHASE
                    281 EAST BROADWAY
                    SYDNEY, NS B1N2Z6
                    CANADA


                    Cathy Eklund
                    8303 Waterview Rd
                    Machesney Park, IL 61115


                    CATHY GOYETCHE
                    281 EAST BROADWAY
                    SYDNEY, NS B1N2Z6
                    CANADA


                    CATHY HARRIS
                    51 WILLOW ST
                    SYDNEY, NS B1P3A2
                    CANADA


                    CATHY O'HANDLEY
                    14 TANYA DR.
                    GLACE BAY, NS B1A5Z8
                    CANADA


                    Cayla Lustre
                    1031 Roxbury Road
                    Rockford, IL 61107


                    CDW Canada
                    Attn: Kimberly Stiff
                    PO BOX 57720, Postal Station "A"
                    TORONTO, ON M5W 5M5
                    Canada
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 51 of 246




                    CDW Direct, LLC
                    Attn: Pres, GP or Mng Member
                    P.O. Box 75723
                    Chicago, IL 60675-5723


                    Ceamornia Major
                    1141 west Jefferson
                    Rockford, IL 61101


                    Ceara Gray
                    2325 Auburn Street Apt 2W
                    Rockford, IL 61103


                    CECIL PURCELL
                    82 MELISSA CRESCENT
                    SYDNEY, NS B1P6X2
                    CANADA


                    Cecilia Granados
                    2634 Mary Street
                    Belvidere, IL 61008


                    Cedriana Franklin
                    539 North Rockton Avenue Apt 6
                    Rockford, IL 61103


                    CEDRIC SHONHIWA
                    77 MAIN STREET
                    RESERVE MINES, NS B1E1E7
                    CANADA


                    Cedrick Jones
                    2108 16th Avenue Apt 1
                    Rockford, IL 61104


                    Celeste Pierce
                    945 1/2 West Grand Avenue
                    Beloit, WI 53511


                    Celina Lane
                    529 North Main Street Apt 103
                    Rockford, IL 61103
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                    Ceroni Piping
                    Attn: Pres, GP or Mng Member
                    7770 Ceroni Rd
                    Cherry Valley, IL 61016


                    Cesar Cardenas
                    3038 Latham Street
                    Rockford, IL 61103


                    Chamelle Southard
                    3208 Idlewood Terrace
                    Rockford, IL 61101


                    Champaine Harris
                    2426 Windridge Apt.1
                    Rockford, IL 61108


                    Chanel Sanders
                    3936 Eagle Dr
                    Rockford, IL 61103


                    Channell Stewart
                    5699 S. Down Lane
                    Roscoe, IL 61073


                    Chantel Cooper
                    620North Court St Apt 2
                    Rockford, IL 61103


                    Chareall Akesseh
                    1825 Arbor Lane Apt. 302
                    Crest Hill, IL 60403


                    Charlaysha McGee
                    1981 W Riverside Blvd Apt 201
                    Rockford, IL 61103


                    CHARLENE CARRIGAN
                    452 ARTHUR ST.
                    NEW WATERFORD, NS B1H4H6
                    CANADA
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                    CHARLENE COLSON
                    205 MT. PLEASANT ST.
                    SYDNEY, NS B1N2G5
                    CANADA


                    CHARLES ANDREWS
                    11 QUEEN ST.
                    SCOTCHTOWN, NS B1H1E7
                    CANADA


                    CHARLES BOUTILIER
                    84 EAST ST.
                    SYDNEY, NS B1N1S8
                    CANADA


                    CHARLES BOUTILIER
                    87 EAST ST.
                    SYDNEY, NS B1N1S8
                    CANADA


                    Charles Farmer
                    4863 Linden Road, Apt 712
                    Rockford, IL 61109


                    Charles Johnson
                    2308 Essleston Rd
                    Rockford, IL 61108


                    Charles Nance Jr.
                    1118 Funman St. #3
                    Rockford, IL 61101


                    CHARMAINE HOGAN
                    11 QUEEN ST.
                    SCOTCHTOWN, NS B1H1E7
                    CANADA


                    CHARMAINE MACKINNON
                    76 A RYLELAND COURT
                    ALBERT BRIDGE, NS B1K3E7
                    CANADA


                    Charonee Fuller
                    1232 S Johnston Ave
                    Rockford, IL 61102
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                    Chasity McBride
                    1140 Minns Drive Apt 4
                    Machesney Park, IL 61115


                    Chasity Newton
                    3229 Searles Avenue
                    Rockford, IL 61101


                    Chasity Roman
                    3016 Garfield Drive
                    Rockford, IL 61101


                    Chasity Utech-Haug
                    403 Sawyer
                    Rockford, IL 61109


                    CHASTITY MACKENZIE
                    106 SUNNYDALE DR.
                    SYDNEY, NS B1R1J3
                    CANADA


                    CHAUNCEY SULLIVAN
                    71 STORNAWAY ST.
                    SYDNEY, NS B1P2P9
                    CANADA


                    Chauntaie Jones
                    307 South Central Avenue
                    Rockford, IL 61102


                    Chealsea Keyes
                    219 Rockford Avenue
                    Rockford, IL 61104


                    Chelsea Jones
                    1430 School Street
                    Rockford, IL 61101


                    Chelsea Lopez
                    426 Harlem Road
                    Machesney Park, IL 61115
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                    CHELSEA THOMAS
                    289 BENTINCK ST.
                    SYDNEY, NS B1P1H1
                    CANADA


                    Chelsi Vandiver
                    505 North 6th Street
                    Rockford, IL 61107


                    Cheneka Ross
                    3568 Elm Street Apt. BC
                    Rockford, IL 61102


                    Cherrell Cox
                    617 Overland Trail
                    Rockford, IL 61101


                    CHERYL BURKE
                    33 RICHMOND STREET
                    SYDNEY, NS B1P2V1
                    CANADA


                    Cheryl Munoz
                    1522 Duncan Ave
                    Rockford, IL 61108


                    CHERYL PEARCEY
                    10 MACPHEE DR.
                    NORTH SYDNEY, NS B2A2C4
                    CANADA


                    Cheyanne Hensley
                    8906 Stillman Valley Road
                    Stillman Valley, IL 61084


                    Cheyenne King
                    180 Blackstone Ct
                    South Beloit, IL 61080


                    Cheyenne Miller
                    1731 E. Riverside Blvd #E6
                    Rockford, IL 61114
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                    Cheyenne Murphy
                    199 Winona Drive
                    Machesney Park, IL 61115


                    CHIGOZIE LOUIS OKOLIE
                    50 TOWERVIEW PL. APT. #301
                    SYDNEY, NS B1S3B8
                    CANADA


                    Chilynn Dodson
                    2001 S. 5th Street
                    Rockford, IL 61104


                    China Darnell
                    2018 Dresden Avenue
                    Rockford, IL 61103


                    Chitarah Price
                    1951 W. Riverside Boulevard
                    Rockford, IL 61101


                    Chloe Heyward
                    3002 W. Loras Dr #2
                    Freeport, IL 61032


                    CHLOE PITCHER
                    1967 HWY 28
                    SYDNEY, NS B1N3H5
                    CANADA


                    CHOWDHURY MAHIN WAHID
                    114 A MACAULAY'S DR.
                    SYDNEY, NS B1P3Z9
                    CANADA


                    Chris Payne-Johnson
                    5856 Strathmoor Dr.
                    Rockford, IL 61107


                    CHRISTAL GROVES
                    33 FRASER AVE.
                    SYDNEY MINES, NS B1V2B9
                    CANADA
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                    CHRISTENE LIVINGSTONE
                    19 ANDERSON AVE
                    SYDNEY, NS B1R2B5
                    CANADA


                    CHRISTIAN BARRIE
                    69 MACLEOD ST.
                    SYDNEY, NS B1N1B4
                    CANADA


                    Christian Sarabin
                    208 Flintridge Dricve Apt 4
                    Rockford, IL 61107


                    Christian Turner
                    1425 Green St
                    Rockford, IL 61102


                    Christian Vogle
                    1911 Douglas St.
                    Rockford, IL 61103


                    Christie Chears
                    2616 Ridge Ave.
                    Rockford, IL 61103


                    Christie Hare
                    1507 Iles Ave
                    Belvidere, IL 61008


                    Christina Graham
                    4021 Mila Avenue
                    Rockford, IL 61101


                    Christina Jackson
                    1247 Garrsion Avenue
                    Rockford, IL 61103


                    CHRISTINA MACLEAN
                    225 WESTMOUNT ROAD
                    SYDNEY, NS B1R1A2
                    CANADA
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                    Christina Olmstead
                    1330 Chestnut Street
                    Rockford, IL 61102


                    Christina Wilkins
                    821 10th St
                    Rockford, IL 61104


                    CHRISTINE MACKINNON
                    97 MACKENZIE DR.
                    SYDNEY, NS B1R2J2
                    CANADA


                    Christine Pirtle
                    1617 Overdene Avenue, Apt 7
                    Rockford, IL 61103


                    CHRISTOPHER FELTRIN
                    33 TRINITY AVE.
                    SYDNEY, NS B1P4Z4
                    CANADA


                    Christopher Gibson
                    311 S. Henrietta Ave.
                    Rockford, IL 61102


                    CHRISTOPHER HERRIDGE
                    141 GLENCAIRN
                    SYDNEY, NS B1R1L8
                    CANADA


                    Christopher Holland
                    524 North 3rd Street
                    Rockford, IL 61107


                    Christopher Johnson
                    1231 Auburn Court, Apt 3
                    Rockford, IL 61103


                    CHRISTOPHER MORGAN
                    59 TOBIN RD.
                    NORTH SYDNEY, NS B2A3K7
                    CANADA
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                    CHRISTOPHER NOIROT
                    39 OXFORD AVE
                    SYDNEY MINES, NS B1V2J1
                    CANADA


                    CHRISTOPHER O'HANDLEY
                    8 GRACE STREET
                    SYDNEY, NS B1P6V3
                    CANADA


                    CHRISTOPHER SHIPLEY
                    97 WOODLAWN DR.
                    SYDNEY, NS B1S1H8
                    CANADA


                    Christopher Szoke
                    2263 Sunshine Ln
                    Beloit, WI 53511


                    Christy Mackey
                    109 Pennsyvania Avenue Apt 7
                    Loves Park, IL 61111


                    Chron Chandler
                    2905 Park Terrace Apt 7
                    Rockford, IL 61114


                    CHRYSTAL WALCOTT
                    63 -A JOHNSON STREET
                    SYDNEY, NS B1P1R4
                    CANADA


                    Chynna Lane
                    2736 City View Court, Apt 301
                    Rockton, IL 61103


                    Ciara Carter
                    634 Score Street
                    Rockford, IL 61109


                    Ciaria Woodard
                    2432 Windridge Court Apt 4
                    Rockford, IL 61108
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                    Ciearra Pulliam
                    2007 Arthur Avuenue
                    Rockford, IL 61101


                    CINDY BRITTEN
                    14 BENDIX ST.
                    SYDNEY MINES, NS B1V3C3
                    CANADA


                    CINDY COLES
                    1994 MAIN A DIEU RD
                    MAIN A DIEU, NS B1C1W4
                    CANADA


                    CINDY FOUGERE
                    9 LOGUE DR.
                    SYDNEY RIVER, NS B1S3H7
                    CANADA


                    CINDY HOLLOWAY
                    13 SHENDALE DR.
                    SYDNEY, NS B1N3C3
                    CANADA


                    CINDY ROZICKI
                    2432 KINGS ROAD
                    SYDNEY FORKS, NS B1L1A1
                    CANADA


                    CINTAS
                    Attn: Pres, GP or Mng Member
                    CINTAS CORPORATION LOCKBOX
                    PO BOX 631025
                    CINCINNATI, OH 45263-1025


                    CINTAS CORPORATION#355
                    Attn: Pres, GP or Mng Member
                    P O BOX 630921
                    CINCINNATI, OH 45263-0921 United States


                    Cintas First Aid & Safety 0343
                    Attn: Pres, GP or Mng Member
                    P O Box 631025
                    Cincinnati, OH 45263-1025
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                    Cintas First Aid & Safety 343
                    Attn: Pres, GP or Mng Member
                    PO Box 633842
                    Cincinnati, OH 45263


                    CISIVE
                    Attn: Pres, GP or Mng Member
                    PO Box 36460
                    Newark, NJ 07188-6460


                    CLAIRE COLLIER
                    93 SPRUCEHAVEN DRIVE APT 9
                    SYDNEY, NS B1S2L6
                    CANADA


                    Clarke Avenue Properties, LLC
                    Attn: Pres, GP or Mng Member
                    Bob Frahm
                    P.O. Box 751
                    Diablo, CA 94528


                    CLAUDIA MORRES-HART
                    115 SCHOOL ST.
                    GLACE BAY, NS B1A1J7
                    CANADA


                    Claudia Palma
                    4532 Applewood Lane
                    Loves Park, IL 61111


                    Cletis Ditto
                    2104 Eastmoreland Avenue
                    Rockford, IL 61108


                    CLIFFORD REID
                    81 MAIN ST
                    BRAS D OR, NS B1Y2M2
                    CANADA


                    COADY CLEMENTS
                    3601 WOOD AVE.
                    NEW WATERFORD, NS B1H1V8
                    CANADA
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                    CODY DOUTHWRIGHT
                    114 B MACAULAYS LANE
                    SYDNEY, NS B1P4A1
                    CANADA


                    CODY LAWRENCE
                    45 CATHERINE ST.
                    GLACE BAY, NS B1A2X2
                    CANADA


                    Cody Wegener
                    153 Columbia St
                    Popular Grove, IL 61065


                    COGENCY GLOBAL INC
                    Attn: Pres, GP or Mng Member
                    10 E 40th St
                    10th Floor
                    NEW YORK, NY 10016


                    COLIN ARMSTRONG
                    82 MELISSA CRES.
                    SYDNEY, NS B1P6X2
                    CANADA


                    Colin Johnson
                    10421 Metalmark Ln Unit 2
                    Roscoe, IL 61073


                    COLIN MACLEOD
                    2737 ROACHES RD.
                    NEW WATERFORD, NS B1M5H1
                    CANADA


                    COLIN O'BRIEN
                    70 ELM ST
                    DOMINION, NS B1G1E3
                    CANADA


                    COLIN STUBBERT
                    22 ERINMORE DR.
                    SYDNEY, NS B1M1A7
                    CANADA
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                    COLLETTE DEVEAUX
                    62 MACNAMARA AVE
                    SYDNEY, NS B1R2C2
                    CANADA


                    COMCAST
                    Attn: Pres, GP or Mng Member
                    PO BOX 37601
                    Philadelphia, PA 19101-0601


                    COMCAST BUSINESS
                    Attn: Pres, GP or Mng Member
                    PO BOX 3001
                    SOUTHEASTERN, PA 19398-3001


                    COMCAST BUSINESS
                    Attn: Pres, GP or Mng Member
                    P O BOX 37601
                    Philadelphia, PA 19101-0601


                    COMCAST SPOTLIGHT
                    Attn: Pres, GP or Mng Member
                    12964 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693


                    ComEd
                    Attn: Pres, GP or Mng Member
                    P O BOX 6111
                    Carol Stream, IL 60197-6111


                    COMPSYCH CANADA LTD
                    Attn: Pres, GP or Mng Member
                    P O BOX 15802 STATION A
                    Toronto, ON M5W 1C1
                    Canada


                    Computer Alternative Process
                    Attn: Pres, GP or Mng Member
                    2 Blue Hill Plaza
                    PO Box 1571
                    Pearl River, NY 10965


                    Connie Rose
                    6233 Cherokee Hills Dr.
                    Rockford, IL 61109
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                    CONNOR BEST
                    36 ASHBY RD.
                    SYDNEY, NS B1P2R8
                    CANADA


                    Connors Basics
                    Attn: Laurie Carroll
                    P.O. Box 443, 350 Charlotte Street
                    Sydney, NS B1P 6H2
                    Canada


                    Constance Jones
                    3455 Holiday Dr. #2
                    Rockford, IL 61109


                    Constellation New Energy, Inc.
                    Attn: Pres, GP or Mng Member
                    P O BOX 4640
                    CAROL STREAM, IL 60197-4640


                    CORA PYE
                    501 POINT ACONI ROAD
                    MILL CREEK, NS B1Y1Y6
                    CANADA


                    Coral Capital Solutions LLC
                    Attn: Mr. Jim Bertie
                    275 Madison Avenue
                    Suite 2014
                    New York, NY 10016


                    Cordae Williams
                    815 West
                    Rockford, IL 61102


                    Cordaro Willis
                    3809 Thyme Drive
                    Rockford, IL 61114


                    Corey Jackson
                    4611 Auburn St
                    Rockford, IL 61101


                    Corey Wilson
                    227 KIlburn Avenue
                    Rockford, IL 61101
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                    CORI HYISKY
                    18 HUGH ST.
                    SYDNEY, NS B1P1V7
                    CANADA


                    Corie Paxton
                    506 40th St
                    E Moline, IL 61244


                    CORINNA YATES
                    132 FOREST STREET
                    GLACE BAY, NS B1A1G9
                    CANADA


                    Corrine Smith
                    106 Day Flower Circle
                    Davis Junction, IL 61020


                    Cortney Garcia
                    4836 Creek View Rd, Apt 8
                    Rockford, IL 61108


                    Corzhaunne Simon
                    3215 Arline Avenue
                    Rockford, IL 61101


                    Courtneie Holt
                    3441 Garfield Drive
                    Rockford, IL 61101


                    Courtney Aldridge
                    1425 Garden Court
                    Rockford, IL 61104


                    COURTNEY DUNN
                    546 ROTARY DR.
                    SYDNEY, NS B1P4S7
                    CANADA


                    Courtney Kenney
                    716 Sycamore Ln
                    Machesney Park, IL 61115
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                    Courtney Lyons
                    4736 Charing Drive
                    Rockford, IL 61114


                    Courtney Zimmerman
                    611 Matthew Ct
                    Winnebago, IL 61088


                    Cozetta Willams-Jones
                    208 Cameron Ave
                    Rockford, IL 61102


                    CRAIG MACLEOD
                    2737 ROACHES RD.
                    LINGAN, NS B1H5H1
                    CANADA


                    Crombie REIT
                    Attn: Marian Cormier
                    610 East River Rd Suite 200
                    New Glasgow, NS B2H 3S2
                    Canada


                    Crystal Bailey
                    1015 Sunset Court
                    Rockford, IL 61102


                    Crystal Cronin
                    1129 Kingsley Drive
                    Machesnesy Park, IL 61115


                    Crystal DeLeon
                    3524 North Main Street
                    Rockford, IL 61103


                    CRYSTAL FRASER
                    73 BROOK STREET
                    NORTH SYDNEY, NS B2A1S8
                    CANADA


                    Crystal Hartman
                    14215 Kennedy Drive
                    South Beloit, WI 61080
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                    CRYSTAL HOWLEY
                    481 ST PETERS ROAD
                    SYDNEY, NS B1P4R9
                    CANADA


                    CRYSTAL SPARROW
                    135 LINGAN RD
                    SYDNEY, NS B1N1V2
                    CANADA


                    Crystal Starks
                    1507 Sun Court
                    Rockford, IL 61104


                    Crystal Stutsman
                    3116 Meriday Lane, Apt 5
                    Rockford, IL 61109


                    CRYSTAL WAYE
                    158 VICTORIA STREET
                    GLACE BAY, NS B1A2Z8
                    CANADA


                    CRYSTAL-DAWN PERRY
                    3601 WOOD AVE.
                    NEW WATERFORD, NS B1H3N8
                    CANADA


                    CSI LEASING CANADA LTD
                    Attn: Kathi Shamel
                    PO BOX 57173, STN A
                    TORONTO, ON M5W 5M5
                    Canada


                    CURTIS MACNEVIN
                    41A CAMERON ESTATES, APT 10
                    SYDNEY, NS B1P6Y9
                    CANADA


                    Curvature, Inc
                    Attn: Pres, GP or Mng Member
                    6500 Hollister Ave, Ste 210
                    Santa Barbara, CA 93117
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                    Cymouria Lyons
                    810 15th Avenue Apt. 3
                    Rockford, IL 61104


                    Cynthia Gary
                    1120 N. Rockton Avenue
                    Rockford, IL 61103


                    CYNTHIA KIELEY
                    9 CANSO DR.
                    SYDNEY, NS B1P6X7
                    CANADA


                    Cynthia Perez
                    1708 8th St
                    Rockford, IL 61104


                    Cynthia Torres
                    1513 Sun Court
                    Rockford, IL 61104


                    Cynthia Treadwell
                    2226 Parmele Street
                    Rockford, IL 61104


                    CYRIL KEEPING
                    6 PERRY ST.
                    NORTH SYDNEY, NS B2A1S6
                    CANADA


                    D'on Woods
                    11763 Balsa Lane
                    Roscoe, IL 61073


                    Dache Henson
                    2710 Rudeen Close Apt 4
                    Rockford, IL 61183


                    Daisy Valencia
                    8617 Vicki Road
                    Rockford, IL 61108
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                    DaJah Golden
                    1352 Nelson
                    Beloit, WI 53511


                    Dakia Pulliam
                    827 N Johnston Avenue
                    Rockford, IL 61101


                    Dalila Gomez
                    2714 Colorado Ave
                    Rockford, IL 61109


                    Damian Poole
                    1140 2nd Ave.
                    Rockford, IL 61104


                    Damien Dean
                    405 Oak Street
                    Belvidere, IL 61008


                    DANA PITCHUCK
                    29 LESSI ST.
                    SYDNEY, NS B1R1T7
                    CANADA


                    Dana Walker Jr
                    3716 Thornwood Drive
                    Rockford, IL 61107


                    DANIEL CONROD
                    49 CHURCH STREET
                    SYDNEY, NS B1N2R3
                    CANADA


                    DANIEL DAIX
                    23 SPRING ST.
                    SYDNEY, NS B1P3P3
                    CANADA


                    DANIEL LELACHEUR
                    84 Young St.
                    Sydney Mines, NS B7V1V5
                    CANADA
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                    DANIEL MACINNIS
                    851 May St
                    Scotchtown, NS B1H1C8
                    CANADA


                    DANIEL NAGY
                    240 WALLACE ROAD
                    GLACE BAY, NS B1A4P4
                    CANADA


                    Daniel Prutz
                    2505 Wesleyan Ave. Apt. 36
                    Rockford, IL 61108


                    Daniel Siberon
                    9425 Wright Ave
                    Machesney Park, IL 61115


                    DANIEL STEELE
                    200 MEADOWS RD.
                    SYDNEY FORKS, NS B1L1A8
                    CANADA


                    Daniel Trefftzs
                    3010 7th St
                    Rockford, IL 61109


                    DANIELLA FERNANDEZ
                    230 BLACKETT ST.
                    GLACE BAY, NS B1A6B3
                    CANADA


                    Danielle Coleman
                    837 Cunningham #2
                    Rockford, IL 61102


                    DANIELLE MACDONALD
                    47 CAMERON STATES APT#2
                    SYDNEY, NS B1P6Y9
                    CANADA


                    Danielle McMorris
                    2912 La Salle Ave, #3
                    Rockford, IL 61114
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                    DANIELLE MOMBOURQUETTE
                    115 BROOKDALE ST.
                    SYDNEY, NS B1N3A7
                    CANADA


                    Danielle Morris
                    7250 Montmorency Dr.
                    Rockford, IL 61108


                    Danielle Wilson
                    2123 Jonathan Ave
                    Rockford, IL 61103


                    DANNY CURRIE
                    4 CRESCENT DR.
                    GLACE BAY, NS B1A2J4
                    CANADA


                    Daquazia Brewer
                    501 Foster Avenue
                    Rockford, IL 61102


                    Darah Jean Baptiste
                    2219 Magnolia Street
                    Rockford, IL 61104


                    Darion Baker
                    5019 Sandstone Drive
                    Loves Park, IL 61111


                    Darius Jackson
                    4120 Auburn Street, Apt 101
                    Rockford, IL 61101


                    Darius Thompson
                    2615 25th Street
                    Rockford, IL 61108


                    DARLENE BLACKBURN
                    87 PARK ST.
                    GLACE BAY, NS B1A3J1
                    CANADA
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                    DARLENE MACDONALD
                    130 DEERFIELD DR.
                    SYDNEY, NS B1R2L3
                    CANADA


                    Darlene Wright
                    907 15th Street
                    Rockford, IL 61104


                    Darnell Veasley
                    1407 Elm St
                    Rockford, IL 61104


                    Darrell Benson
                    929 N Main Street Apt 206
                    Rockford, IL 61104


                    DARRELL MACINNIS
                    39 SCHOOL ST.
                    GLACE BAY, NS B1A1H9
                    CANADA


                    DARREN MACLELLAN
                    32 EDGEWOOD DRIVE
                    SYDNEY, NS B1P2C1
                    CANADA


                    Darren Spearman
                    206 Bayliss Avenue
                    Rockford, IL 61101


                    Dasia Rogers
                    232 Miriam Ave
                    Rockford, IL 61101


                    DAVID AUCOIN
                    3345 WOOD AVE.
                    NEW WATERFORD, NS B1H1V1
                    CANADA


                    DAVID BOUDREAU
                    268 ALEXANDER STREET
                    NEW WATERFORD, NS B1H2W9
                    CANADA
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                    David Corl
                    1319 Deanna Drive
                    Rockford, IL 61103


                    DAVID MACAULAY
                    435 MAHON ST.
                    NEW WATERFORD, NS B1H3J3
                    CANADA


                    DAVID MACKINNON
                    648 GEORGE ST.
                    SYDNEY, NS B1P1K9
                    CANADA


                    DAVID MACLEOD
                    38 MACGUIRE DR.
                    SYDNEY, NS B1P3E3
                    CANADA


                    David Potter
                    5145 E State St Apt A101
                    Rockford, IL 61108


                    DAVID SSEGUYA-LAWANGA
                    25 ROUNDWOOD COURT
                    SYDNEY, NS B1L1H5
                    CANADA


                    Daviona Mason-Mayton
                    716 Seminary Street
                    Rockford, IL 61104


                    Davonte Mccraley
                    516 Score St
                    Rockford, IL 61109


                    DAWN DENNIS
                    135 SPENCERS LANE
                    ESKASONI, NS B1W1C5
                    CANADA


                    DAWN MACNEIL
                    93 ARMADA DR.
                    VICTORIA MINES, NS B1N3J4
                    CANADA
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                    DAWSON MARTIN
                    7 BABCOCK DR.
                    WESTMOUNT, NS B1R1N2
                    CANADA


                    Dayasia Walker
                    5917 Midvale Drive
                    Rockford, IL 61101


                    De'Ana Brown
                    5169 East State Street
                    Rockford, IL 61108


                    De'lijah Alexander
                    2616 Ridge Ave
                    Rockford, IL 61103


                    Deanna Goizueta
                    20 Miles Street
                    Milford, CT 06460


                    DEANNA JOE
                    42 BRADLEY STREET
                    SYDNEY, NS B1S3M4
                    CANADA


                    Deantae Woodard
                    2335 Broadway Apt 6
                    Rockford, IL 61104


                    DeAsia Daraphet Leach
                    418 Gregory St
                    Rockford, IL 61104


                    Deasjmonay Dixon
                    514 Illinois Ave
                    Rockford, IL 61102


                    DEBBIE GILLIS
                    35 MAIN STREET
                    SYDNEY, NS B1P6Z8
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 75 of 246




                    DEBBIE MACDONALD
                    80 HILLSIDE ST.
                    SYDNEY, NS B1P3N9
                    CANADA


                    DEBBIE MATHESON
                    37 COLBY ST.
                    SYDNEY, NS B1P3P9
                    CANADA


                    DEBBIE NICHOLSON
                    32 KENDALL ST. APT 1
                    SYDNEY, NS B1P1S8
                    CANADA


                    Debora Mcmullin
                    104 Oriole Circle
                    Rockford, IL 61107


                    DEBORAH PIKE
                    96 MUGGAH STREET
                    SYDNEY, NS B1N2Z2
                    CANADA


                    Deborah Williams
                    2212 25th Street
                    Rockford, IL 61108


                    DEBORIA DEE
                    123 ROCKDALE AVE., APT 5
                    SYDNEY, NS B1P1Z3
                    CANADA


                    Debra Aumock-Brown
                    2061 N. State Street
                    Belvidere, IL 61008


                    Debra Brown
                    2008 17th Ave
                    Rockford, IL 61104


                    Debra Garrick
                    150 Sentinel Hill Rd
                    Derby, CT 06418
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                    Debra Pajor
                    199 West Avenue
                    Milford, CT 06461


                    DEBRA WOODBURN
                    95 EAST ST
                    SYDNEY, NS B1N1S8
                    CANADA


                    Deeann Davison
                    6661 Forest Preserve Road
                    Rockton, IL 61072


                    Dejarvis Davis
                    999 N. Main St
                    Rockford, IL 61103


                    Dell Business Credit
                    Attn: Pres, GP or Mng Member
                    Payment Processing Center
                    PO 5275
                    CAROL STREAM, IL 60197-5275


                    Demajae Brown
                    275 Bienterra Trail, Apt 2
                    Rockford, IL 61107


                    Demarcus Belcher
                    3218 9th Street
                    Rockford, IL 61109


                    Demekia Dockery
                    6420 Guilford Rd.
                    Rockford, IL 61107


                    Demetrica Polk
                    3436 Harrison Ave. Apt 10
                    Rockford, IL 61108


                    Demont Wickson
                    1510 Custer
                    Rockford, IL 61103
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                    Demyron Hancock
                    707 Lexington Ave.
                    Rockford, IL 61102


                    Deneetra Worley
                    1529 Victoria Ave
                    Rockford, IL 61102


                    Denierah Sumerall
                    212 South 6th Street
                    Rockford, IL 61104


                    DENIKA LEWIS
                    107 PARK ST.
                    SYDNEY, NS B1P4W6
                    CANADA


                    DENISE MACNEIL
                    124 FALMOUTH ST., APT. #4
                    SYDNEY, NS B1P5H2
                    CANADA


                    Denise Mann
                    412 Miriam Avenue
                    Rockford, IL 61101


                    DENISE MASON
                    3521 ROSS AVE.
                    NEW WATERFORD, NS B1H1M9
                    CANADA


                    DENISE MCEWEN
                    18 CAMERON ESTATES
                    SYDNEY, NS B1P6Y4
                    CANADA


                    Denise Walton
                    1522 14th St. Apt. 1
                    Rockford, IL 61104


                    Denita Wilson
                    1231 Clover Avenue, Unit 1
                    Rockford, IL 61101
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                    DENNIS YOUNG
                    145 PEPPETT ST.
                    SYDNEY, NS B2A2P5
                    CANADA


                    Deonte George
                    967 Acorn Street
                    Rockford, IL 61101


                    Deonte Prentiss
                    1444 Andrew Street, Apt 1
                    Rockford, IL 61101


                    Derek Bates
                    717 Grand Ave.
                    Loves Park, IL 61111


                    DEREK HOWELL
                    238 PARK STREET
                    SYDNEY, NS B1P4W9
                    CANADA


                    Derek Lee
                    12028 Bend River Road
                    Roscoe, IL 61073


                    Deshawn Johnson
                    6459 Edgewood Rd
                    Machesney Park, IL 61115


                    Deshawn Scott
                    1317 11th Avenue
                    Rockford, IL 61104


                    DeShawn Simmons
                    3215 Arline Ave.
                    Rockford, IL 61101


                    Desiree Barker
                    2016 Dewey Ave
                    Beloit, WI 53511
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                    Desiree Latin
                    2001 S 5th St #2
                    Rockford, IL 61104


                    Desranique Trammell
                    2725 19th Street
                    Rockford, IL 61109


                    Destiny Jordan
                    1107 Bluefied Street
                    Rockford, IL 61101


                    Destiny McCune
                    501 South Johnston Avenue
                    Rockford, IL 61102


                    Destiny Orr
                    2229 Canary Drive Apt 2
                    Rockford, IL 61103


                    Devante Murphy
                    3122 Huffman Blvd
                    Rockford, IL 61108


                    DEVIN MACDOUGALL
                    360 12th STREET
                    NEW WATERFORD, NS B1H4A3
                    CANADA


                    DEVIN ONGO
                    22 MILTON ST.
                    SYDNEY, NS B1P4L7
                    CANADA


                    Devonta Millbrooks
                    1401 7th Ave #1
                    Rockford, IL 61104


                    DeVonte Pierce
                    5609 Linden Rd Apt 4112
                    Rockford, IL 61104
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                    Dezarae Gustafson
                    1911 Jonathan Ave
                    Rockford, IL 61103


                    Dezirae Gregory
                    911 S 3rd Apt 1
                    Rockford, IL 61104


                    Diajenique Floyd
                    1333 Elm Street Apt 1
                    Rockford, IL 61102


                    Diamond Brown
                    5443 Falmouth Dr.
                    Rockford, IL 61109


                    Diamond Hunter
                    1716 Genoa St
                    Rockford, IL 61102


                    Diamond Lyons
                    615 Ranger Street
                    Rockford, IL 61109


                    DIANA BREWSTER
                    12 WEST ST.
                    SYDNEY, NS B1R1R7
                    CANADA


                    Diana Jurado
                    1726 Wisconsin Ave.
                    Beloit, WI 53511


                    DIANA KEOUGH
                    165 FRENCH STREET
                    SYDNEY, NS B1N1Y8
                    CANADA


                    Diana Ramirez
                    4815 Newburg Road
                    Rockford, IL 61108
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 81 of 246




                    Diana Villafranca
                    2923 Edelweiss Road
                    Rockford, IL 61109


                    Diane Austin
                    4550 Galleon Dr
                    Loves Park, IL 61111


                    Diane Gregory
                    3432 Harrison Ave. # 9
                    Rockford, IL 61108


                    Diaujona Willis
                    2912 LA Salle Ave
                    Loves Park, IL 61104


                    DILLON CHAFFEY
                    3063 POINT EDWARD HWY.
                    POINT EDWARD, NS B2A4P3
                    CANADA


                    Dina LaSalle
                    1235 Benton St.
                    Rockford, IL 61107


                    Dinesha Sharp
                    269 Flintridge Drive
                    Rockford, IL 61107


                    Diondria Doss
                    1508 Spring Court
                    Rockford, IL 61104


                    Divonsheay Ruben
                    705 Vista Terrace
                    Rockford, IL 61102


                    Dominique Kennedy
                    512 Lexington Ave
                    Rockford, IL 61102
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                    Dominique Patterson
                    3126 Carolina Ave
                    Rockford, IL 61108


                    Dominique Richardson
                    2202 Hancock St. Apt 4
                    Rockford, IL 61103


                    Dominique Whitfield
                    1808 Arbor Drive
                    Beloit, WI 53511


                    Donald Dillavou
                    1768 South Winnebago Road
                    Winnebago, IL 61088


                    Donald Milton
                    1816 Ashland Avenue
                    Rockford, IL 61101


                    DONELDA MACNEIL
                    2 FAIRHAVEN DR.
                    SYDNEY, NS B1R1N5
                    CANADA


                    Donmonique Fitts
                    1001 S 3rd St
                    Rockford, IL 61104


                    DONNA GRACIE
                    26 SUNRISE DR.
                    GEORGES RIVER, NS B1Y3B8
                    CANADA


                    Donna Handy
                    4333 Lori Drive
                    Rockford, IL 61114


                    DONNA JOSEY
                    37 ST. ALBANS AVE.
                    SYDNEY, NS B1N2T8
                    CANADA
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                    DONNA MACDONALD
                    687 KELTIC DRIVE
                    SYDNEY, NS B1L1B6
                    CANADA


                    DONNA MADORE
                    207 WALLACE RD.
                    GLACE BAY, NS B1A4N8
                    CANADA


                    Donneick Coble
                    3201 Gilbert Avenue Apt 203
                    Rockford, IL 61102


                    DONNIE BONNAR
                    114 KIMBERLY DRIVE
                    SYDNEY, NS B1S1S1
                    CANADA


                    Dontavion Oneal
                    1503 Green Street
                    Rockford, IL 61102


                    Dontavius Robinson
                    518 hartford Ave
                    Rockford, IL 61102


                    Dontay Thompson
                    4632 Trevor Cir Apt 8
                    Rockford, IL 61109


                    DORIS WISEMAN
                    711 NEVILLE ST. APT. #2
                    RESERVE MINES, NS B1E1G7
                    CANADA


                    DOROTHY MACKENZIE
                    107 KITCHENER STREET
                    SYDNEY, NS B1N1Y1
                    CANADA


                    DOROTHY MACKINNON
                    497 GIBBON ST.
                    NEW WATERFORD, NS B1H4V9
                    CANADA
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                    DOUG FARRELL
                    297 ROTARY DR., APT. #303
                    SYDNEY, NS B1P6L5
                    CANADA


                    DOUGLAS BENNETT
                    28 PATNIC AVE.
                    SYDNEY, NS B1P3G5
                    CANADA


                    DOUGLAS MACLEAN
                    46 ALEXANDRA ST.
                    SYDNEY, NS B1P2E1
                    CANADA


                    DOUGLAS RAMSAY
                    104 RICHMOND ST. APT. 4
                    SYDNEY, NS B1P2V2
                    CANADA


                    Dratwon Eubanks
                    221 Soper Avenue
                    Rockford, IL 61101


                    Drewanna Mccarty
                    5321 Hawkeye Trail
                    Machesney Park, IL 61115


                    DriveSavers, Inc
                    Attn: Pres, GP or Mng Member
                    400 Bel Marin Keys Blvd
                    Novato, CA 94949


                    DUKE DEARING
                    106 PITT ST.
                    GLACE BAY, NS B1A5Y8
                    CANADA


                    Dulce Zammarron
                    1620 Horsman Street
                    Rockford, IL 61101


                    Dwashnique Thompson
                    2725 19th Street
                    Rockford, IL 61109
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                    Dylan Callahan
                    6429 Weaver Road
                    Rockford, IL 61114


                    DYLAN FORD
                    84 OCEAN AVE.
                    DOMINION, NS B1G1R3
                    CANADA


                    DYLAN FULLARD
                    114 B MACAULAYS LANE
                    SYDNEY, NS B1P4A1
                    CANADA


                    DYLAN PACE
                    31 WOODILL ST.
                    SYDNEY, NS B1P4N8
                    CANADA


                    Dyshon Doss
                    4224 Auburn Street Apt 203
                    Rockford, IL 61101


                    EARL WOODBURN
                    196 MUGGAH ST.
                    SYDNEY, NS B1N2E6
                    CANADA


                    EASTLINK
                    Attn: Pres, GP or Mng Member
                    PO BOX 8600
                    HALIFAX, NS B3K 5M2
                    Canada


                    EASTLINK
                    Attn: Pres, GP or Mng Member
                    P O BOX 8600
                    HALIFAX, NS B3K 5M2
                    Canada


                    Eastlink
                    Attn: Ann Whiting
                    PO Box 8600
                    Halifax, NS B3K 5M2
                    Canada
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                    Ebony Lewers
                    2930 Sandy Hollow Road Apt 6
                    Rockford, IL 61109


                    Eddie Brown
                    1717 Montague St
                    Rockford, IL 61102


                    Edith Gonzalez
                    2404 Colorado Ave.
                    Rockford, IL 61108


                    Edward Dawson
                    345 Underwood Street
                    Rockford, IL 61101


                    Edward Jiminez
                    2001 Jamestown Dr
                    Rockford, IL 61109


                    EDWARD SPARROW
                    60 UNION ST.
                    DOMINION, NS B1G1W7
                    CANADA


                    Eleanor Shah
                    6007 Basin Drive
                    Loves Park, IL 61111


                    Elena Sanchez
                    6755 Hartwig Dr
                    Cherry Valley, IL 61016


                    Elijah Brown
                    2708 Huffman Boulevard
                    Rockford, IL 61103


                    Elisa Walker
                    917 N. Day Ave
                    Rockford, IL 61101
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                    Elizabeth Burton
                    7885 West State Street
                    Rockford, IL 61102


                    Elizabeth Jeffery
                    234 Northway Park Road,
                    Machesney Park, IL 61115


                    ELIZABETH MACLEAN
                    135 ROTARY DRIVE
                    SYDNEY, NS B1P6L4
                    CANADA


                    ELIZABETH MARTIN
                    57 BROOK SIDE ST. APT. #3
                    GLACE BAY, NS B1A1K5
                    CANADA


                    Elliott Cossey
                    302 Willard Avenue
                    Rockford, IL 61101


                    ELYSE BIEBESHEIMER
                    4-256 LINGAN RD.
                    SYDNEY, NS B1N1W1
                    CANADA


                    EMG TRANSFER PRICING EXPERTS
                    Attn: Pres, GP or Mng Member
                    140 Younge St, Ste. 200
                    TORONTO, ON M5C 1X6
                    Canada


                    Emily Berry
                    401 South 7th Street
                    Oregon, IL 61061


                    Emily Carlson
                    5023 Orchard Avenue
                    Rockford, IL 61108


                    Emily Maertens
                    1120 North Independence Ave
                    Rockford, IL 61101
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                    EMILY STEELE
                    4755 GABARUS HWY. BIG RIDGE
                    SYDNEY, NS B1K1Y3
                    CANADA


                    Emily Swanson
                    1832 Hulin Street
                    Rockford, IL 61102


                    Emmanuel Wari
                    3205 Orleans Avenue
                    Rockford, IL 61114


                    EMPIRE INTERNATIONAL, LTD
                    Attn: Pres, GP or Mng Member
                    P O BOX 8000 DEPT 937
                    BUFFALO, NY 14267-0002


                    Enrique Garcia
                    2818 Concordia Drive
                    Rockford, IL 61109


                    Enterprise Cape Breton Corp
                    Attn: Mr. Archie Gallagher
                    P.O. Box 1750
                    Sydney, Nova Scotia B1P 6T7
                    Canada


                    Eriana Ebbings
                    545 Sandra Lane Unit 2
                    Rockford, IL 61107


                    Eric Gulley
                    1508 Chestnut St
                    Rockford, IL 61102


                    ERIC HEWER
                    218 HENRY ST.
                    SYDNEY, NS B1N2H6
                    CANADA


                    Eric Larsen
                    6424 Sunny Meadow Drive
                    Machesney Park, IL 61115
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                    Eric Thiele
                    108 Bristlewood Court
                    Rockton, IL 61072


                    Erica Allen
                    4330 Nina Terrace
                    Rockford, IL 61101


                    ERICA CLARKE
                    16 JOHNSTONE CRESCENT
                    SYDNEY MINES, NS B1V2E3
                    CANADA


                    Erica Ingram
                    911 S 3rd Street
                    Rockford, IL 61104


                    ERICA-KIM MURPHY
                    57 ARCHIBALD AVE
                    NORTH SYDNEY, NS B2A2W7
                    CANADA


                    Erick Macias
                    420 Heath St.
                    Rockford, IL 61102


                    Erick McCraney
                    2208 8th Street Apt D6
                    Rockford, IL 61104


                    ERIK SZETO
                    461 TERRACE ST.
                    SYDNEY, NS B1P2M8
                    CANADA


                    Erik Zalud
                    403 Redman Way SW
                    Poplar Grove, IL 61065


                    Erika Polk
                    345 1/2 Locust
                    Beloit, WI 53511
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                    Erin Broehl
                    11032 Darby Lane
                    Machesney Park, IL 61115


                    ERIN CIPAK
                    279 LINGAN ROAD
                    SYDNEY, NS B1N1W2
                    CANADA


                    ERIN CLARKE
                    71 WEST STREET
                    SYDNEY, NS B1N1S2
                    CANADA


                    Erin Hamilton
                    2554 Lundgren Road
                    Rockford, IL 61108


                    ERIN MACEACHERN
                    82 MELISSA CRES.
                    SYDNEY, NS B1P6X2
                    CANADA


                    EScreen
                    Attn: Pres, GP or Mng Member
                    P O BOX 654094
                    DALLAS, TX 75265-4094


                    Essence Carter
                    702 Albert Avenue
                    Rockford, IL 61101


                    Essence Edwards
                    609 N Avon St
                    Rockford, IL 61101


                    Essence Kimble
                    3600 W 120th St, #1020
                    Alsip, IL 60803


                    Esther Jones
                    3367 Sun Valley Terrace, Apt 1
                    Rockford, IL 61103
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                    Ethan Zielonka
                    1706 Auburn Street
                    Rockford, IL 61103


                    Ethel Sagbigsal
                    327 Cameron Ave Apt 2B
                    Rockford, IL 91102


                    Etta Hamm
                    3023 Summerdale Avenue
                    Rockford, IL 61101


                    EUNICE ATCHORI
                    136 UNIVERSITY BLVD
                    SYDNEY, NS B1M1A2
                    CANADA


                    Eunice Edwards
                    207 North Longwood Street
                    Rockford, IL 61107


                    Euryice Mackey
                    1221 16th Ave.
                    Rockford, IL 61104


                    EVAN GRACIE
                    158 ALDERPOINT RD
                    BRAS D'OR, NS B1Y2K6
                    CANADA


                    Evan Myers
                    3706 Basswood Court
                    Rockford, IL 61114


                    Evander Jackson
                    364 Gramercy Dr Apt 3
                    Rockford, IL 61107


                    EVELYN LEADBEATER
                    433 ST. ANN ST.
                    NEW WATERFORD, NS B1H3L9
                    CANADA
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                    Everlasting Capital Corp.
                    Attn: Pres, GP or Mng Member
                    27B Sterling Drive
                    Rochester, NH 03867


                    Faith Johnson
                    336 Bancroft Ct. Apt # 1
                    Rockford, IL 61107


                    Fallon Ross
                    1948 Fir Drive Apt 39
                    Beloit, WI 53511


                    Federal Express
                    Attn: Pres, GP or Mng Member
                    PO Box 371461
                    Pittsburg, PA 15250-7461


                    FELICIA BAUMAN
                    25 HAY ST.
                    GLACE BAY, NS B1A5L5
                    CANADA


                    Felicia Murray
                    5430 North Main Street
                    Rockford, IL 61103


                    Felicia O'Brien
                    227 Belteberg Road
                    Loves Park, IL 61111


                    FERGUSON
                    Attn: Pres, GP or Mng Member
                    PO BOX 802817
                    CHICAGO, IL 60680-2817


                    FLORA MACDONALD
                    504 ATLANTIC ST.
                    SYDNEY, NS B1P3S3
                    CANADA


                    Forrest Dalen
                    267 Wilson Ave
                    Machesney Park, IL 61115
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                    Frances Farmer
                    1928 W. Pearl Ave.
                    Rockford, IL 61103


                    FRANCES HOLLOHAN
                    5 BROOKS STREET
                    SYDNEY, NS B1N2R1
                    CANADA


                    FRANCES MACRAE
                    2409 HILLSIDE ROAD
                    MARION BRIDGE, NS B1K1C5
                    CANADA


                    Francine Kaitchuck
                    414 E. Main Street
                    Genoa, IL 60135


                    FRANCIS MCPHEE
                    3595 WILSON AVE.
                    NEW WATERFORD, NS B1H1X5
                    CANADA


                    FRANCIS SHAW
                    5 KENNEDY DR.
                    BADDECK, NS B0E1B0
                    CANADA


                    FREDERICK FLEMINGS
                    116 CABOT ST.
                    SYDNEY, NS B1P4C8
                    CANADA


                    Frederick Whittington
                    1206 Cypress Terrace Ave.
                    Rockford, IL 61102


                    Fredrick Perrin
                    12109 Settlers Knoll Trail
                    Frisco, TX 75035


                    FRONTIER
                    Attn: Pres, GP or Mng Member
                    PO BOX 740407
                    CINCINNATI, OH 45274-0407
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                    FRONTIER COMMUNICATIONS
                    Attn: Pres, GP or Mng Member
                    P O BOX 20550
                    ROCHESTER, NY 14602-0550 USA


                    GABRIEL DOUCETTE
                    36 PLEASANT ST.
                    SYDNEY, NS B1P6E7
                    CANADA


                    Gabriel Ramos
                    1242 N Main Street
                    Rockford, IL 61103


                    GABRIEL WEATHERBEE
                    45 PEPPET ST.
                    NORTH SYDNEY, NS B2A3N2
                    CANADA


                    Gabriella Perchelli
                    214 Acorn Dr
                    Popular Grove, IL 61065


                    Gabrielle Clark
                    832 N 1st Street
                    Rockford, IL 61107


                    Gabrielle Egan
                    302 Cole Avenue
                    Rockford, IL 61102


                    Gabrielle Jackson
                    514 New Towne Drive
                    Rockford, IL 61108


                    Gabrielle Renfroe
                    822 Haskell Avenue
                    Rockford, IL 61103


                    GAIL FRICKER
                    235 LINGAN RD.
                    SYDNEY, NS B1N1V9
                    CANADA
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                    Gale Garrett
                    2750 Lund Ave #6
                    Rockford, IL 61109


                    GALE KELLY
                    233 PARK ST.
                    SYDNEY, NS B1P4X1
                    CANADA


                    Garry Kohley
                    1532 Broadway Apt 3
                    Rockford, IL 61104


                    GARY BACICH
                    9-105 SPRUCE HAVEN DR.
                    SYDNEY, NS B1S1V3
                    CANADA


                    GARY WOODBURN
                    196 MUGGAH STREET
                    SYDNEY, NS B1N2E6
                    CANADA


                    Gavin Hartley
                    1913 Kilburn Ave
                    Rockford, IL 61101


                    Gene Payton Bradford
                    621 Montague Street
                    Rockford, IL 61101


                    Genelle Smith
                    2311 Auburn St. Apt 1
                    Rockford, IL 61103


                    Geneva McCune
                    2115 Ashland
                    Rockford, IL 61101


                    GEOFFREY COMER
                    294 NEVILLE ST.
                    DOMINION, NS B1G1P8
                    CANADA
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                    GEOFFREY DAVID
                    136 UNIVERSITY BLVD.
                    SYDNEY, NS B1M1A2
                    CANADA


                    Geoffrey Paneiro
                    610 Mulberry Street
                    Rockford, IL 61103


                    GEORGE DYER
                    87-B HIGH STREET
                    SYDNEY, NS B1P6Y1
                    CANADA


                    George King
                    1007 Independence Avenue
                    Rockford, IL 61101


                    GEORGE MACDONALD
                    24 ROSEWWOOD DR
                    GLACE BAY, NS B1A2Y3
                    CANADA


                    GEORGE RAMSEY
                    70 TOWERVIEW PLACE APT 1006
                    SYDNEY, NS B1S3B9
                    CANADA


                    GEORGENA STEWART
                    726 MAIN ST.
                    GLACE BAY, NS B1A4Y5
                    CANADA


                    Georgia Smith
                    1625 Herbert Avenue
                    Rockford, IL 61104


                    Gerald Evans
                    1605 Benton Street
                    Rockford, IL 61107


                    Gia Rojas-Kirmse
                    112 New Brunswich Lane SW
                    Poplar Grove, IL 61101
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                    Giovanni LaBoy
                    1726 10th St Apt 2S
                    Rockford, IL 61104


                    Giselle Sosa
                    316 Mclain Ave
                    Rockford, IL 61102


                    GLENN ALLEYNE
                    12 WEST ST.
                    SYDNEY, NS B1N1R7
                    CANADA


                    GLENN TUBRETT
                    221 CUSACK DR.
                    SYDNEY, NS B1P3W8
                    CANADA


                    GLORIA COOK
                    27 SPRING ST
                    SYDNEY, NS B1P3P3
                    CANADA


                    Gloria Mubirigi
                    3407 Parkside Avenue
                    Rockford, IL 61101


                    GLORIA PUTT
                    107 OAKVILLE DRIVE
                    SYDNEY, NS B1N3A3
                    CANADA


                    GORDON & REES LLP
                    Attn: Pres, GP or Mng Member
                    111 BROADWAY SUITE 1700
                    OAKLAND, CA 94607


                    GORDON FARMER
                    399 PHALEN ROAD
                    GLACE BAY, NS B1A1B6
                    CANADA


                    GRACE MACQUEEN
                    98 GROVE ST.
                    SYDNEY, NS B1P3N1
                    CANADA
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                    GRAHAM MURPHY
                    57 ARCHIBALD AVENUE
                    SYDNEY, NS B2A2W7
                    CANADA


                    Greenleaves Interior Landscap
                    Attn: Pres, GP or Mng Member
                    PO Box 316
                    Derby, CT 06418


                    GREG MACNEIL
                    343 ATLANTIC ST
                    SYDNEY, NS B1P3R6
                    CANADA


                    GREGORY MACINNIS
                    40 CENTRAL ST.
                    SYDNEY, NS B1P2A8
                    CANADA


                    Groupecho Canada Inc
                    Attn: Pres, GP or Mng Member
                    405 Sackville Dr., Ste 204
                    LOWER SACKFILLE, NS B4C 2R9
                    Canada


                    GrowthFunding Equipment Finance
                    Attn: Pres, GP or Mng Member
                    2691 West 12600 South
                    Riverton, UT 84065


                    Guardian Alarm & Security
                    Attn: Pres, GP or Mng Member
                    Box 1630, 484 Grand Lake Rd.
                    Sydney, NS B1P 5S8
                    Canada


                    Guido Cardenas
                    4742 Charing Drive #4
                    Rockford, IL 61114


                    GURPREET SINGH
                    104 D MACAULAY'S LANE
                    SYDNEY, NS B1P4A6
                    CANADA
Case 18-31722   Doc 1   Filed 10/19/18   Entered 10/19/18 12:05:25   Page 99 of 246




                    Gwendolyn Rodriguez
                    1703 Hulin Street
                    Rockford, IL 61102


                    HALL SPENCER
                    318 TOWNSEND ST.
                    SYDNEY, NS B1P5G2
                    CANADA


                    HANNAH CRAWLEY
                    11 ASH STREET
                    SYDNEY, NS B1P3C1
                    CANADA


                    HANNAH FERGUSON
                    238 CRESTDALE DR.
                    SYDENEY FORKS, NS B1L1A2
                    CANADA


                    Hannah Johnson
                    9425 Wright Ave
                    Machesney Park, IL 61115


                    Hannah Johnson
                    2220 Auburn St. Apt 2N
                    Rockford, IL 61103


                    Hannah Kunkel
                    2610 Schaller Street
                    Janesville, WI 53546


                    HANNAH MACISAAC
                    18 MACKENZIE ST.
                    NEW WATERFORD, NS B1H4T8
                    CANADA


                    HAYLEY MACLEOD
                    38 MACGUIRE DR.
                    SYDNEY, NS B1P3E3
                    CANADA


                    HAZEL OSMOND
                    66 HILLSIDE ST.
                    SYDNEY, NS B1P3N9
                    CANADA
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                        HEADSET PARTS UNLIMITED
                        Attn: Pres, GP or Mng Member
                        1551 Philadelphia Ave
                        Egg Harbor City, NJ 08215


                        HEADSETTERS
                        Attn: Pres, GP or Mng Member
                        7758 Cass Street
                        Omaha, NE 68114-3609


                        HEATHER ALFRED
                        181 BRAEMAR DR.
                        SYDNEY, NS B1R1W1
                        CANADA


                        Heather Dunson
                        1609 8th Street
                        Rockford, IL 61104


                        HEATHER GILLIS
                        133 ARGYLE ST. APT. #1
                        SYDNEY, NS B1S2V4
                        CANADA


                        HEATHER MACGILLVARY
                        768 FORSYTH ST.
                        NEW WATERFORD, NS B1H2Y5
                        CANADA


                        HEATHER MACINTYRE
                        1-46 DOLBIN ST.
                        SYDNEY, NS B1P1S5
                        CANADA


                        HEATHER MACLEOD
                        83 MURPHY ROAD
                        SYDNEY, NS B1R2H6
                        CANADA


                        Heather Meton
                        1111 Minns Drive Apt 6
                        Machesney Park, IL 61115


                        Heather Smith
                        2 N. Mckendrie Ave
                        Mt. Morris, IL 61054
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 101 of 246




                        Heather Springer
                        3018 Broadway
                        Rockford, IL 61108


                        Hee Joo Kwon
                        81 Skyview Drive
                        Trumbull, CT 06611


                        Heidi Freund
                        2229 Canary Dr. Apt 5
                        Rockford, IL 61103


                        HELEN LEBLANC
                        54 EAST STREET
                        SYDNEY, NS B1N1S6
                        CANADA


                        HELEN MOMBOURQUETTE
                        955 GEORGE ST. APT. # 10
                        SYDNEY, NS B1P6R6
                        CANADA


                        HELEN TOTTEN
                        3379 PLUMMER AVE.
                        NEW WATERFORD, NS B1H1Z1
                        CANADA


                        Henry Moore
                        5615 Forest View Ave.
                        Rockford, IL 61108


                        Herschel Gunn
                        209 Alder Avenue
                        Rockford, IL 61102


                        Hershel Thrower
                        1925 W. Riverside Blvd #101
                        Rockford, IL 61103


                        Hewlett-Packard FSC
                        Attn: Pres, GP or Mng Member
                        P.O. BOX 402582
                        Atlanta, GA 30384-2582
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 102 of 246




                        Hollie Wallace
                        5484 Pebble Lane
                        Loves Park, IL 61111


                        HOLLY HOTCHKISS
                        114 B MACAULAYS LANE
                        SYDNEY, NS B1P4A1
                        CANADA


                        HOLLY LANGER-SINCLAIR
                        32 DALTON LANE
                        SYDNEY, NS B1N2Z7
                        CANADA


                        HOLLY SEVERANCE
                        36 CAMERON ESTATES APT. 11
                        SYDNEY, NS B1P6Y4
                        CANADA


                        HOPE WARD
                        48 ROSEWOOD DR.
                        SYDNEY, NS B1P3A6
                        CANADA


                        Hoseatta Williams
                        4818 Javelin Drive
                        Rockford, IL 61108


                        Hugo Serrano
                        1621 South 5th St.
                        Rockford, IL 61104


                        HUNTER PYKE
                        80 TAYLOR ST.
                        SYDNEY, NS B1N2W4
                        CANADA


                        IAN CARABIN
                        84 OCEAN VIEW
                        DOMINION, NS B1G1R6
                        CANADA


                        IDA CHARLENE DEMEYERE
                        87 HENRY ST.
                        DOMINION, NS B1G1G6
                        CANADA
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                        Iesedrick Williams
                        320 S Prospect St
                        Rockford, IL 61104


                        Iesha Williams
                        1010 S. 6th Street, Apt #2
                        Rockford, IL 61104


                        Imari Taylor
                        340 Oakwood Avenue
                        Rockford, IL 61101


                        Irene Rosene
                        1313 Hope Ct
                        Machesney Park, IL 61115


                        Iris Hawkins
                        212 South 6th Street
                        Rockford, IL 61104


                        Iroctanya Gulley
                        1311 Chestnut Street
                        Rockford, IL 61102


                        Iron Mountain
                        Attn: Pres, GP or Mng Member
                        PO BOX 27128
                        New York, NY 10087-7128


                        Iron Mountain Off Site
                        Attn: Pres, GP or Mng Member
                        PO BOX 27129
                        New York, NY 10087-7129


                        Iron Mountain Off Site
                        Attn: Pres, GP or Mng Member
                        PO BOX 27129
                        New York, NY 10087-7129


                        Isaac Jackson
                        4872 Creekview Road Apt 3
                        Rockford, IL 61108
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                        Isabel Pichardo
                        1512 14th St
                        Rockford, IL 61104


                        ITC TELECOM TECHNOLOGY, LLC
                        Attn: Pres, GP or Mng Member
                        3700 S. COLLEGE AVENUE
                        UNIT 102
                        FORT COLLINS, CO 80525


                        Ivette Padilla
                        3512 Crosby Street
                        Rockford, IL 61107


                        Ja'mese Davis
                        1915 Montague St
                        Rockford, IL 61102


                        Ja'Teyrrica Scott
                        218 Lexington Avenue
                        Rockford, IL 61102


                        Ja'won Turner
                        1511 Yonge Street
                        Rockford, IL 61103


                        Jack Rice
                        1918 Blackhawk Boulevard
                        South Beloit, WI 61080


                        JACKLYN CAMPBELL
                        188 MACLELLAN DR.
                        LINGAN, NS B1H5G7
                        CANADA


                        JACKSON LEWIS P.C.
                        Attn: Pres, GP or Mng Member
                        220 HEADQUARTERS PLAZA
                        EAST TOWERS 7TH FLOOR
                        Morristown, NJ 07960 United States


                        Jaclyn Jacobson
                        827 Emerald Lane
                        Machesney Park, IL 61115
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                        Jacob Cyborski
                        6161 Pennsburg Rd.
                        Cherry Valley, IL 61016


                        JACOB HEADLEY
                        479 ESPLANADE UNIT #3
                        SYDNEY, NS B1P1B3
                        CANADA


                        Jacob Von Huben
                        8201 Raverest St
                        Machesney Park, IL 61115


                        Jacquanet Goggins
                        2618 Custer Ave.
                        Rockford, IL 61101


                        Jacqueline Curry
                        607 S Henrietta Ave
                        Rockford, IL 61102


                        Jacqueline Darnick
                        749 W Madison St
                        Belvidere, IL 61008


                        Jacqueline Downing
                        1126 South Benton Street
                        Rockford, IL 61107


                        Jacqueline Gierach
                        2336 Nebraska Road
                        Rockford, IL 61108


                        Jacqueline Hobbs
                        3423 Sunnyside Ave.
                        Rockford, IL 61101


                        Jacqueline Hudson
                        618 Ingersoll Place
                        South Beloit, IL 61080
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                        JACQUELINE MACMILLAN
                        24 A HILLSIDE COURT
                        SYDNEY, NS B1P6M3
                        CANADA


                        JACQUELINE MERCER
                        269 PARK STREET
                        SYDNEY, NS B1P9X1
                        CANADA


                        Jacqueline Redd
                        2444 Holmes Street, Unit 1
                        Rockford, IL 61108


                        JACQUELINE THOMPSON
                        64 WILDWOOD DR.
                        HOWIE CENTRE, NS B1L1G6
                        CANADA


                        Jacquelyn Harden
                        4799 Treeview Terrace
                        Rockford, IL 61109


                        Jacquita Fletcher
                        1424 Green Street
                        Rockford, IL 61102


                        Jade Harris
                        1320 Victoria Avenue
                        Rockford, IL 61102


                        JADE LEGGE-GALLANT
                        16 SECOND ST
                        EAST BAY, NS B1J1B4
                        CANADA


                        Jade Luckett
                        1926 Cleora Dr. Apt 9
                        Beloit, WI 53511


                        JADE RUSSELL
                        543 ROTARY DR.
                        SYDNEY, NS B1P4S6
                        CANADA
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                        Jade Solis
                        1006 Light Street
                        Rockford, IL 61103


                        Jaden Blue
                        930 Montague Street
                        Rockford, IL 61102


                        Jahliyya Moore
                        1703 Council Crest Dr
                        Rockford, IL 61107


                        Jaime Page
                        209 Garden Drive
                        Belvidere, IL 61008


                        Jakalia Pittman
                        2204 Barton Blvd
                        Rockford, IL 61103


                        Jakeisha Moore
                        615 Miriam Avenue
                        Rockford, IL 61101


                        Jakila Pettigrew
                        1817 Montague Street
                        Rockford, IL 61102


                        JAKOB CAMERON
                        18 MACPHERSON CRES.
                        SYDNEY, NS B1P3W9
                        CANADA


                        Jakob Silberhorn
                        1235 Looe Key
                        Rockford, IL 61103


                        Jalasha Dent
                        610 Acorn
                        Rockford, IL 61102
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                        Jalen Armstrong
                        915 N. Grant Ave
                        Rockford, IL 61101


                        Jalen Robinson
                        4205 Beach Street Apt 107
                        Rockford, IL 61108


                        Jalesa Batton
                        819 Soper Avenue
                        Rockford, IL 61101


                        Jalesia Anderson
                        1816 Clifton Avenue
                        Rockford, IL 61102


                        Jalynn Chambers
                        935 North Main Street Apt 103
                        Rockford, IL 61103


                        Jamal Brown
                        1526 Broadway, Apt 2
                        Rockford, IL 61104


                        Jamecia Thompson
                        3308 Blackstone Ave
                        Rockford, IL 61101


                        Jamell Dorrough
                        618 Greenview
                        Rockford, IL 61102


                        Jamelle Page
                        3239 Conover Drive
                        Rockford, IL 61114


                        Jamera Walker
                        425 Gramercy Dr Apt 3
                        Rockford, IL 61107
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                        JAMES AKHIWU
                        136 UNIVERSITY BLVD.
                        SYDNEY, NS B1M1A2
                        CANADA


                        James Allen
                        624 Alliance Avenue
                        Rockford, IL 61101


                        JAMES BREWER
                        86 WINDEMERE DR.
                        SYDNEY, NS B1R1E6
                        CANADA


                        JAMES BUSHNIK
                        294 KELTIC DRIVE
                        SYDNEY, NS B1R1V7
                        CANADA


                        James Coleman
                        2416 Ashland Avenue
                        Rockford, IL 61101


                        James Dock
                        4133 Ashwinton Way
                        Rockford, IL 61109


                        JAMES DOUCETTE
                        41 DUKE STREET
                        GLACE BAY, NS B1A3A2
                        CANADA


                        JAMES FORREST
                        407 ATLANTIC ST.
                        SYDNEY MINES, NS B1V1X2
                        CANADA


                        JAMES GRAY
                        32 MILLVIEW DR.
                        SYDNEY, NS B1P6N7
                        CANADA


                        JAMES MACISAAC
                        260 BORDEN ST.
                        SYDNEY, NS B1N1G9
                        CANADA
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                        James Patrick
                        909 Ridge Avenue Apt 1
                        Rockford, IL 61103


                        James Smith
                        3618 Harrison Ave.
                        Rockford, IL 61108


                        JAMES SPENCER
                        250 MEADOWS ROAD
                        SYDNEY FORKS, NS B1L1A8
                        CANADA


                        James Williams
                        716 Soper Avenue
                        Rockford, IL 61101


                        Jamesha Whitlock
                        1526 Broadway, Apt 2
                        Rockford, IL 61104


                        Jamia Copeland Ross
                        2512 N. Rockton Ave, Apt 302
                        Rockford, IL 61103


                        Jamie Baker
                        8132 McCurry Road
                        Roscoe, IL 61073


                        Jamie Barber
                        3522 Greendale Drive
                        Rockford, IL 61109


                        Jamie Ducksworth
                        4411 Crawford Drive # 2
                        Rockford, IL 61114


                        JAMIE FORTUNE
                        108 HIGHLAND ST.
                        GLACE BAY, NS B1A2V1
                        CANADA
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                        Jamie Stowe
                        327 Catherine Street
                        Rockford, IL 61104


                        Jamiea Myers
                        402 N. Central
                        Rockford, IL 61101


                        Jamika Campbell-Totty
                        328 Heath Street Apt 4
                        Rockford, IL 61102


                        JANE BOWERS
                        603 KINGS RD
                        SYDNEY, NS B1S1B8
                        CANADA


                        Janeachia Rayford
                        1516 N. Court
                        Rockford, IL 61103


                        Janell Holland
                        3428 Louise Street
                        Rockford, IL 61103


                        JANET INGRAHAM
                        13 NEWTON ST.
                        GLACE BAY, NS B1A3G4
                        CANADA


                        Janet Parker
                        907 Sandra Street
                        Kingston, IL 60145


                        Janet Schorer
                        814 Woodland Drive
                        Rockford, IL 61108


                        Janie Becker
                        228 Belteberg Road
                        Loves Park, IL 61111
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                        Janina Freeman
                        632 Bohm Ave.
                        Rockford, IL 61104


                        Janna Kingsley
                        1814 Charles St Apt 1
                        Rockford, IL 61104


                        JARED MACKINNON
                        54 BERTHELOT CRES.
                        SYDNEY, NS B1L1B1
                        CANADA


                        Jarnesa Sanders
                        622 Lexington Ave.
                        Rockford, IL 61102


                        Jarnisha Brady
                        303North Henrietta Avenue
                        Rockford, IL 61101


                        Jarrell Johnson
                        2913 Sitka Lane
                        Rockford, IL 61101


                        JARRITT CAMPBELL
                        1184 LINGAN RD
                        SYDNEY, NS B1N3K8
                        CANADA


                        JARROD KYTE
                        76 CATHERINE STREET
                        SYDNEY, NS B1P2W1
                        CANADA


                        Jarus Thomas
                        2316 Green Street
                        Rockford, IL 61102


                        Jasmen Jackson
                        2328 Green Street
                        Rockford, IL 61102
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                        Jasmine Biffle
                        2711 Lund Ave. Apt 5
                        Rockford, IL 61109


                        Jasmine Davis
                        2303 Montana Avenue
                        Rockford, IL 61108


                        Jasmine Griffin
                        1435 Andrews
                        Rockford, IL 61101


                        Jasmine Hanson
                        1016 South Independence Ave
                        Rockford, IL 61102


                        Jasmine Hudson
                        2816 Custer Avenue
                        Rockford, IL 61101


                        Jasmine Oley
                        4130 Laramie Lane #9
                        Rockford, IL 61108


                        Jasmine Peterson
                        1608 Paradise Boulevard
                        Rockford, IL 61103


                        Jasmine Robinson
                        703 Sanford St
                        Rockford, IL 61102


                        jasmine Sank
                        1803 South Main St
                        Rockford, IL 61102


                        Jasmine Simmons
                        1601 S. 9th Avenue
                        Maywood, IL 60153
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                        Jasmine Snow
                        1014 North Church St. Apt 2
                        Rockford, IL 61103


                        Jasmine Townsend
                        2229 Canary drive
                        Rockford, IL 61103


                        Jasmine Turner
                        316 Regan Avenue
                        Rockford, IL 61107


                        Jasmond Mitchell
                        5019 Sandstone Drive
                        Loves Park, IL 61111


                        JASON BUTTS
                        39 ROTARY DRIVE
                        SYDNEY, NS B1P4S3
                        CANADA


                        Jason Dooley
                        1001 Minns Dr. Apt 6
                        Machesney Park, IL 61115


                        Jason Freeman
                        2809-D Halsted Road
                        Rockford, IL 61101


                        Jason Lawrence
                        2019 School Street
                        Rockford, IL 61101


                        JASON SIBLEY
                        353 TOWNSEND ST. APT. #4
                        SYDNEY, NS B1P5G1
                        CANADA


                        JaTara Solomon
                        1711 8th Street #1
                        Winthrop Harbor, IL 60096
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                        Javari Conley
                        4203 Sunbury Drive
                        Rockford, IL 61109


                        Javier Ortiz
                        1528 12th St Apt 2
                        Rockford, IL 61104


                        Jaymes Hatcher
                        425 Gramercy Drive # 5
                        Rockford, IL 61107


                        Jazhanique Davis
                        2023 Jonathan Avenue
                        Rockford, IL 61103


                        Jazmin Hernandez-Salinas
                        1128 Sanford Street
                        Rockford, IL 61102


                        Jazmyn O'Daniel
                        7605 Eastmont Ave.
                        Loves Park, IL 61111


                        Jean Muellenbach
                        310 N. Rockford Ave. Apt. 1
                        Rockford, IL 61107


                        Jeannine Triplett
                        666 S. Bluff Lot # 715
                        South Beloit, IL 61060


                        JEFF MACLEAN
                        66 GORDON AVE.
                        SYDNEY, NS B1M1A6
                        CANADA


                        JEFF MACMULLEN
                        47 TOMPKINSVILLE RD.
                        RESERVE MINES, NS B1E1K8
                        CANADA
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                        Jeffrey Brown
                        1211 Lincoln Ave.
                        Rockford, IL 61102


                        Jeffrey Jones
                        6501 Foxdale St
                        Roscoe, IL 61073


                        JEFFREY MACMILLAN
                        26 D SIDELLA DR.
                        SYDNEY, NS B1P4A5
                        CANADA


                        JEFFREY STRONG
                        84 SIXTH STREET
                        GLACE BAY, NS B1A4J6
                        CANADA


                        Jelani Warner
                        3627 North Rockton Ave Apt 208
                        Rockford, IL 61103


                        Jenea Penaflor
                        1517 Magnolia St Unit 2
                        Rockford, IL 61104


                        Jenifer Rigden
                        2207 Exeter Ave.
                        Loves Park, IL 61111


                        JENNA CLUETT
                        2519 KINGS RD.
                        SYDNEY, NS B1L1A1
                        CANADA


                        Jenna Cornelius
                        321 1/2 Center Street
                        Rockton, IL 61072


                        JENNA GUYOMARD
                        248 GATACRE ST.
                        SYDNEY, NS B1N1Z5
                        CANADA
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                        JENNA PROCTOR
                        316-50 TOWERVIEW PLACE
                        SYDNEY, NS B1S3B8
                        CANADA


                        Jennifer Betts
                        1915 W Riverside Blvd Apt 104
                        Rockford, IL 61103


                        JENNIFER BOUTILIER
                        35 BARON DR.
                        GLACE BAY, NS B1A5Y2
                        CANADA


                        Jennifer Burciaga
                        1124 North Court Sreet
                        Rockford, IL 61103


                        Jennifer Clarke
                        318 North Blackhawk Blvd Apt 2
                        Rockton, IL 61072


                        JENNIFER GUSHUE
                        100 MACLEOD STREET
                        SYDNEY, NS B1N1B6
                        CANADA


                        JENNIFER MARSHALL
                        29 Hillview Street
                        Sydney, NS B1P2H3
                        CANADA


                        Jennifer Nguyen
                        4203 Sunbury Drive
                        Rockford, IL 61109


                        JENNIFER NICHOLSON
                        50 HILLSIDE STREET
                        SYDNEY, NS B1P3N9
                        CANADA


                        JENNIFER ROWE
                        5 PINE ST.
                        SYDNEY, NS B1S1J8
                        CANADA
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                        Jennifer Torres
                        5860 Strathmoor Dr
                        Rockford, IL 61107


                        Jennifer Williams
                        5410 Midvale Dr. #213
                        Rockford, IL 61108


                        JENNY DONOVAN
                        72 B RATEAU ST.
                        SYDNEY MINES, NS B1P1X5
                        CANADA


                        JENNY KENDALL
                        28 CATHERINE ST.
                        SCOTCHTOWN, NS B1H3B8
                        CANADA


                        Jereenna Golden
                        821 W. Hillcrest Drive #E
                        Dekalb, IL 60115


                        Jeremy Davis
                        1651 White Ave
                        Beloit, WI 53511


                        Jeremy Galvan
                        520 Hanna Court Apt 11
                        Loves Park, IL 61111


                        JEREMY JOHNSON
                        169 74TH ST.
                        ESKASONI, NS B1W1H2
                        CANADA


                        Jerriana Johnson
                        940 S 3rd Street
                        Rockford, IL 61104


                        Jerrine Cazy
                        3627 N. Rockton Ave #202
                        Rockford, IL 61103
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                        Jerry Robinson, JR
                        1507 Sun Ct
                        Rockford, IL 61104


                        JERRYLYNN CURRIE
                        3427 PELLATT AVE.
                        NEW WATERFORD, NS B1H1S5
                        CANADA


                        Jesania Laboy
                        2762 City View Court Apt 204
                        Rockford, IL 61103


                        JESSE DONOVAN
                        52 MECHANIC ST.
                        SYDNEY, NS B1P2W7
                        CANADA


                        Jessenia Marquez
                        5817 Dafred Dr
                        Rockford, IL 61107


                        JESSICA BALDOCK
                        1281 MAIN A DIEU RD.
                        BATESTON, NS B1C1V7
                        CANADA


                        Jessica Brasel
                        1342 Warren Ave
                        Belvidere, IL 61008


                        Jessica Collins
                        715 Evans Ave.
                        Machesney Park, IL 61115


                        JESSICA FILLMORE
                        31 Duffle Drive
                        Sydney, NS B1P3G7
                        CANADA


                        Jessica Gonzalez
                        4113 Beach Street
                        Rockford, IL 61108
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                        Jessica Jones
                        1328 Elm St. Unit 1
                        Rockford, IL 61102


                        Jessica Kelley
                        5384 Gettysburg Drive
                        Loves Park, IL 61111


                        Jessica Konitski
                        2728 Lawndale Avenue
                        Rockford, IL 61103


                        Jessica Lindel
                        4519 Harris Dr
                        Poplar Grove, IL 61065


                        Jessica Maples
                        143 Gilbert Terrace
                        Machesney Park, IL 61115


                        Jessica Matter
                        1419 Porter Ave
                        Beloit, WI 53511


                        Jessica Mendoza
                        4604 Governors Drive Apt 4
                        Rockford, IL 61109


                        JESSICA MURPHY
                        14 CENTRAL ST.
                        SYDNEY, NS B1P2A8
                        CANADA


                        Jessica Roman
                        11603 Florence Ave.
                        Machesney Park, IL 61115


                        JESSICA SPOONEY
                        81 TUPPER ST.
                        SYDNEY, NS B1N2A8
                        CANADA
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                        Jhazmine Blakely-Sterling
                        1202 Morgan Street
                        Rockford, IL 61102


                        Jimica Beamon
                        533 Fisher Avenue Apt 6
                        Rockford, IL 61103


                        JO-ANN LANDRY
                        135 MACKINLEY DRIVE
                        COXHEATH, NS B1R2E2
                        CANADA


                        JOAN BLEWER
                        65 MAY STREET
                        SCOTCHTOWN, NS B1H1E4
                        CANADA


                        Joann Burke
                        2444 Holmes St. Apt 6
                        Rockford, IL 61108


                        JOANN FARRELL
                        94 FISHER STREET
                        SYDNEY, NS B1N1P9
                        CANADA


                        Joanne Arroy
                        1312 Stratford Avenue
                        Rockford, IL 61107


                        JOANNE FRASER
                        37 LORWAY STREET
                        GLACE BAY, NS B1A5Z5
                        CANADA


                        Joaquin Haugabook
                        1444 Andrews Street
                        Rockford, IL 61101


                        Jocelynne Menjivar
                        5017 Linden Road
                        Rockford, IL 61109
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                        JODI HILLIER
                        4 SHENDALE DR.
                        SYDNEY, NS B1N3C6
                        CANADA


                        Joel Ratliff
                        1911 Carney Ave.
                        Rockford, IL 61103


                        JOHN ARDELLI
                        62 CHARLOTTE ST, Apt. 11
                        SYDNEY, NS B1P1B7
                        CANADA


                        JOHN CAMPBELL
                        28 DIPERSIO ST.
                        SYDNEY MINES, NS B1V3A4
                        CANADA


                        John Gallagher
                        4434 Mila Avenue
                        Rockford, IL 61101


                        JOHN JACOBS
                        501 ALEXANDRA ST.
                        SYDNEY, NS B1S2G7
                        CANADA


                        JOHN JOLLIMORE
                        11 JERRITT DR.
                        SYDNEY, NS B2A4L4
                        CANADA


                        JOHN MACDONALD
                        252 ROCKDALE AVE.
                        SYDNEY, NS B1P2A2
                        CANADA


                        JOHN MCGILLIVARY
                        557 DONKIN HWY
                        DONKIN, NS B1A6X5
                        CANADA
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                        JOHN MCINTYRE
                        13 CHAPPLE DRIVE
                        GLACE BAY, NS B1A4C3
                        CANADA


                        JOHN PHALEN
                        1136 GEORGE STREET
                        SYDNEY, NS B1N1N2
                        CANADA


                        JOHN RICHARDS
                        154 MACINTYRE LANE
                        GLACE BAY, NS B1A4R9
                        CANADA


                        JOHN TOBIN
                        10 ACADIA DR.
                        SYDNEY, NS B1P3X7
                        CANADA


                        JOHN WRIGHT
                        8 PLEASANT ST.
                        NORTH SYDNEY, NS B2A1K3
                        CANADA


                        JOHN YOUNG
                        59 RESERVE ST.
                        GLACE BAY, NS B1A4W2
                        CANADA


                        JOHNATHAN BURGESS
                        328 TOWNSEND ST.
                        SYDNEY, NS B1P5G2
                        CANADA


                        JOHNSTON LAW FIRM LLC
                        Attn: Pres, GP or Mng Member
                        75 MIDLAND AVENUE
                        SUITE 1
                        MONTCLAIR, NJ 07042


                        JON LEWIS
                        90 GEORGE ST.
                        ESKASONI, NS B1W1C7
                        CANADA
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                        Jonathan Chester
                        2717 16th Ave.
                        Rockford, IL 61108


                        JONATHAN EVELEIGH
                        322 LING STREET APT. #3
                        NEW WATERFORD, NS B1H2W6
                        CANADA


                        Jonathan Fisher
                        2215 Skokie Dr.
                        Rockford, IL 61108


                        Jonathan Heneks
                        711 Clayton Street
                        Cherry Valley, IL 61016


                        JONATHAN PHILLIPS
                        85 WHITNEY AVE., APT. #5
                        SYDNEY, NS B1P4Z8
                        CANADA


                        Jophia Turner
                        1011 9th Ave.
                        Rockford, IL 61104


                        Jordan Baxter
                        5708 East Drive
                        Loves Park, IL 61111


                        Jordan Fetters
                        421 Hosmer Street Apt 1
                        Loves Park, IL 61111


                        Jordan Gors
                        2730 Marshall St
                        Rockford, IL 61109


                        JORDAN ONGO
                        520 ATLANTIC ST.
                        SYDNEY, NS B1P3S5
                        CANADA
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                        Jordan Quandee
                        1310 Taylor St
                        Rockford, IL 61101


                        Jose Lara
                        2412 Glenwood Avenue
                        Rockford, IL 61103


                        Jose Martinez-Cabral
                        4763 Orchard Ln
                        Rockford, IL 61101


                        JOSEPH DUNCAN JACOBS
                        68 GUY STREET
                        SYDNEY MINES, NS B1V2N7
                        CANADA


                        JOSEPH GOUTHRO
                        138 STRANG RD.
                        GARDINER MINES, NS B1H5M1
                        CANADA


                        JOSEPH LANDRY
                        1107 BIRCH GROVE RD.
                        BIRCH GROVE, NS B1B1K1
                        CANADA


                        JOSEPH MACDONALD
                        395 ALEXANDRA ST.
                        SYDNEY, NS B2J1G2
                        CANADA


                        Joseph Nettles
                        1011 Broadway Apt 3
                        Rockford, IL 61104


                        JOSEPH REGNIER
                        1 B ELIZABETH ST.
                        SYDNEY RIVER, NS B1S3T7
                        CANADA


                        JOSEPH WATTS
                        21 THIRD ST.
                        BIRCH GROVE, NS B1B1L2
                        CANADA
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                        JOSH BOUDREAU
                        3 CAMPBELL ST.
                        SYDNEY, NS B1P1E8
                        CANADA


                        JOSH DOLLIMOUNT
                        39 CANSO DRIVE
                        SYDNEY, NS B1P6X7
                        CANADA


                        Josh Latin
                        3504 Rural Street
                        Rockford, IL 61107


                        JOSH MACDONALD
                        731 DOMINION STREET
                        NEW WATERFORD, NS B1P4R1
                        CANADA


                        JOSH PERRY
                        37 LORWAY ST
                        LOUISBOURG, NS B1C2J9
                        CANADA


                        Joshua Blake
                        1531 12th Avenue Apt 1
                        Rockford, IL 61104


                        Joshua English
                        4555 Trevor Circle Apt 8
                        Rockford, IL 61109


                        JOSHUA JACKSON
                        226 ATLANTIC ST.
                        SYDNEY MINES, NS B1V1W8
                        CANADA


                        Joshua Popham
                        4545 Ratcliffe Drive
                        Belvidere, IL 61008


                        JOSHUA PRESTON
                        430 13th ST. APT. A
                        NEW WATERFORD, NS B1H4B7
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 127 of 246




                        Joshua Richardson
                        2209 Canary Dr Apt 6
                        Rockford, IL 61103


                        Joshua Splitt
                        517 E. Hurlbut Ave.
                        Belvidere, IL 61008


                        Joshua Stalvik
                        1017 North Court
                        Rockford, IL 61103


                        Joshua Vartabedian
                        717 Blackhawk Blvd.
                        South Beloit, IL 61080


                        Joy Brown-Gardner
                        802 18th Street
                        Rockford, IL 61104


                        Joyce Johnson
                        2012 3rd Ave. Apt 1
                        Rockford, IL 61104


                        Jua Mahari
                        1916 S. 4th Street
                        Rockford, IL 61104


                        Juan Espinoza
                        821 10th St
                        Rockford, IL 61104


                        Juan Gonzalez
                        1108 14th Street Apt 1
                        Rockford, IL 61104


                        Juan Perez Jr.
                        2080 Sstornway Drive
                        Rockford, IL 61107
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                        JUDITH MCLEAN
                        21 GRITTON AVENUE, APT. 1
                        SYDNEY, NS B1S2Y1
                        CANADA


                        JUDY POIRER
                        36 SIXTH ST.
                        GLACE BAY, NS B1A4J9
                        CANADA


                        JULIE GOULD
                        5121 SHORE RD.
                        ESKASONI, NS B1W1B2
                        CANADA


                        JULIE MARTELL
                        65 BRETON ST.
                        SYDNEY, NS B1N2P2
                        CANADA


                        Julie Newkirk
                        4835 Linden Road Apt 1736
                        Rockford, IL 61109


                        June McCullum
                        1644 7th Avenue
                        Rockford, IL 61104


                        JUSTIN BOUTILIER
                        221 PARK ST
                        SYDNEY, NS B1P4X1
                        CANADA


                        JUSTIN BOUTILIER
                        246 WALLACE RD.
                        GLACE BAY, NS B1A4P4
                        CANADA


                        Justin Brown
                        2927 Carol Place
                        Rockford, IL 61109


                        JUSTIN DAWSON
                        55 MEECH AVENUE
                        NORTH SYDNEY, NS B2A1R9
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 129 of 246




                        JUSTIN DOUCETTE
                        343 ATLANTIC ST.
                        SYDNEY, NS B1P3R6
                        CANADA


                        JUSTIN JESSOME
                        20 INTERCOLONIAL ST.
                        SYDNEY, NS B1P1S6
                        CANADA


                        JUSTIN LEGGE
                        18 MACAULAYS LANE UNIT #1
                        SYDNEY, NS B1P3Z7
                        CANADA


                        JUSTIN MACKENZIE
                        61 VILLA NOVE ST.
                        DOMINION, NS B1G1W8
                        CANADA


                        Justin Roland
                        Attn: John Billhorn, Esq
                        53 W. Jackson Blvd.
                        Room 840
                        Chicago, IL 60604


                        JUSTIN TIMMONS
                        166 MOUNTAINVIEW DR.
                        SYDNEY, NS B1L1A1
                        CANADA


                        Justin Tippett
                        1118 South Winnebago Street
                        Rockford, IL 61102


                        Justin Trunko
                        101 Azalea Ave.
                        Davis Junction, IL 61020


                        JUSTIN WADE
                        58 ACADIA DR.
                        SYDNEY, NS B1P3X7
                        CANADA
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                        Kadee Palmer
                        2603 Forsythia Drive
                        Rockford, IL 61102


                        Kaila Virgilio
                        2310 Cerro Vista Drive
                        Rockford, IL 61107


                        Kailon Murry
                        1207 Montague Street
                        Rockford, IL 61102


                        Kaitlin Urso
                        946 South 3rd Street
                        Rockford, IL 61104


                        KAITLYN BRIANNA ANDERSON
                        437 CABOT STREET
                        SYDNEY, NS B1P4G8
                        CANADA


                        KALEENA DICKSON
                        128 C MACAULAY'S LANE
                        SYDNEY, NS B1P3Z9
                        CANADA


                        KALI HYNES
                        21 HARTLEY ST.
                        GLACE BAY, NS B1A5T3
                        CANADA


                        Kamrine Hogan
                        2328 9th Ave
                        Rockford, IL 61104


                        Kanijah Young
                        1924 Sauber Ave
                        Rockford, IL 61103


                        Kapreshia Glenn
                        330 King Street
                        Rockford, IL 61103
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                        Kareema Allen
                        715 S. Liberty
                        Freeport, IL 61032


                        Karen Davis
                        329 North Independence Avenue
                        Rockford, IL 61101


                        Karen Dowthard
                        402 S. Independence Ave.
                        Rockford, IL 61102


                        KAREN MACDONALD
                        219-2 ARGYLE STREET
                        SYDNEY, NS B1S2W1
                        CANADA


                        Karen Nelson
                        1208 Nelson Blvd.
                        Rockford, IL 61104


                        KAREN ROACH
                        238 KINGS RD.
                        DOMINION, NS B1G1H6
                        CANADA


                        Karen Wilmore
                        5128 Newburg Road
                        Rockford, IL 61108


                        Karina Moreno
                        6826 Conestoga Trail
                        Loves Park, IL 61111


                        Karissa Curry
                        2236 7th St
                        Rockford, IL 61104


                        Karla Gallegos
                        1221 5th Ave
                        Rockford, IL 61104
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                        Karon Brown
                        2414 Eggleston Court #3
                        Rockford, IL 61108


                        Kasara Darnell
                        1703 Loomis Street.
                        Rockford, IL 61102


                        Kassandra Peyton-Jones
                        3319 Gilbert Ave
                        Rockford, IL 61101


                        Katanya Green
                        1215 Ash Terrace
                        Rockford, IL 61102


                        Kate Egan
                        2420 Benderwirt Avenue
                        Rockton, IL 61103


                        KATELYN MACINTYRE
                        14 LYNNE DR.
                        SYDNEY, NS B1P2Z6
                        CANADA


                        KATELYNN MCNEIL
                        27 VICTORIA STREET
                        NORTH SYDNEY, NS B2A1G8
                        CANADA


                        Katherine Kelly
                        613 College Ave Apt 2
                        Rockford, IL 61104


                        KATHERINE LEBLANC
                        50 TOWERVIEW PLACE APT #114
                        SYDNEY, NS B1S3B9
                        CANADA


                        KATHERINE MACKINNON
                        166 MALONEY ST.
                        SYDNEY, NS B1N2C8
                        CANADA
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                        Kathleen Kemp
                        1012 17th Street
                        Rockford, IL 61104


                        KATHLEEN TREMBLAY
                        15 GRANDVIEW STREET
                        SYDNEY, NS B1P3N4
                        CANADA


                        KATHRYN CHISLETT
                        4 CHARLOTTE ST.
                        SYDNEY MINES, NS B1V2G6
                        CANADA


                        KATIE HARRIS
                        7579 MAIN ST
                        LOUISBOURGH, NS B1C1J9
                        CANADA


                        Katie Staver
                        713 E Marshall Street
                        Belvidere, IL 61008


                        Katrina George
                        628 Newport Avenue
                        Rockford, IL 61102


                        Kaycee Holcomb
                        432 Ralston Road
                        Machesney Park, IL 61115


                        Kaydee Hillary
                        520 South Avenue
                        Rockford, IL 61109


                        KAYLA BOUTILIER
                        3 BLUE WATER DR.
                        GLACE BAY, NS B1A3S9
                        CANADA


                        KAYLA KENNEDY
                        6 GORDIE ST.
                        LOUISBOURG, NS B1C1C3
                        CANADA
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                        KAYLA MACKENZIE
                        725 MAY ST.
                        SCOTCHTOWN, NS B1H1C8
                        CANADA


                        KAYLA WILLIAMS
                        150 YORK ST.
                        SYDNEY, NS B1P6B7
                        CANADA


                        Kayleigh Keele
                        2925 Lasalle Ave
                        Rockford, IL 61114


                        Kaylynn Beck
                        1031 Talmadge Ave
                        Machesney Park, IL 61115


                        Keana Benford
                        6419 Edgewood Road
                        Machesney Park, IL 61115


                        KEELAN BRAY
                        79 LINGAN RD
                        SYDNEY, NS B1R2A8
                        CANADA


                        Kei'Shaura Smith
                        2917 Andrews St.
                        Rockford, IL 61101


                        Keinita Scott
                        2901 Searles Avenue
                        Rockford, IL 61101


                        Keion Carter
                        2229 Canary Drive
                        Rockford, IL 61103


                        Keisha Boreland-Daley
                        1305 East Avenue
                        Belvidere, IL 61008
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                        Keisha Whitaker
                        127 Albert Ave.
                        Rockford, IL 61101


                        Keishauna Minor
                        2202 Denver Drive Apt 2
                        Rockford, IL 61108


                        KEITH HAWCO
                        114 RICHMOND STREET
                        SYDNEY, NS B1P2V2
                        CANADA


                        Keith Kent
                        6341 Oak Crest Lane
                        Loves Park, IL 61111


                        KEITH KINNEAR
                        72 LEONARD ST.
                        SYDNEY, NS B1S2T5
                        CANADA


                        Kelan Breen
                        1432 Crosby St Unit 2
                        Rockford, IL 61107


                        KELEIGH IVEY
                        202 SEAVIEW DRIVE
                        NORTH SYDNEY, NS B2A3N3
                        CANADA


                        Kelley Smith
                        1609 East State St. Apt 201
                        Rockford, IL 61104


                        Kelli Castle
                        3407 Robey Avenue
                        Rockford, IL 61103


                        Kelli Poole
                        2735 Silentwood Trail #6
                        Rockford, IL 61109
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                        KELLY BLINKHORN
                        34 MINTO ST.
                        GLACE BAY, NS B1A5B4
                        CANADA


                        Kelly Kelsey
                        P O Box 9025
                        Rockford, IL 61126


                        Kelly Moss
                        3425 Summerdale Avenue
                        Rockford, IL 61101


                        KELLY ST. JOHN
                        34 STYLES LANE
                        SYDNEY, NS B1P5H6
                        CANADA


                        KELSEY LUNDRIGAN
                        1210 VICTORIA RD.
                        SYDNEY, NS B1N1L4
                        CANADA


                        KELSEY MACINTYRE-HALL
                        2278 SYDNEY ROAD
                        SYDNEY, NS B1E1K3
                        CANADA


                        Kelsey Medernach
                        2219 South 4th St
                        Rockford, IL 61104


                        Kelsey Osborn
                        7701 Edwin Lane
                        Loves Park, IL 61111


                        Kelsey Simoens
                        10228 Bluebonnet Drive
                        Machesney Park, IL 61115


                        KELSEY SPENCER
                        14 HARTLEY STREET
                        GLACE BAY, NS B1A6B2
                        CANADA
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                        KELSIE FRANCIS
                        77 TUPSI DRIVE
                        SYDNEY, NS B1S3R3
                        CANADA


                        KENDALL MACQUEEN
                        114 PUTU'S AWTI
                        MEMBERTOU, NS B1S0K2
                        CANADA


                        Kendra Bass
                        3822 Echo St.
                        Rockford, IL 61102


                        Kendra Moses
                        4335 Nina Terrace
                        Rockford, IL 61101


                        KENDRA SLADE
                        10 WARREN STREET
                        GLACE BAY, NS B1A5Z9
                        CANADA


                        Kennesha Steele
                        3202 Addison Ave.
                        Rockford, IL 61102


                        Kenneth Bouma
                        118 Superior Ave.
                        Machesney Park, IL 61115


                        Kenneth Chandler
                        1911 Shelly Drive
                        Rockford, IL 61101


                        KENNETH DELANEY
                        399 TOWNSEND ST
                        SYDNEY, NS B1P5G4
                        CANADA


                        Kenneth Johnson Jr.
                        1726 10th St. #1
                        Rockford, IL 61104
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                        Kenneth Rigsby
                        3348 Sun Valley Terrace
                        Rockford, IL 61103


                        KERRI MILLS
                        85 TILLOCK DR.
                        SYDNEY, NS B1P6P5
                        CANADA


                        Kerri Shoemaker
                        1309 Charles St. Apt 1
                        Rockford, IL 61104


                        Kerwin May
                        2117 Lucille St.
                        Rockford, IL 61104


                        Keshonda Townsend
                        1120 West Jefferson Street
                        Rockford, IL 61101


                        Kevin Burrell
                        7572 Cherryvale N Blvd #304
                        Cherry Valley, IL 61016


                        KEVIN CAREY
                        34 KENT ST.
                        SYDNEY, NS B1S2X6
                        CANADA


                        KEVIN GOUTHRO
                        243 ROCKDALE AVENUE
                        SYDNEY, NS B1P1Z8
                        CANADA


                        Kevin Green
                        443 N. Central Ave
                        Rockford, IL 61101


                        Kevyn Stewart
                        415 Loomis Avenue
                        Rockford, IL 61102
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                        Kianda Yarbrough
                        707 Royal Avenue
                        Rockford, IL 61101


                        Kiara Blackburn
                        2326 Parmele St
                        Rockford, IL 61109


                        Kiara Morris
                        2664 Conklin Drive
                        Rockford, IL 61101


                        Kiarra Hartman
                        7872 Traskbridge Rd
                        Rockford, IL 61101


                        KIERSTAN HINKLEY
                        100 YORKE ST. APT. #6
                        SYDNEY, NS B1P6B4
                        CANADA


                        Kiersten Bell
                        251 Bienterra Trail
                        Rockford, IL 61107


                        KIM MACDOUGALL
                        285 B HIGH ST.
                        SYDNEY, NS B1P6X6
                        CANADA


                        KIM O'SHAUGHNESSY
                        P.O BOX 3342
                        LAKE LOUISE, AB T0L1E0
                        CANADA


                        KIMBERLEY ZABLASKA
                        194 COLUMBIA STREET
                        SYDNEY, NS B1P4J3
                        CANADA


                        Kimberly Forsyth
                        552 Ranger Street
                        Rockford, IL 61109
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                        Kimberly Foster
                        1717 North Court St
                        Rockford, IL 61103


                        Kimberly Larson
                        13636 Chevron Drive
                        Rockton, IL 61072


                        KIMBERLY MACLEAN
                        50 TOWERVIEW PLACE APT. #205
                        SYDNEY, NS B1S3B8
                        CANADA


                        Kimberly McGinn
                        110 Lamplighter Loop SE
                        Poplar Grove, IL 61065


                        Kimberly Wilbanks
                        2824 Lawndale Avenue
                        Rockford, IL 61101


                        Kimiko Baisten
                        1009 N. Independence Ave.
                        Rockford, IL 61101


                        Kionta Leavy
                        3128 Prial Ave. Apt 2
                        Rockford, IL 61101


                        Kionte Lewis
                        3013 Hamlin Dr
                        Machesney Park, IL 61115


                        Kiosha Thompson
                        1912 Kilburn Ave Apt 4
                        Rockford, IL 61101


                        KIRSTEN ARMSWORTHY
                        116 GREENHILL DR.
                        SYDNEY, NS B1S1K2
                        CANADA
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                        Kisiah Yttrie
                        914 10th Avenue Apt 1
                        Rockford, IL 61104


                        Kordazia Wilkins
                        6474 Wicklow Close Road
                        Rockford, IL 61107


                        Kori Hamil
                        7900 Cadet Rd
                        Machesney Park, IL 61115


                        Krista McNeil
                        280 Knoll Road
                        Belvidere, IL 61008


                        KRISTA WHITE
                        797 CAMPBELL ROAD
                        BALLS CREEK, NS B2A4M1
                        CANADA


                        Kristen Francis
                        1622 9th Street, Unit 2
                        Rockford, IL 61104


                        KRISTEN HINES
                        365 ATLANTIC ST.
                        SYDNEY, NS B1P3R6
                        CANADA


                        KRISTIE OLIVER
                        508 ATLANTIC STREET
                        SYDNEY, NS B1P3S3
                        CANADA


                        KRISTIN BOBBETT
                        24 A DODD ST.
                        BRIDGE PORT, NS B1A4S9
                        CANADA


                        Kristina Manriquez
                        527 Michigan Avenue
                        Rockford, IL 61102
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                        Kristina Marks
                        1903 Whitehall Rd
                        Rockford, IL 61107


                        Kristy Nielcen
                        535 Pearl Ave Apt 3
                        Loves Park, IL 61111


                        Kristy Olson
                        3333 Bildahl Street
                        Rockford, IL 61109


                        KRYSTA NEWELL
                        15 INGRAHAM ST.
                        GLACE BAY, NS B1A5Y1
                        CANADA


                        Krystal Schaller
                        2114 Sharon Avenue
                        Rockford, IL 61103


                        Krystal Williams
                        511 College Avenue
                        Rockford, IL 61104


                        Krystian Kaldan
                        261 Shadyside Lane
                        Milford, CT 06460


                        Kyle Long
                        1310 10th Street
                        Rockford, IL 61104


                        KYLE OLIVER
                        143 WILDWOOD DR.
                        HOWIE CENTRE, NS B1L1G7
                        CANADA


                        KYLE PICKUP
                        37 COOKS LANE
                        SYDNEY, NS B1N3J6
                        CANADA
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                        Kyle Yates
                        1913 Cloverdale Way
                        Belvidere, IL 61008


                        Kylie Foster
                        322 North 1st Street Apt 103
                        Rockford, IL 61107


                        Kyra Smith
                        1505 N Court St
                        Rockford, IL 61103


                        La'Kendra Lilly
                        602 Alliance Ave.
                        Rockford, IL 61101


                        Lacey Morgan
                        2015 Peterson Avenue
                        Janesville, WI 35348


                        Lacy Dallman
                        1841 Vista Dr.
                        Beloit, WI 53511


                        Ladasia Davis
                        1016 South Independence Avenue
                        Rockford, IL 61102


                        Ladeja Woods
                        3441 Garfield Drive
                        Rockford, IL 61101


                        LaDiamond Blan
                        314 John St
                        Rockford, IL 61103


                        Lakesha Ely
                        1119 Roxbury Road
                        Rockford, IL 61107
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                        Laketta Potts
                        1320 Chestnut Street
                        Rockford, IL 61102


                        LAKIN CANN
                        15 LESLIE LANE
                        GLACE BAY, NS B1A2E4
                        CANADA


                        Lakisha Foat
                        3912 15th Ave
                        Rockford, IL 61107


                        Lamontay Brown
                        1822 Overdene Rd
                        Rockford, IL 61103


                        Landon Briggs
                        3103 Parkside Avenue
                        Rockford, IL 61101


                        Lanita Marks
                        1015 Furman Street
                        Rockford, IL 61101


                        LaPrisha Forrest
                        4224 Auburn St. Apt 208
                        Rockford, IL 61101


                        Laquaila Knight
                        944 S. 3rd Ave
                        Rockford, IL 61108


                        Laquisha Johnson
                        1985 West Riverside Boulevard
                        Rockford, IL 61103


                        LaQuita Peterson
                        2825 Echo Street
                        Rockford, IL 61109
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                        LaRicka Hightower
                        2312 12th Avenue
                        Rockford, IL 61104


                        LARISSA BENNETT
                        743 HEELAN STREET
                        NEW WATERFORD, NS B1H3C6
                        CANADA


                        Lashawnda Briscoe
                        1608 12th Street
                        Rockford, IL 61104


                        LaShonda Gilliam-Taylor
                        209 Lincoln Park Blvd
                        Rockford, IL 61102


                        LaShonda Lockett
                        2214 Auburn St. Apt 10
                        Rockford, IL 61103


                        Latanya Slappy
                        551 Ranger St
                        Rockford, IL 61109


                        Laticia Woodard
                        3014 Jean Street
                        Rockford, IL 61102


                        Latisha Moore
                        407 North Longwood
                        Rockford, IL 61107


                        Latonqua Bailey
                        516 Soper Avenue
                        Rockford, IL 61101


                        Latoya Davis
                        1622 Price Street
                        Rockford, IL 61103
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                        LaToya Harmon
                        333 Salter Ave.
                        Rockford, IL 61102


                        Latoya Moore
                        308 Miriam Avenue
                        Rockford, IL 61101


                        LaTreca Parham
                        1118 Furman St. Apt 2
                        Rockford, IL 61102


                        LAURA CAMPBELL
                        754 LARCH ST.
                        NEW WATERFORD, NS B2H4L1
                        CANADA


                        LAURA EAGLES
                        25 ANDERSON AVE.
                        SYDNEY, NS B1R2B5
                        CANADA


                        Laura Jacobo
                        1113 Keeler Avenue
                        Beloit, WI 53511


                        LAURA POIRIER
                        105 KINGS RD.
                        DOMINION, NS B1G1H7
                        CANADA


                        Laura Quintanilla
                        3691 Westfield Road
                        Winnebago, IL 61088


                        LAURA SWEET
                        37 SIDELLA DR.
                        SYDNEY, NS B1P4A6
                        CANADA


                        LAURALEE MACASKILL
                        40 HILLSIDE COURT, UNIT #8
                        SYDNEY, NS B1P6M3
                        CANADA
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                        LAURALEE MACASKILL
                        72 CHARLOTTE STREET UNIT 4
                        SYDNEY, NS B1P1B7
                        CANADA


                        Lauren Wasylyk
                        628 West Avon
                        Freeport, IL 61032


                        LAURISSA PARSONS
                        162 DORCHESTER ST.
                        SYDNEY, NS B1P5Z4
                        CANADA


                        Lavell Thomas
                        1001 South 3rd St
                        Rockford, IL 61104


                        Lavetta Jones
                        515 Seminary Street #914B
                        Rockford, IL 61104


                        Lawrence Payne
                        5031 Linden Road
                        Rockfiord, IL 61109


                        Lawrence Quevedo
                        1331 Grant Avenue
                        Rockford, IL 61103


                        LAWRENCE WILLIAMS
                        23 PEPPETT STREET
                        NORTH SYDNEY, NS B2A1K8
                        CANADA


                        LAYNE MACDONALD
                        3 LEWIS DR.
                        DOMINION, NS B1G1K5
                        CANADA


                        LEAH EISAN
                        20 HARRINGTON PLACE
                        SYDNEY, NS B1P1R5
                        CANADA
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                        LEAH HENDERSON
                        91 TILLOCK DR.
                        SYDNEY, NS B1L1C4
                        CANADA


                        LEAH MURPHY
                        617 UPPER PRINCE STREET
                        SYDNEY, NS B1P3M7
                        CANADA


                        Leah Richardson
                        1054 6th Street
                        Beloit, WI 53511


                        Leann Mathews
                        4376 Blackberry Knoll Drive
                        Loves Park, IL 61111


                        LEANNE MURPHY
                        3237 GRAND MIRA NORTH RD.
                        SANDFIELD, NS B1K1X1
                        CANADA


                        Leboshira Reynolds
                        1916 Charles Street
                        Rockford, IL 61104


                        Leland Smith
                        315 North Independence Ave
                        Rockford, IL 61101


                        LeMark Moore
                        503 Seminary Street
                        Rockford, IL 61104


                        Lenda Ogden
                        1649 1/2 Charles Street
                        Rockford, IL 61101


                        LEO BRUNET
                        57 BROOKSIDE ST. APT. #3
                        GLACE BAY, NS B1A1K2
                        CANADA
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                        LEO MURPHY
                        133 FORD STREET
                        RIVER RYAN, NS B1H1G9
                        CANADA


                        Leola Bergman
                        701 Plaisance Ave
                        Rockford, IL 61102


                        LEONARD WALL
                        392 PURVES STREET
                        NORTH SYDNEY, NS B2A1L6
                        CANADA


                        Leondra Mitchell
                        3564 Elm Street
                        Rockford, IL 61102


                        Leondre Davenport
                        328 Heath St. Apt 4
                        Rockford, IL 61102


                        LESLIE GREENCORN
                        17 RIGBY RD.
                        SYDNEY, NS B1P4T4
                        CANADA


                        LESLIE MOSHER
                        34 WOODLAND DR.
                        SYDNEY, NS B1L1E7
                        CANADA


                        Lessie Curry
                        1016 Harding Street
                        Rockford, IL 61102


                        LIAM MACDONALD-STAPLETON
                        98 CENTRE ST.
                        SYDNEY, NS B1P2H2
                        CANADA


                        Likita Eison
                        720 Royal Ave
                        Rockford, IL 61101
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                        Lilliam Lopez
                        3212 Chadwick Drive
                        Rockford, IL 61108


                        Lillian Imasuen
                        4535 Galleon Drive
                        Loves Park, IL 61111


                        Lillian Padilla
                        6340 Garret Lane
                        Rockford, IL 61107


                        LILLIAN SNOW
                        29 ROYAL AVE.
                        SYDNEY, NS B1P4X6
                        CANADA


                        LINDA COONEY
                        284 TOMETARY DR.
                        HOWIE CENTRE, NS B1L1G4
                        CANADA


                        LINDA DEYOUNG
                        30 COLDBROOK DRIVE
                        HOWIE CENTER, NS B1L1G8
                        CANADA


                        LINDA ESHIET
                        13-325 BENTINCK ST.
                        SYDNEY, NS B1P1H1
                        CANADA


                        Linda George
                        5052 Walnut Grove
                        Poplar Grove, IL 61065


                        Lindi Anderson
                        32 Marquette Road
                        Machesney Park, IL 61115


                        Lindsay Grider
                        407 S. Pierpont Ave
                        Rockford, IL 61102
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                        Lindsay Hagan
                        1522 12th Street, Apt #2
                        Rockford, IL 61104


                        Linnie Curtis
                        1904 North Main
                        Rockford, IL 61103


                        LIONHEART MAINTENANCE LLC
                        Attn: Pres, GP or Mng Member
                        1305 Fulton Street
                        Rahway, NJ 07065


                        LISA DEARING
                        13 A NEWBURY STREET
                        SYDNEY, NS B1P3P7
                        CANADA


                        Lisa Marks
                        3106 9th St
                        Rockford, IL 61109


                        Lisa Pooley
                        632 Anna Avenue
                        Machesney Park, IL 61115


                        Lisa Yurs
                        7125 West State Street
                        Rockford, IL 61102


                        Lisette Santiago
                        5417 Bennett St Apt 19
                        Loves Park, IL 61111


                        Lisha Cooley El
                        1701 15th Avenue
                        Rockford, IL 61104


                        LIVEVOX, INC
                        Attn: Pres, GP or Mng Member
                        PO BOX 775337
                        CHICAGO, IL 60677-5337 USA
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                        LIZA HISLOP
                        74 WOLFE ST.
                        LOUISBOURG, NS B1C2J2
                        CANADA


                        LLOYD POND
                        318 CARTIER ST.
                        SYDNEY, NS B1P4B7
                        CANADA


                        Lobsang Kury
                        1008 Loomis St
                        Rockford, IL 61102


                        Logan Sheffield
                        4873 Linden Road, Apt 111
                        Rockford, IL 61109


                        London Traylor
                        1720 School Street
                        Rockford, IL 61101


                        Lonnell Derring Jr.
                        2236 S. 6th St. #2N
                        Rockford, IL 61104


                        Lori Thomas
                        5035 Round Rock Street
                        Loves Park, IL 61111


                        Lorin Sheppard
                        5057 Limestone Dr
                        Loves Park, IL 61111


                        LORRAINE CURRIE-MACDONALD
                        59 CHARLOTTE STREET
                        SYDNEY, NS B1P1B8
                        CANADA


                        Lorraine DelCore
                        5205 Linden Rd, Apt 2109
                        Rockford, IL 61109
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                        LOUIS EHINOMEN ESANGBEDO
                        417 B BENTINCK ST.
                        SYDNEY, NS B1S2Y5
                        CANADA


                        Lovell Primm
                        4419 11th Street Apt 216
                        Rockford, IL 61109


                        Lozetta Tolon
                        2911 Custer Avenue
                        Rockford, IL 61101


                        LUCAS FORD
                        13 MCKENZIE STREET
                        GLACE BAY, NS B1A3G2
                        CANADA


                        Lucas Young
                        1215 Island Ave
                        Rockford, IL 61102


                        Lydia Salgado
                        2820 Rudeen Close #2
                        Rockford, IL 61108


                        Lynette Araujo
                        122 McLain Avenue
                        Rockford, IL 61102


                        Lynette Brooks
                        2107 Tobyne Dr
                        Belvidere, IL 61008


                        Lynette Poff
                        5597 Windy Knoll Dr.
                        Loves Park, IL 61111


                        Lynette Singletary
                        1951 W. Riverside Boulevard
                        Rockford, IL 61103
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                        LYNN POLEGATO
                        62 CHARLOTTE ST. APT. #4
                        SYDNEY, NS B1P1B7
                        CANADA


                        Lynn Schraer
                        245 Rose Avenue Apt 4
                        Loves Park, IL 61111


                        Lynne Hillyer
                        5395 Heartwood Lane
                        Roscoe, IL 60173


                        Lyric Stovall
                        1905 West Riverside Blvd
                        Rockford, IL 61103


                        M SPINELLO & SON
                        Attn: Pres, GP or Mng Member
                        522 CHESNUT STREET
                        PO BOX 1116
                        ROCKFORD, IL 61105


                        Mac Murray & Shuster LLP
                        Attn: Pres, GP or Mng Member
                        6530 West Campus Oval
                        Suite 210
                        New Albany, OH 43054


                        MacKenzie McCarren
                        1854 Telemark Drive
                        Rockford, IL 61108


                        Madelaine Imel
                        303 North 5th Street
                        Oregon, IL 61061


                        MADELINE TERRY
                        175 LISGARD ST.
                        SYDNEY, NS B1P2Y5
                        CANADA


                        Magaly Salgado
                        4224 Auburn St #210
                        Rockford, IL 61101
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                        MAGNETSIGN C.B.
                        Attn: Craig Boudreau
                        108-69 KINGS ROAD
                        SYDNEY, NS B1S 3X4
                        Canada


                        Maidely Carlos
                        317 1/2 Bluff St
                        Beloit, WI 53511


                        MAKAYLA MACDONALD
                        384 ST. PETER'S RD
                        SYDNEY, NS B1P4R3
                        CANADA


                        Makayla Straight
                        1234 Porter Ave
                        Beloit, WI 53511


                        Makayleigh Stone
                        3716 Marieme Drive
                        Rockford, IL 61108


                        Makiah Terry
                        1524 Greenwood Avenue
                        Rockford, IL 61107


                        Malachai Nichols
                        3409 Parkside Ave
                        Rockford, IL 61101


                        Malaka Samuel
                        1129 6th Ave
                        Rockford, IL 61104


                        MALCOLM EDISON
                        256 LINGAN RD.
                        SYDNEY, NS B1H1Y1
                        CANADA


                        Maleeka Talley
                        1129 Woodward Avenue
                        Beloit, WI 53511
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                        Malik Hammonds
                        735 Sanford Street
                        Rockford, IL 61102


                        Malik Harvey
                        1920 Loomis St
                        Rockford, IL 61102


                        Malyk Davis
                        3336 Hanover Dr
                        Rockford, IL 61103


                        Mandel Golden
                        2022 School Street
                        Rockford, IL 61101


                        MANDY CURRELL
                        2 MCNEIL'S LANE
                        DOMINION, NS B1G1L9
                        CANADA


                        Manuel Heusohn
                        3633 Thyme Drive
                        Rockford, IL 61114


                        Manya Collins
                        1122 Jackson Street
                        Rockford, IL 61107


                        MARC LANGILLE
                        70 HAROLD STREET
                        SYDNEY, NS B1P3M1
                        CANADA


                        Marcheala Lewis
                        2504 Ashland Avenue
                        Rockford, IL 61101


                        Marchelle Taylor
                        2927 Grinnell Court Apt 1
                        Rockford, IL 61109
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                        Marcquez Wilkes
                        5885 Gables Drive
                        Loves Park, IL 61111


                        Marcus Moravek
                        5207 Linden Road #2206
                        Rockford, IL 61109


                        Marcus Watkins
                        623 Trenton Avenue
                        Rockford, IL 61102


                        Marcy Jones
                        1572 West 6th St. Apt 2
                        Belvidere, IL 61008


                        Margaret Burfield
                        3105 Pelham Road
                        Rockford, IL 61107


                        Margaret Perez
                        122 McLain Avenue
                        Rockford, IL 61102


                        Margaret Whelchel
                        515 Seminary Street, Apt 903B
                        Rockford, IL 61104


                        Maria Campos
                        503 Fairview Blvd
                        Rockford, IL 61107


                        Maria Galvan
                        3616 Cardinal Lane
                        Rockford, IL 61107


                        MARIA MACDONALD
                        98 CENTER ST.
                        SYDNEY, NS B1P2H2
                        CANADA
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                        Maria Viveros
                        3017 Jean St
                        Rockford, IL 61102


                        Mariah Hallowell
                        1219 Benton Street
                        Rockford, IL 61107


                        Mariah Neal
                        226 Oakwood Avenue
                        Rockford, IL 61101


                        Mariah Swedlund
                        6457 Prarie Flower
                        Roscoe, IL 61073


                        MARIE BLAKE
                        749 WESTMOUNT ROAD
                        SYDNEY, NS B1R1B8
                        CANADA


                        MARIE HORECHUK
                        120 HEATHVIEW DR.
                        SYDNEY, NS B1R1S5
                        CANADA


                        MARIE KNEALE
                        500 KINGS ROAD
                        SYDNEY, NS B1S1B2
                        CANADA


                        MARIE MCMAHON
                        660 UPPER PRINCE ST., Apt #2
                        SYDNEY, NS B1P5N1
                        CANADA


                        Marissa Fernandez
                        1603 Overdene Avenue
                        Rockford, IL 61103


                        Marissa Kleparski Gonzales
                        3510 North Main Street
                        Rockford, IL 61103
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                        Mariusz Wysocki
                        46 Wilshire Boulevard
                        Machesney Park, IL 61115


                        Mark Byers
                        518 Dawson Avenue
                        Rockford, IL 61107


                        MARK DEANE
                        36 THIRD ST.
                        GLACE BAY, NS B1A4G8
                        CANADA


                        Mark Montgomery
                        6303 S. 159th Street
                        Omaha, NE 68135


                        Mark Paige Jr
                        1629 Pauline Avenue
                        Rockford, IL 61101


                        Mark Turner
                        4312 O'Connell St.
                        Rockford, IL 61109


                        MARKAYLA BOUTILIER
                        14 HICKMAN ST.
                        GLACE BAY, NS B1A2X9
                        CANADA


                        Marketa Tomlinson
                        4220 Middlebury Ave. # 1
                        Rockford, IL 61109


                        Marlena Fleming
                        931 Eisenhower
                        Janesville, WI 53545


                        MARLENE MILES
                        2144 HWY 28
                        SOUTH BAR, NS B1N3H7
                        CANADA
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                        Marquan Hughes
                        1420 Arthur Ave.
                        Rockford, IL 61101


                        Marquita Baber
                        913 10th Avenue
                        Rockford, IL 61104


                        Marrisa Whittie
                        1424 Birch Court
                        Rockford, IL 61104


                        Marshea Walker
                        1203 Preston
                        Rockford, IL 61102


                        Martela Wilson
                        215 Bayliss Avenue
                        Rockford, IL 61101


                        Martesha Smith
                        1904 Elm Street
                        Rockford, IL 61102


                        Martharee Oatis
                        750 Halsted Road, Apt 2
                        Rockford, IL 61103


                        Martin Cattage
                        1328 N. Church St.
                        Rockford, IL 61103


                        MARTIN EPP
                        55 BROOK ST
                        NORTH SYDNEY, NS B2A2J4
                        CANADA


                        Marva Pittman
                        515 Trenton Avenue
                        Rockford, IL 61102
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                        MARY ANN BROWN
                        112 FRENCH STREET
                        SYDNEY, NS B1N1Y7
                        CANADA


                        Mary Brady
                        96 Senate Drive
                        Rockford, IL 61109


                        MARY COOKE
                        44 COMMERCIAL ST.
                        DOMINION, NS B1G1B4
                        CANADA


                        MARY DELLAVALLE
                        135 MACDONALD CRESCENT
                        SYDNEY, NS B1N2A1
                        CANADA


                        MARY DENNIS
                        23-74TH ST.
                        ESKASONI, NS B1W1H2
                        CANADA


                        Mary Evans
                        2316 9th Avenue
                        Rockford, IL 61104


                        MARY HILL
                        472 ROTARY DRIVE APT 9
                        SYDNEY, NS B1P4S6
                        CANADA


                        MARY HYNES
                        17 ARTHUR STREET
                        GLACE BAY, NS B1A3Y3
                        CANADA


                        Mary Lindquist
                        1136 4th Ave, Apt 6
                        Rockford, IL 61109


                        MARY MACDOUGALL
                        346 SEAVIEW DR
                        NORTH SYDNEY, NS B2A3P1
                        CANADA
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                        MARY RUDDERHAM
                        27 FULTON AVENUE
                        SYDNEY, NS B1R1J6
                        CANADA


                        MARY SUSAN BURKE
                        79 HEATH VIEW DRIVE
                        SYDNEY, NS B1R1S4
                        CANADA


                        MASERGY
                        Attn: Pres, GP or Mng Member
                        PO BOX 733938
                        DALLAS, TX 75373-3938


                        MASON MACDONALD
                        167 MEMBERTOU ST.
                        SYDNEY, NS B1S2N3
                        CANADA


                        Matt Fleming
                        930 Ridgewood Rd.
                        Rockford, IL 61107


                        MATTHEW COLLIER
                        27 NORWOOD AVE APT 4
                        SYDNEY, NS B1P2Z9
                        CANADA


                        MATTHEW HUTCHINSON
                        3770 ELLSWORTH AVE.
                        NEW WATERFORD, NS B1H2H8
                        CANADA


                        Matthew Justice
                        7108 S West Ave.
                        Rochelle, IL 61068


                        Matthew Kantrovich
                        5488 Torque Rd
                        Loves Park, IL 61111


                        Mattie Butler
                        1004 N. Sunset Ave.
                        Rockford, IL 61101
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                        Maureen Theroux
                        719 S. Cunningham #1
                        Rockford, IL 61102


                        Maurice Williams
                        2418 Jonathan Ave
                        Rockford, IL 61103


                        Maxine Lindell
                        307 South Chestnut St.
                        Byron, IL 61010


                        Maya Farmer
                        1000 Chamberlain Street #503
                        Rockford, IL 61107


                        MAZEN WASEL
                        1463 GRAND LAKE RD.
                        SYDNEY, NS B1M1A7
                        CANADA


                        MCPHEE LISA
                        24 ERIN LEAH DR.
                        SYDNEY, NS B1L1G9
                        CANADA


                        MD. RIFAT SHEIKH
                        43 TRINITY AVE. APT. #3
                        SYDNEY, NS B1P4Z4
                        CANADA


                        Mediacom
                        Attn: Pres, GP or Mng Member
                        PO Box 5744
                        Carol Stream, IL 60197-5744


                        Megan Padilla Martinez
                        6340 Garrett Lane
                        Rockford, IL 61107


                        Megan Whipple
                        5440 Windsor Road Apt 2A
                        Loves Park, IL 61111
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                        MEGHAN BRUSHETT
                        3788 SUTHERLAND AVE.
                        NEW WATERFORD, NS B1H2K4
                        CANADA


                        MELANIE CAMPBELL
                        1142 VICTORIA RD.
                        SYDNEY, NS B1N1L2
                        CANADA


                        MELANIE DYER
                        87 - B HIGH STREET
                        SYDNEY, NS B1P6Y1
                        CANADA


                        MELANIE MASON
                        23 MAY TERRACE
                        SYDNEY, NS B1N3J2
                        CANADA


                        MELINDA FOUGERE
                        161 WELTON STREET
                        SYDNEY, NS B1P5R9
                        CANADA


                        Melinda Montoya
                        5223 Linden Road #7101
                        Rockford, IL 61109


                        Melisa Tilley
                        3023 Arcadia Terrace
                        Rockford, IL 61101


                        Melissa Aguirre
                        819 Peter Ave
                        Rockford, IL 61108


                        Melissa Campa
                        2339 10th Street
                        Rockford, IL 61104


                        MELISSA DAVIDSON
                        24 STERLING RD.
                        GLACE BAY, NS B1A3X5
                        CANADA
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                        MELISSA FORREST
                        427 ATLANTIC STREET
                        SYDNEY MINES, NS B1V1X2
                        CANADA


                        Melissa Gordon
                        PO Box 324
                        Elgin, IL 60120


                        MELISSA HODDER
                        53 SIDELLA DR.
                        SYDNEY, NS B1P4A6
                        CANADA


                        Melissa Spencer
                        4825 Linden Rd. Apt. 522
                        Rockford, IL 61109


                        Melissa Weiss
                        4031 Pinecrest Road
                        Rockford, IL 61107


                        Melody Parker
                        1033 Hess Court
                        Rockford, IL 61101


                        Melva Hurtado
                        5856 Strathmoor Drive
                        Rockford, IL 61107


                        MELVIN WADDEN
                        125 FIRST ST.
                        SYDNEY, NS B1N1Y8
                        CANADA


                        Mercedes Cruzado
                        1031 Ridge Ave
                        Rockford, IL 61103


                        Meriam Nedlic
                        4425 Trevor Circle Apt 7
                        Rockford, IL 61109
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                        Meysha Jones-Morse
                        2128 Hecker Avenue
                        Rockford, IL 61103


                        MICAELA MACKENZIE
                        283 B LAKE RD.
                        GLACE BAY, NS B1A2H2
                        CANADA


                        Micah Eisman
                        1301 8th Street
                        Rockford, IL 61104


                        MICHAEL ALAGBE
                        50 TOWERVIEW PL.
                        SYDNEY, NS B1S3B8
                        CANADA


                        MICHAEL BEATON
                        116 TAYLOR ST.
                        SYDNEY, NS B1N2W4
                        CANADA


                        Michael Buckmiller
                        210 32nd Ave. N
                        Fargo, ND 58102


                        MICHAEL CANTWELL
                        3 BEACON ST. APT. #24
                        NORTH SYDNEY, NS B2A3R3
                        CANADA


                        Michael Forde
                        106 Wenatchee Way
                        Poplar Grove, IL 61065


                        Michael Fuller
                        1621 8th Street
                        Rockford, IL 61104


                        Michael Gonzales
                        2736 City View Court
                        Rockford, IL 61103
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                        Michael Hanson
                        1124 N. Court Street
                        Rockford, IL 61103


                        Michael Holmon
                        122 Willard Avenue
                        Rockford, IL 61101


                        MICHAEL LEBLANC
                        127 DOMINION STREET
                        GLACE BAY, NS B1A3N2
                        CANADA


                        MICHAEL MACDONALD
                        1 Arthur St.
                        GLACE BAY, NS B1A3Y3
                        CANADA


                        MICHAEL MACNEIL
                        234 DOMINION ST.
                        GLACE BAY, NS B1A3N4
                        CANADA


                        MICHAEL MCINNIS
                        212 SHAFT STREET
                        GLACE BAY, NS B1A6H4
                        CANADA


                        MICHAEL MILLER
                        14 DAVID ST.
                        GLACE BAY, NS B1A3Y8
                        CANADA


                        Michael Pinker
                        1800 Darby Lane
                        Davis, IL 61019


                        Michael Segers
                        924 East Grant Ave.
                        Beloit, WI 53511


                        Michael Stone
                        4507 Perry Ridge Lane
                        Loves Park, IL 61111
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                        Michael Woods
                        608 Lexington Avenue
                        Rockford, IL 61102


                        MICHAELA KELLY
                        512 SAINT JOSEPH ST.
                        NEW WATERFORD, NS B1H4G1
                        CANADA


                        Michalsen Office Furniture, Inc.
                        Attn: Pres, GP or Mng Member
                        8014 North Second Street
                        Machensey Park, IL 61115


                        MICHELE SKINNER
                        241 GARACRE ST.
                        SYDNEY, NS B1N1Z4
                        CANADA


                        MICHELE SYNETTE
                        1080 GEORGE STREET
                        SYDNEY, NS B1P1N1
                        CANADA


                        Michelle Bartelli
                        417 Walnut Street, Apt 2
                        Rockford, IL 61104


                        Michelle Bryant
                        2813 Cascade Drive
                        Rockford, IL 61108


                        Michelle Curtis
                        3255 Dartmouth Dr.
                        Rockford, IL 61108


                        Michelle Harrington
                        1409 Magnolia, Apt 1
                        Rockford, IL 61104


                        Michelle James
                        515 Hill Street #1
                        Rockford, IL 61107
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                        MICHELLE MCEACHERN
                        392 TOWNSED ST., APT. 2
                        SYDNEY, NS B1P5G4
                        CANADA


                        MICHELLE PUDDICOMBE
                        74 JAMES ST.
                        SYDNEY, NS B1N2S1
                        CANADA


                        Michelle Purifoy
                        1119 N. Winnebago St. Apt 2
                        Rockford, IL 61103


                        Michelle Teeters
                        666 S. Bluff St. Lot 318
                        South Beloit, IL 61080


                        Michigan Dept. of Treasury
                        Collection Services Bureau
                        P.O. Box 30199
                        Lansing, MI 48909-7699


                        Miesha Edwards
                        1030C School St
                        Rockford, IL 61101


                        Miesha Townsend
                        402 Central Avenue
                        Rockford, IL 61102


                        Mieya Walker
                        4235 Ashwinton Way
                        Rockford, IL 61109


                        Miguel Ruiz
                        4444 Kellee Lane
                        Loves Park, IL 61111


                        MIKAYLA MACDONALD
                        20 DALTON LANE
                        SYDNEY, NS B1N2Z7
                        CANADA
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                        Mindshift Technologies
                        Attn: Pres, GP or Mng Member
                        309 Waverley Oaks Road
                        Waltham, MA 02452


                        Mindy McManamay
                        2131 Harrison Avenue Lot W14
                        Rockford, IL 61104


                        Miracle Carmichael
                        1832 North Main Street Apt 213
                        Rockford, IL 61103


                        Miracle Cullins
                        2023 Jonathan Avenue
                        Rockford, IL 61103


                        Miracle Howard
                        1035 Ridge Avenue
                        Rockford, IL 61103


                        Miracle Thomas
                        1416 Sherman Street
                        Rockford, IL 61101


                        Miracle Williams-Holland
                        2303 Sherman Ave.
                        Rockford, IL 61101


                        Miranda Jakubowski
                        1410 Ridge Ave
                        Rockford, IL 61103


                        Mirna Hernandez
                        1526 16th Ave.
                        Rockford, IL 61104


                        Mirrissa Phillips
                        632 Bohm Ave.
                        Rockford, IL 61107
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                        MITCHELL WILLIAMS
                        12 SCHOOL STREET
                        SYDNEY, NS B1H3X2
                        CANADA


                        Miya Van De Poele
                        5575 Andrews Drive Apt 3
                        Roscoe, IL 61075


                        MOHAMED ELGHAMRY
                        136 UNIVERSITY BLVD
                        SYDNEY, NS B1M1A2
                        CANADA


                        MOHAMMAD ABU HASAN
                        114 A MACAULAY'S DR.
                        SYDNEY, NS B1P3Z9
                        CANADA


                        MONA MOMBOURQUETTE
                        87 MATILDA STREET
                        SYDNEY, NS B1N2T3
                        CANADA


                        Monica Davis
                        833 North Winnebago St.
                        Rockford, IL 61103


                        Monica Pelaez
                        3571 Shattuck Lane
                        Rockford, IL 61114


                        Monique Brown
                        1627 Overdene Avenue
                        Rockford, IL 61103


                        MONIQUE DAWSON
                        218 EAST JAMES STREET
                        SYDNEY, NS B1N2S9
                        CANADA


                        Monique Green
                        1410 Campus Hills Blvd.
                        Rockford, IL 61103
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                        Monique Hill
                        4205 Crandall Ave
                        Rockford, IL 61101


                        Monique Thomas
                        1416 Sherman
                        Rockford, IL 61101


                        Montoria Clark
                        1431 Benton Street
                        Rockford, IL 61101


                        Montrel Bell
                        855 Haskell Ave.
                        Rockford, IL 61103


                        MORGAN BISHOP
                        42 LORWAY AVE.
                        SYDNEY, NS B1P4Z2
                        CANADA


                        MORGAN CURRY
                        91 COLDBROOK DR.
                        SYDNEY, NS B1L1G8
                        CANADA


                        MOUSTAFA EID
                        483 GRANDLAKE ROAD
                        SYDNEY, NS B1P5T3
                        CANADA


                        Moustafa Ghareeb
                        4012 Beach Street
                        Rockford, IL 61108


                        Mya Bruce
                        6327 Wicklow Court
                        Rockford, IL 61107


                        Myaisha Phinnessee
                        1434 W Jefferson Street
                        Rockford, IL 61101
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                        Myana Walker
                        8625 Trudy Road
                        Rockford, IL 61108


                        Myesha Jones
                        1641 Charles Street
                        Rockford, IL 61104


                        MYLES MOMBOURQUETTE
                        58 ST, PETER'S FOURCHU RD.
                        LOWER L 'ARDOISE, NS B0E1W0
                        CANADA


                        Myriah Glenn
                        620 Kishwaukee Apt 10
                        Rockford, IL 61104


                        Mytika Taylor
                        3312 Sablewood Drive
                        Rockford, IL 61101


                        Nadean Bell
                        P. O. Box 5314
                        Bridgeport, CT 06610


                        Nadia Jackson
                        2708 School Street
                        Rockford, IL 61101


                        Nadia Phipps
                        5021 Linden Rd Apt 13315
                        Rockford, IL 61109


                        Nadine Massenat
                        535 Score Street
                        Rockford, IL 61109


                        Nadis Howell Jr
                        4222 Marsh Ave
                        Rockford, IL 61114
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                        Nakia Johnson
                        4916 Harrison Ave. Apt 1
                        Rockford, IL 61108


                        NAKITA PENTECOST
                        476 COTTAGE RD.
                        SYDNEY, NS B1P6V7
                        CANADA


                        Nala Hurtado
                        5856 Strathmoor Dr
                        Rockford, IL 61107


                        Nancy Creel
                        206 Pennsylvania Ave.
                        Loves Park, IL 61111


                        NANCY DAWE
                        18 MULLERS LANE
                        SYDNEY, NS B1P4J9
                        CANADA


                        Nancy Lopez
                        3007 Huffman Boulevard
                        Rockford, IL 61103


                        Nancy Reyes
                        1028 Avenue E
                        Rochelle, IL 61068


                        Naomi Erickson
                        5059 Linden Road
                        Rockford, IL 61109


                        NAOMI MACDONALD
                        258 GATACRE ST.
                        SYDNEY, NS B1N1Z5
                        CANADA


                        NARIMAN ISSIN
                        77 GEORGE ST.
                        SYDNEY, NS B1P1H6
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 175 of 246




                        Nastasshia Hardy
                        523 S. Rockford Avenue
                        Rockford, IL 61104


                        Natalie Okinski
                        1965 W Riverside Blvd
                        Rockford, IL 61103


                        Natalie Spencer
                        912 Furman Street
                        Rockford, IL 61101


                        Natasha Herring
                        1420 Arthur Avenue
                        Rockford, IL 61101


                        Natasha Lilly
                        2704 Burrmont Rd
                        Rockford, IL 61107


                        Natasha Smith
                        3070 Beutell Lane
                        Machesney Park, IL 61115


                        Nathan Greenberg
                        12971 Springhill Drive
                        Winnebago, IL 61108


                        Nathan White
                        502 1/2 Euclid Ave.
                        Beloit, WI 53511


                        Nealandra Jackson
                        1625 Remington Rd.
                        Rockford, IL 61108


                        NEELIE FLIEGEL-DOUCET
                        1923 POINT EDWARD HWY.
                        EDWARDSVILLE, NS B2A4S2
                        CANADA
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                        NEIL FOUGERE
                        161 WELTON ST.
                        SYDNEY, NS B1P5N9
                        CANADA


                        NEIL MACLEAN
                        478 BRAS D'OR RD.
                        FLORENCE, NS B1Y1C9
                        CANADA


                        NEILA MACLEOD
                        3102 ROACHES ROAD
                        NEW WATERFORD, NS B1H1N6
                        CANADA


                        NELENA FIELD
                        140 MONTEITH AVE.
                        SYDNEY, NS B1R1L1
                        CANADA


                        Nia Simba
                        7544 Stanton Ave.
                        Rockford, IL 61109


                        Niall O'Sullivan
                        5831 Garrett Lane Apt 3
                        Rockford, IL 61107


                        Nichelle Moore
                        4315 Yale Drive
                        Rockford, IL 61109


                        NICHOL EPIFANO
                        50 THIRD ST.
                        HOWIE CENTRE, NS B1L1C9
                        CANADA


                        NICHOLAS FAHEY
                        148 BUCKINGHAM DR.
                        SYDNEY, NS B1S1X3
                        CANADA


                        Nicholas Haley
                        1128 West St
                        Rockford, IL 61104
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                        NICHOLAS HEAD
                        43 LORWAY AVE.
                        SYDNEY, NS B1P4Z3
                        CANADA


                        Nicholas Marsh
                        1339 Linda Avenue
                        Rockford, IL 61102


                        Nichole Kempthorne
                        523 N Sunset Ave
                        Rockford, IL 61101


                        Nichols Weyl
                        607 Oak Knoll Avenue
                        Rockford, IL 61107


                        NICHOLSON HARDWARE
                        Attn: Pres, GP or Mng Member
                        1131 SECOND AVE
                        ROCKFORD, IL 61104


                        Nicolas Ludlow
                        4238 Harrison Avenue Apt 204
                        Rockford, IL 61108


                        NICOLE APESTEGUY
                        1795 KINGS RD.
                        SYDNEY, NS B1L1C5
                        CANADA


                        Nicole Buntjer
                        5885 Gables Drive
                        Loves Park, IL 61111


                        Nicole Ennis
                        5395 Heartwood Lane
                        Roscoe, IL 61073


                        Nicole Herron
                        5274 Pebble Ln
                        Loves Park, IL 61111
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                        Nicole Housley
                        2280 Sunshine Lane
                        Beloit, WI 53511


                        Nicole Krieter
                        804 18th Street
                        Rockford, IL 61104


                        NICOLE MACINTOSH
                        8 MACQUIRE DRIVE
                        SYDNEY, NS B1P3E3
                        CANADA


                        NICOLE MACPHEE
                        3281 ESKASOAI RD.
                        EAST BAY, NS B1J1K1
                        CANADA


                        NICOLE MOSS-DELONG
                        103 LORNE ST.
                        SYDNEY, NS B1N3H6
                        CANADA


                        NICOLE MULLIN
                        185 ASHBY ROAD
                        SYDNEY, NS B1P2S5
                        CANADA


                        NICOLE PARSONS
                        812 UPPER PRINCE ST.
                        SYDNEY, NS B1P5N7
                        CANADA


                        Nicole Pecen
                        1236 S. Winnebago St. Apt 4
                        Rockford, IL 61102


                        Nicole Reed
                        1501 Meadow Court
                        Rockford, IL 61104


                        Nicole Smith
                        4520 Apple Orchard Lane Apt 2
                        Rockford, IL 61108
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                        NICOLE SPARROW
                        45 CAMERON ESTATES, APT 3 12
                        SYDNEY, NS B1P6X9
                        CANADA


                        Nicor Gas
                        Attn: Pres, GP or Mng Member
                        PO BOX 5407
                        Carol Stream, IL 60197-5407


                        Nicor Gas
                        Attn: Pres, GP or Mng Member
                        P.O. Box 5407
                        Carol Stream, IL 60197-5407


                        Niesha Johnson
                        3317 Searles Avenue
                        Rockford, IL 61101


                        NIJIN JOSEPH
                        243 BENTINCK ST.
                        SYDNEY, NS B1P1H1
                        CANADA


                        Nikeya Alexander
                        948 South 3rd St Apt 2
                        Rockford, IL 61104


                        Nikeya Jones
                        3121 Liberty Drive
                        Rockford, IL 61101


                        Nikiya Mangruem
                        623 Score Street
                        Rockford, IL 61109


                        Nikolas Williams
                        312 South Gardiner
                        Rockford, IL 61104


                        Nitosha Harris
                        216 Lexington Ave.
                        Rockford, IL 61102
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                        NOAH BOUTILIER
                        90 D MACAULAYS LANE
                        SYDNEY, NS B1P3Z9
                        CANADA


                        NOAH MACASKILL
                        79 MOXHAM DR.
                        SYDNEY, NS B1S1Z9
                        CANADA


                        Noelle Galberth
                        5407 Midvale Dr #8
                        Rockford, IL 61108


                        Noemi Jacobo
                        817 Wisconsin Avenue
                        Beloit, WI 53511


                        NORMAN MACDOUGALL
                        395 ALEXANDRA ST.
                        SYDNEY, NS B1S2G5
                        CANADA


                        North Park Public Water
                        Attn: Pres, GP or Mng Member
                        1350 TURRET DRIVE
                        MACHESNEY PARK, IL 61115


                        Nova Scotia Power, Inc.
                        Attn: Pres, GP or Mng Member
                        P.O. Box 848
                        Halifax, NS B3J 2V7
                        Canada


                        Nyesha Gibson
                        1719 Remington Road
                        Rockford, IL 61108


                        Nyeshia Lottie
                        1317 Garrison Avenue
                        Rockford, IL 61103


                        Octavia Heard
                        3222 Darwood Dr
                        Rockford, IL 61101
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                        Office Interiors
                        Attn: Pres, GP or Mng Member
                        656 Windmill Road
                        Darthmouth, NS B3B 1B8
                        Canada


                        Office Interiors
                        Attn: Pres, GP or Mng Member
                        656 Windmill Road
                        Dartmouth, NS B3B 1B8
                        Canada


                        Office Interiors
                        Attn: Lise Noel
                        656 Windmill Road
                        Dartmouth, NS B3B 1B8
                        Canada


                        Office Interiors
                        Attn: Tiffany Mitchell
                        656 Windmill Road
                        Dartmouth, NS B3B 1B8
                        Canada


                        OLADIPUPO OJO
                        157 ARGYLE ST. UNIT 4
                        SYDNEY, NS B1S2V5
                        CANADA


                        Olga Williams
                        4839 Linden Road Apt 1711
                        Rockford, IL 61109


                        Olga Zayas
                        5410 Midvale Drive, Apt 101
                        Rockford, IL 61108


                        OLIVE BARTLETT
                        227 CHAMPLAIN AVE
                        SYDNEY, NS B1P2B9
                        CANADA


                        Olivia Allen Limberg
                        1719 Tacoma Avenue
                        Rockford, IL 61103
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                        Olivia Fiorenza
                        2120 North Winnebago Road
                        Winnebago, IL 61088


                        Olivia Helm
                        3012 Sunnyside Drive, Apt 8
                        Rockford, IL 61114


                        OPTIMUM
                        Attn: Pres, GP or Mng Member
                        PO Box 742698
                        CINCINATTI, OH 45274-2698


                        Orkin Canada Corporation
                        Attn: Pres, GP or Mng Member
                        5840 Falbourne Street
                        Mississauga, ON L5R 4B5
                        Canada


                        Orkin Pest Control
                        Attn: Pres, GP or Mng Member
                        200 Main Street
                        Suite C
                        Monroe, CT 06468-1174


                        ORKIN, 614-ROCKFORD, IL
                        Attn: Pres, GP or Mng Member
                        PO BOX 8619
                        ROCKFORD, IL 61109


                        OSASUN ESANGBEDO
                        136 UNIVERSITY BLVD.
                        SYDNEY, NS B1M1A2
                        CANADA


                        OVO BARBRA AMURUN
                        111 LAURIER ST.
                        SYDNEY, NS B1N2B6
                        CANADA


                        Paige Smith
                        4620 Orchard Ln
                        Rockford, IL 61101
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                        Pamela Hall
                        300 College Ave. Apt 11
                        Rockford, IL 61104


                        PAMELA LESNICK
                        73 BROOKVIEW DR.
                        SYDNEY, NS B1P6N3
                        CANADA


                        Pamela Schoonover
                        229 West Harrison Street
                        Belvidere, IL 61008


                        Paris Gordon
                        3617 Schalck Dr
                        Rockford, IL 61103


                        Patience Maples
                        302 Euclid Avenue
                        Rockford, IL 61102


                        Patrice Cunningham
                        903 Euclid Ave
                        Beloit, WI 53511


                        Patrice Gordon
                        305 Webster Avenue
                        Rockford, IL 61102


                        PATRICIA LUSK
                        196 ASHBY RD.
                        SYDNEY, NS B1P2S7
                        CANADA


                        Patricia McHaney
                        1035 Benton Street Apt 2
                        Rockford, IL 61107


                        PATRICIA MUNROE
                        64 MITCHELL AVE.
                        DOMINION, NS B1G1M4
                        CANADA
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                        PATRICIA SPARLING
                        10 FITZGERALD PLACE
                        SYDNEY, NS B1N2C9
                        CANADA


                        PATRICK BRAYON
                        96 SUNNYDALE DR.
                        SYDNEY, NS B1R1J3
                        CANADA


                        Patrick Kirby
                        2202 Churchview Dr Unit C
                        Rockford, IL 61107


                        Patrick Tufly
                        1003 Colonial Drive
                        Machesney Park, IL 61115


                        Patten Industries, Inc.
                        Attn: Pres, GP or Mng Member
                        75 REMITTANCE DRIVE
                        DEPT 3173
                        Chicago, IL 60675-3173


                        Pattison Outdoor Advertising
                        Attn: Jake Alward
                        2700 Matheson Blvd East, Ste. 500, West
                        Missisauga, ON L4W 4V9
                        Canada


                        Paul Devaul
                        451 Bancroft Ct Apt 4
                        Rockford, IL 61107


                        PAUL IVEY
                        30 STACEY AVE.
                        NORTH SYDNEY, NS B2A3P4
                        CANADA


                        PAUL POWER
                        52 3RD AVENUE
                        FLORENCE, NS B1Y1R9
                        CANADA
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                        Paula Gregory
                        1128 14th St Apt 1
                        Rockford, IL 61104


                        Pazzaz Breedlove
                        932 North Court Street - Front
                        Rockford, IL 61103


                        PEARL HAYES
                        587 King Street
                        New Waterford, NS B1H3Y9
                        CANADA


                        PEGGY DENNIS
                        4 RASPBERRY LANE
                        ESKASONI, NS B1W1A9
                        CANADA


                        Penny Martens
                        2636 Broadmoor Drive, #2
                        Rockford, IL 61108


                        PER MAR Security Services
                        Attn: Pres, GP or Mng Member
                        PO Box 1101
                        Davenport, IA 52805-1101


                        PER MAR SECURITY SERVICES
                        Attn: Pres, GP or Mng Member
                        P O BOX 1101
                        Davenport, IA 52805-1101


                        PETER FERGUSON
                        446 ALEANDRA ST. APT. #1
                        SYDNEY, NS B1S2G6
                        CANADA


                        Peter Huber
                        107 Cornwall Circle
                        Poplar Grove, IL 61065


                        Peyton Borden
                        6458 Harvest Lane
                        Machesney Park, IL 61115
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                        Phinetta Baker
                        2106 School St
                        Rockford, IL 61101


                        Pierre Hubbard
                        2551 Anderson St.
                        Rockford, IL 61102


                        Pitney Bowes Global Financial
                        Attn: Pres, GP or Mng Member
                        P O BOX 371887
                        Pittsburg, PA 15250-7887


                        Pitney Bowes Global Financial
                        Attn: Pres, GP or Mng Member
                        PO Box 371887
                        Pittsburgh, PA 15250-7887 USA


                        Pitney Bowes Purchase Power
                        Attn: Pres, GP or Mng Member
                        PO BOX 371874
                        Pittsburg, PA 15250 USA


                        Pitney Bowes Purchase Power
                        Attn: Pres, GP or Mng Member
                        P O BOX 371874
                        Pittsburg, PA 15250-7874


                        Porche Manns
                        948 N. Court Street
                        Rockford, IL 61103


                        Porchelashay Johnson
                        1101 Lincoln Ave
                        Rockford, IL 61103


                        Porsha Fuzzell
                        503 Webster Avenue
                        Rockford, IL 61102


                        Precious Haywood
                        4523 Apple Orchard Lane
                        Rockford, IL 61108
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                        PRISCELLA POLCHIES
                        6 SANWELL PAUL DR, APT. 11
                        ESKASONI, NS B1W1B1
                        CANADA


                        Priscilla Kelly
                        2011 Montague Street
                        Rockford, IL 61102


                        Pro-Source Distributors Inc
                        Attn: Pres, GP or Mng Member
                        2613 11TH STREET
                        ROCKFORD, IL 61109


                        PUSHPA RATHOR
                        3 STRATHCONA STREET
                        SYDNEY, NS B1R1X7
                        CANADA


                        Quanica Wilkerson
                        4969 Linden Rd Apt 1447
                        Rockford, IL 61109


                        Quantel Blaylock
                        1305 Pierce Ave
                        Rockford, IL 61102


                        Quavash Avery
                        1208 School Street
                        Rockford, IL 61101


                        Queen Thomas
                        1225 Sherman Avenue
                        Rockford, IL 61101


                        Quinnshawn Baker-Eiland
                        1098 Willowick Lane
                        Rockford, IL 61108


                        Quintasha Parham
                        3617 1/2 Schalck Drive
                        Rockford, IL 61103
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                        Quortell Reddic
                        1611 School St
                        Rockford, IL 61101


                        Rachel Cardenas
                        713 Buchanan St.
                        Belvidere, IL 61008


                        Rachel Davis
                        2328 9th Ave
                        Rockford, IL 61104


                        RACHEL SMITH
                        87 RANNI CRES.
                        SYDNEY, NS B1S3E1
                        CANADA


                        Rachel Watkins
                        1315 Andrews St
                        Rockford, IL 61101


                        Rachelle Barrow
                        4947 Linden Rd
                        Rockford, IL 61109


                        Raeshema Young
                        824 Irving Avenue
                        Rockford, IL 61101


                        Raffiyia Goolsby
                        914 N. Court St. Apt 8
                        Rockford, IL 61103


                        Raina Grove
                        227 8th Street
                        Rockford, IL 61104


                        RALPH WEATHERBEE
                        48 BEECH STREET
                        SYDNEY, NS B1P3B6
                        CANADA
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                        Ramah Abdullah
                        195 Flintridge Drive
                        Rockford, IL 61107


                        Ramzy Halaikah
                        5049 Linden Road
                        Rockford, IL 61109


                        Randy Banfi
                        1015 Benton Street
                        Rockford, IL 61107


                        Ranika Hayes
                        3239 Conover Drive
                        Rockford, IL 61114


                        Raphael Pittman
                        2918 Sitka Lane
                        Rockford, IL 61101


                        Rasheon Johnson
                        2630 Skokie Drive
                        Rockford, IL 61108


                        Raven Henderson
                        351 Cole Avenue
                        Rockford, IL 61102


                        Raven Sarles
                        1103 S. Independence Ave
                        Rockford, IL 61102


                        Ray Howard
                        607 N. Rockton Avenue
                        Rockford, IL 61103


                        RAYLENE GRANT
                        246 HIGHWAY 105
                        NORTH SYDNEY, NS B2A3H3
                        CANADA
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                        RAYMOND BLOIS
                        44 RESERVOIR AVE.
                        GLACE BAY, NS B1A4M4
                        CANADA


                        RAYMOND BRESSON
                        1275 MAIN ST.
                        GLACE BAY, NS B1A5A5
                        CANADA


                        Raynee Hayes
                        2032 Price St.
                        Rockford, IL 61103


                        Rayshawn Hayes
                        3239 Conover Dr
                        Rockford, IL 61114


                        Reality Haywood
                        4523 Apple Orchard Lane
                        Rockford, IL 61108


                        Reba Rucker
                        115 South Hinkley
                        Rockford, IL 61102


                        Rebecca Bramlett
                        5011 Linden Road #14116
                        Rockford, IL 61109


                        Rebecca Knoll
                        1116 West Jackson Street
                        Beloit, WI 53511


                        Rebecca Medley
                        706 Grand
                        Loves Park, IL 61111


                        REBECCA RATCHFORD
                        241 LING ST.
                        NEW WATERFORD, NS B1H3L1
                        CANADA
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                        Rebekah Christen
                        6712 Montague Road
                        Rockford, IL 61102


                        Reginaldna Stewart
                        1105 Irving
                        Rockford, IL 61101


                        RENAE ROBERTS
                        25 CAMPBELL STREET APT #1
                        SYDNEY, NS B1P1E8
                        CANADA


                        Renika Wilson
                        3420 Harrison Ave #5
                        Rockford, IL 61108


                        Reshonda Holliman
                        330 Cole Ave.
                        Rockford, IL 61102


                        Restajzha Wright
                        908 8th Ave Ct
                        Rockford, IL 61104


                        Reynaldo Garay
                        5008 Talaton Street
                        Loves Park, IL 61111


                        REZAUL CHOWDHURY
                        43 TRINITY AVE.
                        SYDNEY, NS B1P4Z4
                        CANADA


                        Rhiannon Pattison
                        719 Grand Ave.
                        Loves Park, IL 61111


                        Rian Russell
                        404 Gramercy Court #10
                        Rockford, IL 61107
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                        Richard Kelley
                        103 Benedict Drive
                        Poplar Grove, IL 61065


                        RICHARD KING
                        65 BORDEN ST.
                        GLACE BAY, NS B1A7Y5
                        CANADA


                        Richard Nelson
                        1649 1/2 Charles St.
                        Rockford, IL 61104


                        RICHARD TOBIN
                        107 INGLIS STREET
                        SYDNEY, NS B1P1W9
                        CANADA


                        RICHARD WHEELIKER
                        20 TOMETARY DR.
                        SYDNEY, NS B1L1G3
                        CANADA


                        RICK WARD
                        436 WHITNEY AVE.
                        SYDNEY, NS B1P5A7
                        CANADA


                        RICKY MACDOUGALL
                        6989 GRAND NARROWS HWY.
                        BIG BEACH, NS B1T1L9
                        CANADA


                        Ricky Rose
                        3428 Harrison Avenue
                        Rockford, IL 61108


                        Rina Bryant
                        1118 9th Avenue Apt 1
                        Rockford, IL 61104


                        RITA MACLELLAN
                        28 BAYVIEW ST
                        SYDNEY, NS B1S2C5
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 193 of 246




                        RKDixon
                        Attn: Pres, GP or Mng Member
                        P O BOX 856699
                        MINNEAPOLIS, MN 55485-6699


                        ROB HALLIDAY
                        47 JACOB ST.
                        SYDNEY MINES, NS B1V2P1
                        CANADA


                        ROB PARSONS
                        156 FATIMA DR.
                        SYDNEY, NS B1P1L8
                        CANADA


                        Robbi Boyd
                        903 11th St.
                        Rockford, IL 61104


                        ROBERT BETHELL
                        9 BURCHELL ST.
                        SYDNEY MINES, NS B1V2P9
                        CANADA


                        ROBERT BOUTILIER
                        90-D MACAULAY'S DR.
                        SYDNEY, NS B1P3Z9
                        CANADA


                        ROBERT CONFIANT
                        60 MCAULLEYS DR.
                        SYDNEY, NS B1P4A1
                        CANADA


                        ROBERT DUNN
                        68 MELODY LANE
                        SYDNEY, NS B1P3K3
                        CANADA


                        ROBERT GREGAN
                        60 MARINER DR.
                        SYDNEY, NS B1R0A7
                        CANADA
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                        Robert Holliman
                        2126 Welworth Avenue
                        Rockford, IL 61109


                        ROBERT JEWELLS
                        95 2ND ST
                        GLACE BAY, NS B1A4E4
                        CANADA


                        Robert Johnson
                        2328 Melrose Street Apt 1
                        Rockford, IL 61103


                        ROBERT MACEACHERN
                        48 HANKIN STREET
                        SYDNEY MINES, NS B3C1M3
                        CANADA


                        ROBERT MACLEAN
                        33 GEORGE ST.
                        SYDNEY, NS B1P1H4
                        CANADA


                        Robert Staten Jr
                        616 N. Rockton Ave
                        Rockford, IL 61103


                        Robert Taylor
                        1011 Broadway St Apt 3
                        Rockford, IL 61104


                        ROBERT TONARY
                        2248 LINGAN ROAD
                        LINGAN, NS B1H5H9
                        CANADA


                        ROBERT WHALEN
                        9 MAIN ST.
                        SYDNEY, NS B1P6Z8
                        CANADA


                        Robert Woiccak
                        124 Foster Street #2
                        New Haven, CT 06511
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                        Robin De Grazia
                        2001 School Street
                        Rockford, IL 61101


                        ROBIN DUFF
                        29 SIDELLA DR
                        SYDNEY, NS B1P4A6
                        CANADA


                        Robin Rush
                        3805 Linden Road
                        Rockford, IL 61109


                        Robin Wait
                        203 W. Main St. Apt. 3
                        Genoa, IL 60135


                        ROBYN MACNEIL
                        25 LAKELAND DRIVE
                        GROVE POINT, NS B1Y2W4
                        CANADA


                        Rochelle Smith
                        PO Box 1574
                        Rockford, IL 61110


                        Rock River Service Co
                        Attn: Pres, GP or Mng Member
                        2222 Charles Street
                        Rockford, IL 61104


                        ROCK RIVER WATER RECLAMATION
                        Attn: Pres, GP or Mng Member
                        P O BOX 6207
                        ROCKFORD, IL 61125-1207


                        ROD SWEENEY
                        124 CATHERINE ST.
                        SYDNEY, NS B1N2W3
                        CANADA


                        Rodney Potts
                        1832 North Main
                        Rockford, IL 61103
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                        RONALD DELESKIE
                        18 DALEY ROAD
                        NEW VICTORIA, NS B1H4Z4
                        CANADA


                        Ronald Harper Jr
                        528 N. Court
                        Rockford, IL 61103


                        RONALD MACDONALD
                        201 WALLACE RD.
                        GLACE BAY, NS B1A4N8
                        CANADA


                        RONALD MCKINNON
                        18 DALEY ROAD
                        NEW VICTORIA, NS B1H4Z4
                        CANADA


                        Ronald Young
                        416 Independence Avenue
                        Rockford, IL 61102


                        RONNIE MCPHEE
                        97 ROCKDALE AVE.
                        SYDNEY, NS B1P1Z3
                        CANADA


                        Rosa Flores
                        1216 Revell Avenue
                        Rockford, CT 61107


                        Rosalba Moreno
                        977 North Church Street Apt 2
                        Rockford, IL 61103


                        Rosalia Mendiola
                        2744 N. Robinson Drive Apt 4
                        Beloit, WI 53511


                        Rosalinda Bowers
                        2125 Quincy Street
                        Rockford, IL 61103
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                        ROSEMARIE WOODS
                        191 BUNGALOW ROAD
                        COXHEATH, NS B1R1T3
                        CANADA


                        Rosina Reed
                        528 Score St.
                        Rockford, IL 61109


                        Roslyn Price
                        2109 Tobyne Drive
                        Belvidere, IL 61008


                        Rott Kitchell
                        5381 East Macklin Rd.
                        Stillman Valley, IL 61084


                        Ruby Valencia
                        2725 Wintergreen Drive
                        Rockford, IL 61109


                        Russell Barbary
                        611 South Horace Avenue
                        Rockford, IL 61102


                        RUSSELL MORRISON
                        15 DOLPHIN CRES.
                        GLACE BAY, NS B1A3T1
                        CANADA


                        RUTH MARCH
                        955 B Shore Rd
                        SYDNEY MINES, NS B1V1B2
                        CANADA


                        Ruthy Cantrell
                        947 N. Rockton Avenue
                        Rockford, IL 61103


                        RYAN BURKE
                        63 C ROCKCLIFF CRES.
                        SYDNEY, NS B1P2Y4
                        CANADA
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                        RYAN ELDRIDGE
                        153 AMELIA ST.
                        SYDNEY, NS B1H2Y4
                        CANADA


                        Ryan Gray
                        1730 Pershing Avenue
                        Rockford, IL 61109


                        RYAN HILL
                        258 KELTIC DR.
                        SYDNEY, NS B1R1V6
                        CANADA


                        Ryan Luby
                        706 Lawn Drive
                        Loves Park, IL 61111


                        RYAN MACASKILL
                        77 A ROCKCLIFF CRES.
                        SYDNEY, NS B1P4A2
                        CANADA


                        RYAN MACMULLEN
                        27 BELGUIM ST.
                        RESERVE MINES, NS B1E1A4
                        CANADA


                        Sabrina Harvey-Lerma
                        333 South Gardiner Avenue
                        Rockford, IL 61104


                        Sabrina McIntyre
                        614 Vista Terrace
                        Rockford, IL 61102


                        Sadat Hardnett
                        717 Leslie Avenue
                        Rockford, IL 61103


                        SAHIL CHOPRA
                        121 BROOKLAND ST. APT #3
                        SYDNEY, NS B1P5B5
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 199 of 246




                        Sajda Rafeegullah
                        3039 Jacqueline Ct
                        Rockford, IL 61109


                        SALEH ALMIHAIMEED
                        1346 GRAND LAKE ROAD
                        SYDNEY, NS B1M1A1
                        CANADA


                        Salih Hanoosh
                        3205 Holiday Drive
                        Rockford, IL 61109


                        Sally Rigsby
                        3348 Sun Valley Terrace Apt 5
                        Rockford, IL 61103


                        SAMANTHA BUFFETT
                        30 MOULTON AVE.
                        NORTH SYDNEY, NS B2A1Z3
                        CANADA


                        Samantha Carlson
                        2145 Parmele Street
                        Rockford, IL 61104


                        SAMANTHA DIGOU
                        8 MACNEIL RD.
                        SOUTH BAR, NS B1N3J1
                        CANADA


                        Samantha Dye
                        814 Brooke Road
                        Rockford, IL 61108


                        Samantha Holt
                        601 Albert Street
                        Rockford, IL 61101


                        SAMANTHA JESSOME
                        289 BENTICK ST. APT. #4
                        SYDNEY, NS B1P1H1
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 200 of 246




                        Samantha Marth
                        8812 N. Rood Rd.
                        Kingston, IL 60145


                        Samantha Mendoza
                        739 Dickerman Street
                        Rockford, IL 61102


                        SAMANTHA MURPHY
                        66 GORDON AVE.
                        SYDNEY, NS B1M1A6
                        CANADA


                        Samantha Robertson
                        8929 South Buffalo Ave Apt 2
                        Chicago, IL 62849


                        Samantha Williams
                        4645 Linden Rd
                        Rockford, IL 61109


                        Samara Horton
                        1723 Genoa St
                        Rockford, IL 61102


                        Samarah Jones
                        1803 Lathamt.
                        Rockford, IL 61103


                        Samareia Christopher
                        316 Foster Avenue
                        Rockford, IL 61102


                        Samaryra Welch
                        2218 Welworth Ave. Apt. 2
                        Rockford, IL 61108


                        Samiera Reddic
                        2625 Carmac Road
                        Rockford, IL 61101
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                        Samuel McGuire
                        6118 East Drive
                        Loves Park, IL 61111


                        SANDRA BONNAR
                        275 LEGATTO STREET
                        SYDNEY MINES, NS B1V2T3
                        CANADA


                        SANDRA MACDONALD
                        53 ESPLANADE STREET APT 6
                        SYDNEY, NS B1P1A2
                        CANADA


                        SANDRA MACNEIL
                        312 ESPLANADE APT. #502
                        SYDNEY, NS B1P6P4
                        CANADA


                        SANDRA MURPHY
                        66 GORDON AVENUE
                        SYDNEY, NS B1M1A6
                        CANADA


                        Sandra Shurmack
                        713 Blackhawk Blvd
                        S Beloit, IL 61080


                        SANDRA TUTTY
                        16 LANDONS WAY
                        FLORENCE, NS B1Y0B2
                        CANADA


                        Sara Bishop
                        1513 Magnolia St
                        Rockford, IL 61104


                        SARA BLINKHORN
                        34 MINTO ST.
                        GLACE BAY, NS B1A5B4
                        CANADA


                        Sara Lagunas
                        534 N Appleton Rd
                        Belvidere, IL 61008
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                        Sara Mcfadden
                        973 n. Main Street, #6
                        Rockford, IL 61103


                        Sara Parks
                        32 Collins St.
                        Rockford, IL 61109


                        SARA TONARY
                        488 10th STREET
                        NEW WATERFORD, NS B1H3X1
                        CANADA


                        SARAH BURKE
                        2852 HWY 327 DUTCH BROOK
                        SYDNEY, NS B1L1G2
                        CANADA


                        Sarah Jo Doyle
                        1523 School Street
                        Rockford, IL 61101


                        SARAH KINSLOW
                        53 SIDELLA DR.
                        SYDNEY, NS B1P4A6
                        CANADA


                        SARAH ROSE
                        15 GLENCAIRN AVE.
                        SYDNEY, NS B1R1L2
                        CANADA


                        Sarah Smith
                        1625 Herbert Ave.
                        Rockford, IL 61104


                        Sarai Barrios-Rios
                        3232 Sablewood Drive #3
                        Rockford, IL 61101


                        Sasha Fenton
                        3013 10th St
                        Rockford, IL 61109
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                        Savanah Brown
                        11763 Balsa Lane
                        Roscoe, IL 61073


                        Savannah Laster
                        3103 Carolina Ave.
                        Rockford, IL 61108


                        Savannah Lichtfuss
                        4721 Waukegan Drive
                        Rockford, IL 61108


                        Schakira Townsend
                        402 N. Central Ave.
                        Rockford, IL 61101


                        Scotia Recycling Limited
                        Attn: Pres, GP or Mng Member
                        2 Davison Street, PO Box 142
                        Hantsport, NS B0P 1P0
                        Canada


                        SCOTT MACKEIGAN
                        106 GRAY STREET
                        SYDNEY, NS B1P4L2
                        CANADA


                        Scott Osborne
                        16 Edgemont Road
                        Milford, CT 06460


                        SCOTTY MACPHERSON
                        28 CATHERINE ST.
                        NEW WATERFORD, NS B1H3C1
                        CANADA


                        SECURISEA
                        Attn: Pres, GP or Mng Member
                        201 Spear Street
                        Suite 1100
                        San Francisco, CA 94105
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                        SENSUS COMMUNICATION SOL
                        Attn: Pres, GP or Mng Member
                        124-5589 BYRNE RD
                        BURNABY, BC V5J 3J4
                        Canada


                        Sequoya McGrone
                        5703 Forest Hills Road Apt #4
                        Rockford, IL 61114


                        Serenity Dismuke
                        3936 Eagle Dr. Apt 202
                        Rockford, IL 61104


                        Serenity Hardy
                        3524 North Main Street
                        Rockford, IL 61103


                        Shakara Taylor
                        3303 Sun Valley Terrace
                        Rockford, IL 61103


                        Shakima Smith
                        441 Forest Ave
                        Rockford, IL 61101


                        Shakyia Thompson
                        2211 Grant Ave Apt 11
                        Rockford, IL 61103


                        Shameka Allen
                        5057 Limestone Ave
                        Loves Park, IL 61111


                        Shamika Johnson
                        5106 Granite Street
                        Loves Park, IL 61111


                        Shamrowniquit Martin
                        1022 Montague St.
                        Rockford, IL 61102
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                        Shanada Coleman
                        3102 Huffman Blvd
                        Rockford, IL 61103


                        Shandra Bradford
                        2920 Sandy Hollow RD Apt 5
                        Rockford, IL 61109


                        SHANE MARKS
                        18 CARANG DRIVE
                        SYDNEY, NS B1S3B7
                        CANADA


                        SHANE PYE
                        1149 MAIN STREET
                        SYDNEY MINES, NS B1V2M8
                        CANADA


                        Shane Wright
                        4647 Bunker Hill Rd
                        Loves Park, IL 61111


                        Shanea Jackson
                        2109 LA Mar Avenue
                        Rockford, IL 61108


                        Shanequa Clark
                        PO Box 6573
                        Rockford, IL 61125


                        Shanetta Jordan
                        1410 Campus Hills Boulevard
                        Rockford, IL 61103


                        Shanice Tolliver
                        2302 MUlberry Street
                        Rockford, IL 61102


                        Shaniqua Johnson
                        1203 20th Ave
                        Rockford, IL 61104
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                        Shaniqwa Porter
                        905 15th Street
                        Rockford, IL 61104


                        SHANNON BUCHANAN
                        3569 ELLSWORTH AVE.
                        NEW WATERFORD, NS B1H2G8
                        CANADA


                        SHANNON HOEG
                        48 SUTHERLAND ST.
                        SYDNEY, NS B1P2X2
                        CANADA


                        Shannon Hull
                        2417 Woodfern Way
                        Rockford, IL 61108


                        Shannon Lane
                        2300 Ridgefield Drive
                        Belvidere, IL 61008


                        Shannon Lee
                        2114 West Jefferson Street
                        Rockford, IL 61101


                        Shannon McCoy
                        4825 Creekview Road, Apt 6
                        Rockford, IL 61108


                        SHANNON MCGEAN
                        97 PECK STREET
                        SYDNEY MINES, NS B1V1V2
                        CANADA


                        SHANNON SIBLEY
                        101 MACRAE AVE.
                        SYDNEY, NS B1S1M1
                        CANADA


                        Shannon Young
                        912 Sunset Ave.
                        Rockford, IL 61101
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                        SHANTA MARSHALL
                        397 ROTARY DRIVE APT #202
                        SYDNEY, NS B1P6L5
                        CANADA


                        Shantae Zachery
                        1518 Chestnut St
                        Rockford, IL 61102


                        Shantavia Curtis
                        908 8th Ave Court #2
                        Rockford, IL 61104


                        Shante Lynch
                        2024 Rural St
                        Rockford, IL 61107


                        Shaquella Thomas
                        1316 Sherman Avenue
                        Rockford, IL 61101


                        Shaquelle Harrison
                        1308 Taylor Street
                        Rockford, IL 61101


                        Shaquil Manigault
                        5733 Covey Ridge Trail
                        Loves Park, IL 61111


                        Sharar Shelton
                        1901 Montague Street
                        Rockford, IL 61102


                        Sharetha Ferguson
                        909 Furman Street
                        Rockford, IL 61101


                        Sharie Owens
                        220 Cameron Avenue Apt. 3A
                        Rockford, IL 61102
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                        Sharnekea Faustin
                        1413 Garden Court
                        Rockford, IL 61104


                        SHARON ATHA
                        25 DRYDEN AVE
                        SYDNEY, NS B1N3K4
                        CANADA


                        SHARON MACKENZIE
                        59 MAIN STREET
                        SYDNEY, NS B1P7A4
                        CANADA


                        SHARON MCDONALD
                        31 PINE ST
                        SYDNEY, NS B1N3K6
                        CANADA


                        SHARON YATES
                        2 KENNEDY DR APT # 15
                        GLACE BAY, NS B1A5X1
                        CANADA


                        Shatieriny Gatlin
                        1007 Garfield Ave. Apt 3
                        Rockford, IL 61101


                        Shatiqua Brown
                        706 Montague St.
                        Rockford, IL 61102


                        SHAUN GRAHAM-MURPHY
                        69 RESERVOIR AVE.
                        GLACE BAY, NS B1A4M6
                        CANADA


                        SHAUN JOHNSTON
                        61 EAST ST.
                        SYDNEY, NS B1N1S7
                        CANADA


                        SHAUNA GRAHAM
                        59 Seaview St.
                        SYDNEY, NS B1N2X2
                        CANADA
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                        Shaunda Thompson
                        1401 Otto Rd
                        Machesney Park, IL 61115


                        Shavone Leach
                        1104 17th Street
                        Rockford, IL 61104


                        Shavontae Brooks
                        746 Lee Street
                        Rockford, IL 61101


                        SHAWN ANESTY
                        82 COXHEATH RD.
                        SYDNEY, NS B1R1R3
                        CANADA


                        Shawn Birnbaum
                        5265 Longvalley Dr.
                        Rockford, IL 61109


                        SHAWN COOK
                        154 DOMINION ST.
                        SYDNEY, NS B1J2V3
                        CANADA


                        Shawn Griffin
                        3441 Chateau Lane
                        Rockford, IL 61103


                        SHAWN TAYLOR
                        17 CONCORD ST.
                        GLACE BAY, NS B1A3A7
                        CANADA


                        Shawnice McCraney
                        2208 8th St Apt P6
                        Rockford, IL 61104


                        Shawntay Box
                        435 Forest Avenue
                        Rockford, IL 61101
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                        Shawntay Hudson
                        3622 Harrison Avenue
                        Rockford, IL 61108


                        SHAYE-LYNN KOWALCZYK
                        28 GLE RIDGE DR.
                        SYDNEY, NS B1L1H1
                        CANADA


                        Shaylee Rainwater
                        2220 S. 4th Street
                        Rockford, IL 61104


                        Shayne Mays
                        2303 Cornell Drive
                        Rockford, IL 61108


                        SHEILA MCLAUGHLIN
                        130 HIGH ST.
                        SYDNEY, NS B1P2K2
                        CANADA


                        SHEILA REID
                        32 ANDERSON AVE.
                        SYDNEY, NS B1R2B6
                        CANADA


                        SHELDON BOUTILIER
                        29 BAY STREET
                        SYDNEY, NS B1A3T9
                        CANADA


                        SHELDON DORKO
                        539 TERRACE ST.
                        SYDNEY, NS B1P7H8
                        CANADA


                        SHELDON JESSOME
                        142 MURPHY ROAD
                        SYDNEY, NS B1R1W7
                        CANADA


                        SHELDON WALCOTT
                        108 INTERCOLONIAL ST
                        SYDNEY, NS B1S1S6
                        CANADA
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                        Shereka Knuckles
                        1971 West Riverside Boulevard
                        Rockford, IL 61103


                        Sherelle King
                        531 South Springfield Avenue
                        Rockford, IL 61101


                        Sheridan McGuire
                        3416 Burrmont Road
                        Rockford, IL 61107


                        Shernette Blair
                        3300 Darwood Dr
                        Rockford, IL 61103


                        Sherri Merrimon
                        309 Hough Drive
                        Machesney Park, IL 61115


                        Sherrie Bassett
                        3242 Ironwood Avenue
                        Rockford, IL 61109


                        SHERRY LAMBERT
                        64 MITCHELL AVE.
                        DOMINION, NS B1G1M4
                        CANADA


                        SHERRY MCKINNON
                        18 DALEY ROAD
                        NEW VICTORIA, NS B1H4Z4
                        CANADA


                        SHERRY MORRISON
                        277 EAST BROADWAY
                        SYDNEY, NS B1N2Z6
                        CANADA


                        Shine Bright Advertising
                        Attn: Pres, GP or Mng Member
                        500 Prince Street
                        Sydney, NS B1P 5L9
                        Canada
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                        Shinisha Wilson-Harrington
                        2808 Rudeen Close Apt 4
                        Rockford, IL 61108


                        Shinita Barbary
                        1119 North Winnebago St Apt 1
                        Rockford, IL 61103


                        Shonta Edgeston
                        1016 15th Ave
                        Rockford, IL 61104


                        Shonta Euring
                        601 Albert Ave
                        Rockford, IL 61101


                        Shontequia Holland
                        3112 Gladstone Ave
                        Rockford, IL 61101


                        SHRED-IT USA LLC
                        Attn: Pres, GP or Mng Member
                        28883 NETWORK PLACE
                        CHICAGO, IL 60673-1288


                        Shresha Layne
                        402 N. Central
                        Rockford, IL 61102


                        Shyann Hamilton
                        1105 Oakley Street
                        Belvidere, IL 61008


                        Shyda Williams
                        1613 Overdene Ave. Apt 6
                        Rockford, IL 61101


                        Shyterria Redd
                        1146 Broadway Apt 216
                        Rockford, IL 61104
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                        Shyterria Scott
                        515 Pierpont Avenue
                        Rockford, IL 61102


                        Sierra Purifoy
                        1214 16th Ave, #2
                        Rockford, IL 61104


                        Simone Williams
                        417 Vista Terrace
                        Rockford, IL 61102


                        Single Source Telecom
                        Attn: Pres, GP or Mng Member
                        4901 E Dry Creek Rd
                        Suite 170
                        Centennial, CO 80122-1957


                        Skye Archambault
                        203 Sunny Lane
                        Janesville, WI 53546


                        Skye Bonds
                        3323 Searles Avenue
                        Rockford, IL 61101


                        Skye Pitts
                        242 North Central Avenue #2
                        Rockford, IL 61101


                        Skylar Smith
                        608 Locust Street
                        Rockford, IL 61102


                        SKYLAR WELLS
                        12 TULIP TERRACE
                        SYDNEY, NS B1P2N5
                        CANADA


                        Skyler Murphy
                        1408 Al Crest Rd
                        Rockford, IL 61107
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                        Sonji Shackelford
                        328 N. Horsman St
                        Rockford, IL 61101


                        Sonya Hardt
                        1417 Birch Court
                        Rockford, IL 61104


                        STACEY MACDONALD
                        15 COURT STREET
                        SYDNEY, NS B1S2X4
                        CANADA


                        STACEY OSTAFICHUK
                        1240 HILLSIDE RD.
                        MARION BRIDGE, NS B1K3M2
                        CANADA


                        STACEY TROTT
                        108 PARKS DR.
                        LONG ISLAND, NS B1Y3K8
                        CANADA


                        Staci Wilson
                        6219 South US Hwy 51
                        Janesville, WI 53546


                        Stacie Keaster
                        3214 7th Street
                        Rockford, IL 61109


                        Stacy Thornton
                        6124 East Drive
                        Loves Park, IL 61111


                        Staples Business Advantage
                        Attn: Pres, GP or Mng Member
                        PO Box 70242
                        Philadelphia, PA 19176-0242


                        STARLA BROWN
                        1656 BOURINOT RD.
                        FRENCHVALE, NS B2A4G7
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 215 of 246




                        Starletta Bennett
                        1143 North Main Street Apt
                        Rockford, IL 61103


                        Starnisha Stoecklin
                        619 Johnston
                        Rockford, IL 61101


                        Starry Cousins Brandon
                        715 W. State Street
                        Rockford, IL 61102


                        STEFAN MACNEIL
                        126 WOODLAWN DRIVE
                        SYDNEY, NS B1S1H9
                        CANADA


                        Stefany Walker
                        1030 School Street
                        Rockford, IL 61101


                        STEPHANIE BOUTILIER
                        148 MAIN STREET
                        RESERVE MINES, NS B1E1E5
                        CANADA


                        STEPHANIE BRUFATTO
                        218 DOMINION ST.
                        GLACE BAY, NS B1A3N3
                        CANADA


                        Stephanie Denard
                        4929 Hampshire Apt 5
                        Rockford, IL 61109


                        Stephanie Felix
                        329 Penfield Place
                        Rockford, IL 61104


                        Stephanie Jackson
                        910 Irving Avenue
                        Rockford, IL 61101
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                        STEPHANIE LEBLANC
                        69 STANLEY ST. APT. #2
                        NORTH SYDNEY, NS B2A1V1
                        CANADA


                        Stephanie Lewis
                        2707 Yonge Street Apt 1
                        Rockford, IL 61101


                        STEPHANIE MACMASTER
                        91 KINGS STREET
                        DOMINION, NS B1G1H5
                        CANADA


                        Stephanie Wallace
                        544 Ranger Street
                        Rockford, IL 61109


                        Stephany Peters
                        1530 10th Street Apt # 3
                        Rockford, IL 61104


                        STEPHEN BUDGE
                        2 CHAPPELLES CRT.
                        SYDNEY, NS B1P1W3
                        CANADA


                        Stephen Keriz
                        2215 Pendleton Pkwy
                        Rockford, IL 61108


                        STEPHEN MACDOUGALL
                        45 BROOKVIEW DR.
                        SYDNEY, NS B1P6N3
                        CANADA


                        Stephen Peters
                        636 16th Ave.
                        Rockford, IL 61104


                        Sterlin Hoarde
                        3809 Sage Dr. #B
                        Rockford, IL 61114
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                        Steven Ashley
                        7509 Mildred Road
                        Machesney Park, IL 61115


                        STEVEN BOWSER
                        1ST NINTH ST.
                        GLACE BAY, NS B1A4L2
                        CANADA


                        Steven Capone Jr
                        316 S 4th St Apt 2
                        Rockford, IL 61104


                        Steven Moore
                        2330 Kilburn Ave Apt 117
                        Rockford, IL 61101


                        SUBBARAYAN LAKSHMINARASIMMAN HARI
                        3193 LEDREW AVE.
                        NEW WATERFORD, NS B1H2N5
                        CANADA


                        SUKRITI BHARDWAJ
                        45/2 JEFFERSON LANE
                        SYDNEY, NS B1S3L6
                        CANADA


                        SULAYMAN TOURAY
                        1250 GRAND LAKE RD
                        SYDNEY, NS B1M4A1
                        CANADA


                        SUMMER BOND
                        85 BROOKLYN AVE.
                        SYDNEY MINES, NS B1V2W2
                        CANADA


                        Sunshine Cochran
                        7701 Edwin Lane
                        Loves Park, IL 61111


                        SUPERIOR PROPANE
                        Attn: Pres, GP or Mng Member
                        P O BOX 4568, STN A
                        TORONTO, ON M5W 0J5
                        Canada
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 218 of 246




                        Susan Arteaga
                        329 Penfield
                        Rockford, IL 61104


                        SUSAN BRAKE
                        35 ST. PETERS RD.
                        SYDNEY, NS B1P4P2
                        CANADA


                        Susan Davenport
                        103 West Mechanic St
                        Rockton, IL 61072


                        SUSAN GRANT
                        116 TAYLOR ST
                        SYDNEY, NS B1N2W4
                        CANADA


                        SUSAN HYNES
                        108 UNION ST.
                        SYDNEY, NS B1P4Y8
                        CANADA


                        SUSAN LEBLANC
                        1799 COXHEATH RD
                        SYDNEY, NS B1L1A7
                        CANADA


                        SUSAN SLATTERY
                        691 #1 GEORGE ST.
                        SYDNEY, NS B1P1L2
                        CANADA


                        SUSAN TUCKER
                        3398 MACLEOD AVENOE
                        NEW WATERFORD, NS B1H1K1
                        CANADA


                        SYDNEY ROACH
                        63 D ROCKCLIFF
                        SYDNEY, NS B1P4A2
                        CANADA
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                        SYED MUJTABA QUADRI
                        54 A ROCKCLIFF CRESCENT
                        SYDNEY, NS B1P4A1
                        CANADA


                        SYED MUSAR ABIDI
                        54 -A ROCKCLIFF CRESCENT
                        SYDNEY, NS B1P4A1
                        CANADA


                        Sylvania Jones
                        1208 Elm Street
                        Rockford, IL 61102


                        Tabatha Steffa
                        2813 Glenwood Avenue
                        Rockford, IL 61101


                        Takara Watson
                        1825 School Street
                        Rockford, IL 61101


                        Talayah Sallay
                        1706 8th Street
                        Rockford, IL 61104


                        Talesia Anderson
                        1402 Seminary
                        Rockford, IL 61104


                        Talisa Dixon
                        2843 Lapey St.
                        Rockford, IL 61109


                        Talisha Benford
                        433 16th Avenue
                        Rockford, IL 61104


                        TAMARA CAIAZZO
                        34 GRITTON AVE. APT#2
                        SYDNEY, NS B1S2X9
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 220 of 246




                        Tamara Kincaide
                        5575 Andrews Drive
                        Roscoe, IL 61073


                        Tambi Leslie
                        3110 Foliage Lane
                        Rockford, IL 61109


                        Tameka Young
                        1510 Garden Court
                        Rockford, IL 61104


                        Tammy Adkins
                        5367 Nottingham Drive
                        Loves Park, IL 61111


                        TAMMY BALDOCK
                        1281 MAIN A DIEU RD.
                        SYDNEY, NS B1C1V7
                        CANADA


                        Tammy Crenshaw
                        510 N. Winnebago Street
                        Rockford, IL 61103


                        TAMMY MACDONALD
                        19 HAIG ST.
                        SYDNEY, NS B1S2X1
                        CANADA


                        Tammy Millman
                        1155 Walden Oaks Dr. Apt 203E
                        Woodstock, IL 60098


                        Tammy Sanders
                        6643 Red Barn Rd
                        Loves Park, IL 61111


                        Tanea Tennin
                        5029 Linden Road Apt 12210
                        Rockford, IL 61109
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                        Taneisha Harris
                        1355 Charles St. Apt B
                        Rockford, IL 61104


                        Taneka Willis
                        7747 S. Kingston Ave.
                        Chicago, IL 60649


                        Tanessha Gates
                        220 Easton Parkway
                        Rockford, IL 61108


                        Tania Graves
                        219 Royal Avenue
                        Rockford, IL 61101


                        Tanika Kizart
                        732 Linden Avenue
                        Rockford, IL 61102


                        Tanisha Francis
                        1428 North Avenue
                        Rockford, IL 61103


                        Tanisha Martin
                        1211 Lincoln Ave.
                        Rockford, IL 61102


                        Tanquinisha Coakley
                        2112 Balmoral Place
                        Rockford, IL 61107


                        TANVEER SINGH
                        77 D SIDELLA DR.
                        SYDNEY, NS B1P4A2
                        CANADA


                        Tanya Benitez
                        223 S. Rockford Avenue
                        Rockford, IL 61104
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                        TANYA LANDRY
                        51 SUTHERLAND ST.
                        SYDNEY, NS B1P2X1
                        CANADA


                        Tanya Lawrence
                        320 S Central Avenue
                        Rockford, IL 61102


                        Tanya Moore
                        3215 Seward Avenue Apt 2
                        Rockford, IL 61108


                        TANYA ROZICKI
                        13 FRANKLIN ST
                        SYDNEY, NS B1N2P3
                        CANADA


                        TANYA WILNEFF
                        11 HIGHLAND ST
                        GLACE BAY, NS B1A2T4
                        CANADA


                        TARA ANDERSON
                        21 THIRD ST.
                        BIRCH GROVE, NS B1B1L2
                        CANADA


                        TARA CHEETHAM
                        18 WOOD STREET
                        GLACE BAY, NS B1A2S9
                        CANADA


                        TARA DAVIDSON
                        2 BARON DR.
                        GLACE BAY, NS B1A3Y5
                        CANADA


                        TARA HILL
                        129 UPPER MACLEAN ST
                        GLACE BAY, NS B1A2L1
                        CANADA


                        Tarah Kraucunas
                        7613 Greenville St
                        Machesney Park, IL 61115
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                        TARALEE MACINNIS
                        1672 OLD ROUTE 5 COTTAGE 7
                        MILLVLLE, NS B1X1B1
                        CANADA


                        TAREK SHALABI
                        297 ROTARY DR. APT # 212
                        SYDNEY, NS B1P6L5
                        CANADA


                        Tarkesha Williams
                        363 Gramercy Drive
                        Rockford, IL 61107


                        Tasha Moreland
                        2320 11th Ave. Apt 1
                        Rockford, IL 61104


                        Tashana Simpson
                        715 park Avenue
                        Rockford, IL 61101


                        Tashara Hawkins
                        1714 Iris Avenue
                        Rockford, IL 61102


                        TaShayla Paige
                        1231 South Court Street
                        Rockford, IL 61102


                        Tashuna Robinson
                        1425 Auburn St
                        Rockford, IL 61103


                        Tashunda Owens
                        1504 Barton Blvd
                        Rockford, IL 61103


                        Tashyla Hoskins
                        1658 6th Ave. Apt 2
                        Rockford, IL 61104
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                        Tatiana Wilkins
                        1118 Furman Street Apt 12
                        Rockford, IL 61101


                        Tatianna Winston
                        518 Fairview Boulevard
                        Rockford, IL 61107


                        Tatyana Dees
                        3321 Searles Avenue
                        Rockford, IL 61101


                        Tavian Holloway
                        1813 Ohio Parkway
                        Rockford, IL 61108


                        Tavion Jones
                        214 12th St
                        Rockford, IL 61104


                        Taya McDonald
                        323 Ogilby Road
                        Rockford, IL 61102


                        Taylea Fletcher
                        4196 Old Golf Road
                        Loves Park, IL 61111


                        Taylor Benham
                        372 Bancroft Court #1
                        Rockford, IL 61107


                        Taylor Carlson
                        8215 Cameo Drive
                        Machesney Park, IL 61115


                        Taylor Coates
                        2819 Echo St
                        Rockford, IL 61109
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                        Taylor Heylmann
                        2216 Walworth Avenue
                        Rockford, IL 61108


                        TAYLOR HOEG
                        49 BEACHVIEW DR.
                        LITTLE POND, NS B1Y1V6
                        CANADA


                        Taylor Jones
                        2219 8th ST Upper
                        Rockford, IL 61104


                        TAYLOR RUELLAND
                        32 PLEASANT ST.
                        DOMINION, NS B1G1S6
                        CANADA


                        Taylor Thom
                        1325 Parmele Street
                        Rockford, IL 61104


                        TDS
                        Attn: Pres, GP or Mng Member
                        P O BOX 94510
                        Palatine, IL 60094-4510


                        TDS
                        Attn: Pres, GP or Mng Member
                        PO BOX 94510
                        Palatine, IL 60094-4310


                        TDS
                        Attn: Pres, GP or Mng Member
                        PO Box 94510
                        Palatine, IL 60094-4510


                        TEDECIA WILLIAMS
                        616 ALEXANDRA ST.
                        SYDNEY, NS B1S2G8
                        CANADA


                        Teela Williams
                        529 South Pierpont Avenue
                        Rockford, IL 61102
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                        Tekhiya Williams
                        3568 Elm Street, Apt 1C
                        Rockford, IL 61102


                        TELEOPTI INC - ACCOUNTING
                        Attn: Pres, GP or Mng Member
                        5619 DTC PARKWAY
                        SUITE 910
                        GREENWOOD VILLAGE, CO 80111


                        Temeka Hunter
                        2208 Winnebago Street
                        Rockton, IL 61108


                        Teneisha Foreman
                        719 N Independence Ave
                        Rockford, IL 61101


                        Tenisha Williams
                        2619 Custer Avenue
                        Rockford, IL 61101


                        TERELL FINLEY
                        576 GRAND LAKE RD.
                        SYDNEY, NS B1P5T4
                        CANADA


                        Teresa Price
                        1212 14th Street
                        Rockford, IL 61104


                        TERESA TOWNSEND
                        68 B ROCKCLIFF CRESCENT
                        SYDNEY, NS B1P4A1
                        CANADA


                        Terrance Bell
                        1103 North Church
                        Rockford, IL 61103


                        TERRANCE BOUTILIER
                        58 LYNNE DR. APT. #6
                        SYDNEY, NS B1P2Z8
                        CANADA
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                        TERRANCE FOOTE
                        2386 BIRCH GROVE RD
                        TOWER ROAD, NS B1B1X5
                        CANADA


                        Terrez Ballard
                        2219 Lucille Street
                        Rockford, IL 61104


                        Terrius Gaines
                        2328 Paradise Boulevard
                        Rockford, IL 61103


                        TERRY MULLEY
                        73 WEST ST.
                        SYDNEY, NS B1N1S2
                        CANADA


                        Terry Munson
                        3442 Zircon Lane
                        Rockford, IL 61102


                        Terry Worley
                        3208 Alta Vista
                        Rockford, IL 61107


                        Tervina Bell
                        224 Cameron Avenue 2C
                        Rockford, IL 61102


                        THE SHERWIN-WILLIAMS CO
                        Attn: Pres, GP or Mng Member
                        4923 E STATE ST
                        ROCKFORD, IL 61108-2210


                        Theanna Lopez
                        230 Winona Dr
                        Machesney Park, IL 61115


                        THERESA FITZGERALD
                        9 PARK STREET
                        SYDNEY MINES, NS B1V2Y4
                        CANADA
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                        Theresa Quevedo
                        1331 Grant Ave.
                        Rockford, IL 61103


                        THERESA TRACY MACINTYRE
                        97 GRANDVIEW STREET APT 4
                        SYDNEY, NS B1P3N7
                        CANADA


                        Thomas Hampton
                        4520 Trevor Circle Apt 3
                        Rockford, IL 61109


                        Thomas Hildreth
                        7108 Mildred Rd
                        Machesney Park, IL 61115


                        Thomas Kostka Jr.
                        1826 Melrose Street
                        Rockford, IL 61103


                        THOMAS LEWIS
                        520 ST. PETER'S RD.
                        SYDNEY, NS B1P7B2
                        CANADA


                        THOMAS MACNEIL
                        85 PARK ST.
                        DOMINION, NS B1G1R7
                        CANADA


                        THOMAS MORIARTY
                        207-297 ROTARY DR.
                        SYDNEY, NS B1P6L5
                        CANADA


                        THOMAS MURPHY
                        237 GATACRE STREET
                        SYDNEY, NS B1N1Z4
                        CANADA


                        THOMAS VINCENT SERROUL
                        3 BROOKLYN AVE.
                        SYDNEY MINES, NS B1V2V7
                        CANADA
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                        Tia Pulley
                        1832 N. Main St, Apt 115
                        Rockford, IL 61103


                        TIAA Bank
                        Attn: Pres, GP or Mng Member
                        P O BOX 911608
                        Denver, CO 80291-1608


                        TIAA Commerical Finance, Inc
                        Attn: Pres, GP or Mng Member
                        P O BOX 911608
                        Denver, CO 80291-1608


                        Tiana Rios Cardona
                        3411 Elm Street
                        Rockford, IL 61102


                        Tiara Jimenez-Hackler
                        1253 Holland
                        Rockford, IL 61103


                        Tiara Sloan
                        4514 Palmerstone Road
                        Rockford, IL 61102


                        Tiauna Woods
                        11467 Edgemere Terrace
                        Roscoe, IL 61073


                        Tichina Terry
                        2512 North Rockton Avenue
                        Rockford, IL 61103


                        Tien Nguyen
                        715 Blenheim Drive
                        Rockford, IL 61108


                        Tierra Williams
                        5827 El Paso Circle
                        Rockford, IL 61108
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                        Tiffanie Woodard
                        526 N Rockton Ave
                        Rockford, IL 61103


                        Tiffany Gray
                        7080 Flora Road
                        Rockford, IL 61101


                        Tiffany Iman
                        505 Seminary St Apt 612A
                        Rockford, IL 61104


                        Tiffany Kizart
                        2814 Echo
                        Rockford, IL 61109


                        TIFFANY MORRISON
                        148 DALEY RD.
                        NEW VICTORIA, NS B1H4Z8
                        CANADA


                        Tiffany West
                        5011 Linden Rd Apt 14116
                        Rockford, IL 61109


                        TimePayment Corp.
                        Attn: Pres, GP or Mng Member
                        PO BOX 3069
                        Woburn, MA 01888-1969


                        TIMOTHY ANDERSON
                        20 MILLVIEW DR.
                        SYDNEY, NS B1P6N7
                        CANADA


                        TIMOTHY GLABAY
                        145 HAROLD STREET
                        STDNEY, NS B1P3M3
                        CANADA


                        Timothy Hardin
                        926 15th Street
                        Rockford, IL 61104
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                        Timothy Panjkovich
                        8474 Burr Oak Road
                        Roscoe, IL 61101


                        Timothy Speltz
                        2328 Kristi Lane
                        Rockford, IL 61102


                        Timothy Wainwright
                        3012 halstad Road Apt 4
                        Rockford, IL 61102


                        TINA CHILDS
                        216 VULCAN AVE. SUITE 3
                        SYDNEY, NS B1P5X2
                        CANADA


                        Tina Gibson
                        3219 Gilbert Avenue #5
                        Rockford, IL 61101


                        Tina Henderson
                        2219 North Church St
                        Rockford, IL 61103


                        Tina Pounds
                        412 Marquette Road
                        Machesney Park, IL 61116


                        Tina Wilson
                        2822 Echo Street
                        Rockford, IL 61109


                        Tisha Dismuke
                        2903 Summerdale Avenue
                        Rockford, IL 61101


                        TODD KING
                        20 FRANKLYN RD.
                        CATALONE, NS B1C1T4
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 232 of 246




                        TODD RILEY
                        144 RICHMOND STREET
                        SYDNEY, NS B1P4V2
                        CANADA


                        Toi Mckinney
                        1214 Morgan Street #2
                        Rockford, IL 61102


                        TOM MOMBOURQUETTE
                        248 HENRY ST.
                        SYDNEY, NS B1N2H6
                        CANADA


                        Tomia Wells
                        2002 South 4th Street
                        Rockford, IL 61104


                        Tommy Burton
                        810 Haskell Avenue
                        Rockford, IL 61103


                        Tommy Worthington
                        715 Cherry St
                        Rockford, IL 61101


                        Toni Vince
                        4626 Newburg Road
                        Rockford, IL 61108


                        TONY TIGHE
                        131 KENWOOD DRIVE
                        SYDNEY, NS B1S1T8
                        CANADA


                        Tori Ganus
                        1515 10th Street
                        Rockford, IL 61104


                        Tori King
                        4400 East Ridge Apt 13
                        Rockford, IL 61107
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                        TRACEY MORRISON
                        256 YORKE STREET
                        SYDNEY, NS B1V3L2
                        CANADA


                        TRACEY STONE
                        24 HAVELOCK ST.
                        SYDNEY, NS B1P1R7
                        CANADA


                        TRACEY TUBRETT
                        221 CUSACK DR
                        SYDNEY, NS B1P3W8
                        CANADA


                        TRACY ACHESON
                        32 HIGHLAND CRESCENT
                        SYDNEY, NS B1N3K5
                        CANADA


                        TRACY MCGEAN
                        54 C ROCKCLIFF CRES.
                        SYDNEY, NS B1P4A1
                        CANADA


                        Tracy Taylor
                        806 19th Street
                        Rockford, IL 61104


                        TRACY WHITE
                        3458 PLUMMER AVE.
                        NEW WATERFORD, NS B1H1Z6
                        CANADA


                        Tramaine Bradley
                        411 N Horace Avenue
                        Rockford, IL 61101


                        Tranetta Woods
                        2507 West State St
                        Rockford, IL 61102


                        Travis Smith
                        1604 13th Ave
                        Rockford, IL 61104
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                        Trevor Maple
                        1206 Harlem Road
                        Machesney Park, IL 61115


                        TREVOR SEELYE
                        8 ASH ST.
                        SYDNEY, NS B1P3B9
                        CANADA


                        Trinity Murphy
                        15574 Bryden Drive
                        South Beloit, IL 61080


                        TRIPETWANT RANDHAWA
                        859 GEORGE ST.
                        SYDNEY, NS B1P1L8
                        CANADA


                        Trisha Rausch
                        8321 Mildred Road
                        Machesney Park, IL 61115


                        Trisha Runyan
                        709 Wayne St
                        Balvidere, IL 61008


                        Tristan Robinson
                        323 Foster Ave.
                        Rockford, IL 61102


                        TROY CURRAN
                        214 VICTORIA ROAD
                        SYDNEY, NS B1P2V6
                        CANADA


                        TROY MCDONALD
                        394 RESERVE STREET
                        GLACE BAY, NS B1A4X2
                        CANADA


                        TRUDY DEMONE
                        62 STORNAWAY STRRET
                        SYDNEY, NS B1P2R1
                        CANADA
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                        Twanesha Benford
                        4120 Auburn Street
                        Rockford, IL 61104


                        Tyeisha Moore
                        322 North 1st Street
                        Rockford, IL 61107


                        Tyishia Hereford
                        5421 Midvale Drive # 4
                        Rockford, IL 61108


                        Tyler Freund
                        5573 Shag Bark Circle
                        Rockford, IL 61109


                        TYLOR PYKE
                        106 PARK ST. APT. #2
                        SYDNEY, NS B1P4W5
                        CANADA


                        Tymora Mayes
                        1118 Greenwood Avenue
                        Rockford, IL 61107


                        Tyneesha Barbary
                        506 Howard Avenue
                        Rockford, IL 61101


                        Tyree Bell
                        2319 Sherman Ave
                        Rockford, IL 61101


                        Tyrell King
                        1120 N. Sunset Ave.
                        Rockford, IL 61114


                        Tyrena Halley
                        3234 Montrose Ave
                        Rockford, IL 61101
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                        Tyrese Burks
                        1934 South 5th Street
                        Rockford, IL 61104


                        TYRIAH KING
                        131 MACDONALD COURT
                        SYDNEY, NS B1N2A1
                        CANADA


                        Tysha Williams
                        3227 Seward Avenue Apt 1
                        Rockford, IL 61108


                        TYSON SKEETE
                        1170 VICTORIA RD.
                        SYDNEY, NS B1N1L2
                        CANADA


                        Tytana Sallay
                        423 North Henrietta
                        Rockford, IL 61101


                        Tywone Robinson
                        1425 Auburn St
                        Rockford, IL 61103


                        ULINE SHIPPING SUPPLIES
                        Attn: Pres, GP or Mng Member
                        PO BOX 88741
                        CHICAGO, IL 60680-1741


                        Unique Henderson
                        4504 Trevor Circle, Apt 6
                        Rockford, IL 61109


                        Unique Russey
                        4223 Dakota Lane
                        Rockford, IL 61108


                        United Illuminating Company
                        Attn: Pres, GP or Mng Member
                        PO Box 9230
                        Chelsea, MA 02150-9230
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 237 of 246




                        UPNEET LUBANA
                        194 COLUMBIA ST.
                        SYDNEY, NS B1P4J3
                        CANADA


                        USB EQUIPMENT FINANCE
                        Attn: Pres, GP or Mng Member
                        2330 Interstate 30
                        Mesquitem, TX 75150


                        Valencia Knight
                        718 Lee Street
                        Rockford, IL 61101


                        Valerie Cunningham
                        112 New Brunswick Lane
                        Poplar Grove, IL 61065


                        VALERIE MURPHY
                        19 GORDON STREET
                        GLACE BAY, NS B1A3Z3
                        CANADA


                        VALERIE PARSONS
                        11 BROOK STREET
                        DOMINION, NS B1G1A4
                        CANADA


                        Vaneekia Miller
                        1125 School Street
                        Rockford, IL 61101


                        Vanessa Crout
                        647 Easton Parkway
                        Rockford, IL 61108


                        Vanessa Wilson
                        2814 Echostreet
                        Rockford, IL 61109


                        Vanity Thomas
                        3921 Mila Avenue
                        Rockford, IL 61101
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                        VAR TECHNOLOGY FINANCE
                        Attn: Pres, GP or Mng Member
                        P O BOX 7904748
                        ST LOUIS, MO 63179-0448


                        VARILEASE FINANCE, INC
                        Attn: Pres, GP or Mng Member
                        6340 South 3000 East
                        4th Floor
                        Salt Lake City, UT 84121


                        VENA POWLESS
                        1 DAVIS ST.
                        GLACE BAY, NS B1A5G9
                        CANADA


                        Venarius Moore
                        1512 9th Avenue
                        Rockford, IL 61102


                        VERISTOR SYSTEMS, INC.
                        Attn: Pres, GP or Mng Member
                        4850 RIVER GREEN PARKWAY
                        Duluth, GA 30096


                        Verna Curry
                        2912 LaSalle Ave. # 7
                        Rockford, IL 61114


                        Verneicia Thomas
                        1602 East State Street #3
                        Rockford, IL 61104


                        Veronica Cardenas
                        2215 Freemont St
                        Rockford, IL 61103


                        Veronica Roberson
                        1908 Arthur Ave
                        Rockford, IL 61101


                        Veronica Rodriquez
                        1043 Westview Dr.
                        Rochelle, IL 61068
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                        Veronica Rosas
                        1452 Pondview Dr.
                        Belvidere, IL 61008


                        Veronnaca Lee
                        4412 Pepper Drive Apt 5
                        Rockford, IL 61114


                        VFI KR SPE I LLC
                        6340 South 3000 East
                        Suite 400
                        Salt Lake City, UT 84121


                        VICKI VAN DE WIEL
                        16 PHYLMORE AVE.
                        SYDNEY, NS B1P0B1
                        CANADA


                        Victoria Leisher
                        1216 Emerson St
                        Beloit, WI 53511


                        Victoria Mergener
                        1510 Green Street
                        Rockford, IL 61102


                        Victoria Price
                        1010 Housewert Close
                        Machesney Park, IL 61115


                        Vilaysanh Chanthaloth
                        4205 Tesa Road
                        Rockford, IL 61109


                        VINCENT CHAFFEY
                        3063 POINT EDWARD HWY
                        POINT EDWARD, NS B2A4P3
                        CANADA


                        VINCENT MACDONALD
                        611 A ATLANTIC ST.
                        RESERVE MINES, NS B1E1A4
                        CANADA
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                        Virginia Rodriquez
                        5132 Pebble Lane
                        Loves Park, IL 61111


                        VIVEK GUATAM
                        535 CHARLOTTE ST.
                        SYDNEY, NS B1P1E6
                        CANADA


                        Vladimirika Pavlovic
                        2018 Ajali Way Apt 1
                        Machesney Park, IL 61115


                        WAHID MURAD TAREK
                        128 D MACAULAYS LANE
                        SYDNEY, NS B1P6A1
                        CANADA


                        WALTER NICHOLS
                        113 MUGGAH ST.
                        SYDNEY, NS B1N2R3
                        CANADA


                        WANDA MACNEVIN
                        502 ROTARY DRIVE
                        SYDNEY, NS B1P4S5
                        CANADA


                        WANDA MURRIN
                        298 HOLLY STREET
                        SYDNEY, NS B1P6M1
                        CANADA


                        WANDA O'NEIL
                        54 BERTHELOT CRESCENT
                        SYDNEY, NS B1L1B1
                        CANADA


                        Water Heru
                        202 S. Independence Ave
                        Rockford, IL 61102


                        WAYNE COLSON
                        5 MAIN ST. GRAND LAKE RD.
                        SYDNEY, NS B1P6Z8
                        CANADA
Case 18-31722   Doc 1    Filed 10/19/18   Entered 10/19/18 12:05:25   Page 241 of 246




                        WAYNE SHARPE
                        370 MURPHY RD
                        SYDNEY, NS B1P3Y5
                        CANADA


                        Wayne Ward
                        4528 Trail Ridge Road
                        Rockford, IL 61101


                        Wendell Roby
                        1317 11th Avenue
                        Rockford, IL 61104


                        Wendolyn Kellum
                        1991 Lakeshore Drive Apt 3
                        Belvidere, IL 61008


                        WENDY BRYAN
                        7038 HOMES ROAD
                        ALBERT BRIDGE, NS B1K2Z9
                        CANADA


                        WENDY LANDRY
                        307 CABOT ST
                        SYDNEY, NS B1P4E9
                        CANADA


                        WENDY LEWIS
                        1731 KINGS RD.
                        SYDNEY, NS B1S1G3
                        CANADA


                        WENDY MORRISON
                        450 PHALEN RD.
                        GLACE BAY, NS B1A3B7
                        CANADA


                        WESLEY PYE
                        325 BENTINCK ST. APT. 12
                        SYDNEY, NS B1P1H1
                        CANADA


                        Wesley Santini
                        324 Gramercy Drive
                        Rockford, IL 61107
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                        Whitney Adu-mensah
                        2024 Kishwaukee Street
                        Rockford, IL 61104


                        Whitney Carter
                        3103 Parkside Ave
                        Rockford, IL 61101


                        Whitney Malone
                        2122 School Street
                        Rockford, IL 61101


                        Whitney Roberson
                        2415 Benderwirt Avenue Apt 3
                        Rockford, IL 61103


                        Whitney Sorensen
                        220 Easton Parkway
                        Rockford, IL 61108


                        Whitney Teuscher
                        8428 Jamesport Drive
                        Rockford, IL 61108


                        WILLIAM HORTON
                        83 R REGENT ST. APT #7
                        NORTH SYDNEY, NS B2A2G4
                        CANADA


                        WILLIAM MORRISON
                        256 YORKE STREET
                        SYDNEY MINES, NS B1V3L2
                        CANADA


                        WILLIAM WAYE
                        10 B ELIZABETH STREET
                        SYDNEY, NS B1S3T8
                        CANADA


                        Willie Jones
                        1010 Ridge Avenue
                        Rockford, IL 61103
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                        Wilma Powell
                        1219 Parmele St Apt 1
                        Rockford, IL 61104


                        WINDSTREAM
                        Attn: Pres, GP or Mng Member
                        P O BOX 9001013
                        Louisville, KY 40290-1013


                        WINDSTREAM COMMUNICATIONS
                        Attn: Pres, GP or Mng Member
                        P O BOX 843006
                        Kansas City, MO 64184-3006


                        Winfred Dennis
                        1918 Andrews Street
                        Rockford, IL 61101


                        WINNIFRED CATHCART
                        27 COTTAGE ST.
                        DOMINION, NS B1G1C2
                        CANADA


                        WINSTON INGRAHAM
                        74 STEWOOD DRIVE
                        SYDNEY, NS B1L1C6
                        CANADA


                        WINSTON MACKEIGAN
                        211-297 ROTARY DRIVE
                        SYDNEY, NS B1P6L5
                        CANADA


                        WORKPLACE STAFFING
                        Attn: Pres, GP or Mng Member
                        4701 E State Street
                        ROCKFORD, IL 61108-2206


                        WORLDWIDE EXPRESS
                        Attn: Pres, GP or Mng Member
                        NW 6355
                        PO Box 1450
                        Minneapolis, MN 55485-6355
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                        Xavier Kimbrough
                        1421 11th Avenue
                        Rockford, IL 61104


                        XEROX FINANCIAL SERVICES
                        Attn: Pres, GP or Mng Member
                        P O BOX 202882
                        DALLAS, TX 75320-2882


                        Yadhira Mendoza-Vega
                        1602 Remington Road
                        Rockford, IL 61107


                        Yakeea Bills
                        1505 Meadow Court
                        Rockford, IL 61104


                        Yarimar Gonzalez-Lopez
                        516 Cherry St
                        Rockford, IL 61103


                        Yash-Reanna Bell-Young
                        815 Belmont Blvd. Apt 203
                        Rockford, IL 61103


                        Yashica McDowell
                        1204 7th Avenue
                        Rockford, IL 61104


                        Yasman Porter
                        2423 School Street
                        Rockford, IL 61101


                        Yesenia Santillan
                        5873 Garrett Lane
                        Rockford, IL 61107


                        Yia Vang
                        1625 13th Avenue
                        Rockford, IL 61104
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                        Yolanda DuCharme
                        419 Howard Avenue
                        Rockford, IL 61102


                        Yolanda Leach
                        4830 Creekview Road Apt 6
                        Rockford, IL 61108


                        Yvette Badua
                        2515 Ellen Ave
                        Rockford, IL 61108


                        Yvette Miller
                        4828 Creekview Rd. Apt 7
                        Rockford, IL 61108


                        ZACH MARCH
                        590 ALEXANDRA ST.
                        SYDNEY, NS B1S2G8
                        CANADA


                        Zachari Cowgill
                        1228 Benton Street
                        Rockford, IL 61107


                        Zachariah Palmitier
                        1008 South 3rd St
                        Rockford, IL 61104


                        Zachary Behrends
                        720 Auburn St
                        Rockford, IL 61103


                        ZACHARY MCGEAN
                        11185 KEMPT HEAD RD.
                        BOULARDERIE, NS B1X1L5
                        CANADA


                        Zandie Shields
                        2216 Barton Boulevard
                        Rockford, IL 61103
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                        Zen Communications, LLC
                        Attn: Pres, GP or Mng Member
                        c/o Verus Bank of Commerce
                        3700 S. College Ave Unit #102
                        Fort Collins, CO 80525


                        ZOHO Corporation
                        Attn: Pres, GP or Mng Member
                        PO Box 742760
                        Los Angeles, CA 90074-2760
